Case 8:16-mj-00183- DULY
AO 106 (Rev, 04/10) Application for a Searcli

 

Document 1 Filed 04/19/16 Page 1o0f193 Page ID #1
< Sant (USAO CDCA Rev. 01/2013)

  

   

UNITED STATES DISTRICT COURT

for the

Central District of California
In the Matter of the Search of
(Briefly describe the property to be searched
or identify the person by name and address)
A black or dark colored bag passessed by
Gagik Airapetian, which can be described as a
satchel, computer bag, or messenger bag.

UNDER SEAL

 

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APPLICATION FOR A SEARCH WARRANT
property to be searched and give its location):

|, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that | have reason to believe that on the following person or property (identify the person or describe the
See Attachment A-5

located in the Central District of
person or describe the property to be seized):

California
See Attachment B

, there is now concealed (identify the

The basis for the search under Fed, R. Crim. P. 41(c) is ¢check one or more):
WM evidence of a crime:

  
        

   

 

 

 

. rm
. i, \ CNRALDST OF Greece
Mf contraband, fruits of crime, or other items illegally possessed; By STE OF CALE ORIA ®
i property designed for use, intended for use, or used in committing a crime;
J a person to be arrested or a person who is unlawfully restrained.
The search is related to a violation of:
Code Section Offense Description
Title 18, United States Code, Sections 286, 287, 371, See attached Affidavit
1004, 1028(a}{7}, 1343, 1344, and 1956,
The application is based on these facts:
See attached Affidavit
® Contidued on the attached sheet,
fro jSadioer . . . + ,
2 Delay notice of days (give exact ending date if more than 30 days: _ ___ ) is requested
i ander ‘ U.S.C, § 3103a, the basis of which is set forth on the attached sheet.
a we SE /
lad on \ se /=
a gD : Applicant's! signature
cm ~~ aint
C3 oe ce Adrian Yepez, Special Agent (IRS-Cl)
at =f elD Printed name and title
one ee ~
Sworn tébefage me ar signed in my presence.
Dates 19 -1be lel
City and state: Santa Ana, California

 

ee
AUSA: C, Pell
(2

Karen E. Scott, U.S. Magistrate Judge

Printed name and title

 
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AFFIDAVIT

I, Adrian Yepez, being duly sworn, declare and state as

foliocws:
Ll. INTRODUCTION
1. I am a Special Agent (“SA”) with the Internal Revenue
service - Criminal Investigation (“IRS-CI”), assigned to the Los

Angeles Field Office, and have served in this capacity since
April 2010. As part of my training as an SA, I attended the
Federal Law Enforcement Training Center in Glynco, Georgia,
where I received training in criminal and financial
investigative techniques with an emphasis in accounting and
criminal tax law. My training included courses in law
enforcement techniques, federal criminal statutes, criminal
investigations, execution of search Warrants, financial
investigative techniques, and legal principles and statutes
representing criminal violations 6f Titles 18, 26, and 31 of the
United States Code. My formal education includes a Bachelor of
Arts degree in Law and Society with an emphasis in Criminal
Justice from the University of California, Santa Barbara. I
have personally conducted and assisted in investigations of
criminal violations of the Internal Revenue laws, the Bank
Secrecy Act, the Money Laundering Control Act, identity theft,
bank fraud, credit card fraud, wire fraud, and healthcare fraud.
These investigations have invoived the use of electronic and
physical surveillance; the use of informants and cooperating
witnesses; undercover operations; and the preparation and

execution of search and arrest warrants. In addition to the
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training described above, I have attended training seminars and
meetings related to the investigation of financial crimes,
including identity theft investigations. From October 2013 to
October 2015, I was the Identity Theft Coordinator for the IRS-
Ci tos Angeles Pielid Office. In that capacity, my duties
included investigating stolen identity refund fraud schemes,
developing identity theft leads from local, state, and federal
law enforcement agencies, participating in state and federal
identity Theft Task Forces, and acting as the Identity Theft
liaison for the IRS.
II. PURPOSE OF AFFIDAVIT

2. This affidavit is made in support of an application
for warrants to search for evidence of violations of Title 18,
United States Code, Sections 286, 287, 371, 1001, 1028 (a) (7),
1343, i344, and 1956, which criminalize, respectively,
conspiracy to defraud the United States with respect to claims,
false claims, conspiracy to defraud the United States, making or
using false writing or document knowing the same to contain any
materially false, fictitious, or fraudulent statement or entry,
identity theft, wire fraud, bank fraud, and money laundering.

3. The locations, car, and bag to be searched are:

a. 10987 Bluffside Drive, Apartment #4209, Studio

City, California 91604, which is a one bedroom apartment located
on the second floor of building 10987 of the Avalon Apartments

(“SUBJECT PREMISES #1”), as more fully described in Attachment

Arl;
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b. Non Stop Wireless, which is a wireless service
provider business located at 12901 Sherman Way, Suite A, North
Hollywood, California 91605 (“SUBJECT PREMISES #2”), as is more
fully described in Attachment A-2; |

c. 2¢2/45 Macfarlane Drive, Woodland Hills,
California 91364, which is a two story, four bedroom, three
bathroom, three thousand square foot single family residence
(“SUBJECT PREMISES #3”), as more fully described in Attachment
A-3;

d. A Grey 2008 Acura MDX with California license
plate number 7HUW657 and Vehicle Identification Number
2HNYD28398H519552, registered to Gagik Airapetian at 22745
Macfarlane Drive, Woodland Hills, California 91364 (“SUBJECT
VEHICLE #1}, as more fully described in Attachment A-4; and

e. A black or dark colored bag possessed by Gagik
Airapetian, described as a satchel, computer bag, or messenger
Dag, with a strap that is attached on each end that is carried
over the shoulder, (“SUBJECT BAG #1”), as more fully described
in Attachment A-5.

4, The facts set forth in this affidavit are based upon
my personal observations, my training and experience, and
information obtained from various law enforcement personnel and
witnesses, This affidavit is intended to show merely that there
is sufficient probable cause for the requested search warrants
and does not purport to set forth all of my knowledge of or

investigation into this matter. Unless specifically indicated
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otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

Iit. STATEMENT OF PROBABLE CAUSE

 

A. Summary of Investigation

5. IRS-CI and the United States Department of Homeland
Security (“DHS"), Immigration and Customs Enforcement (“ICE”),
Homeland Security Investigations (“HSI”}, have been

investigating a large fraud ring that has been laundering tens
of millions of dollars in tax refunds that were fraudulently
obtained from false federal tax returns that had been filed
using stolen identities.

6. Tax fraud: In this scheme, for tax years 2012, 2013,
and 2014, the IRS has identified approximately 7,000 false tax
returns that together fraudulently claimed approximately
$38,000,000 in refunds, of which approximately $14,000,000 was
deposited into and laundered through bank accounts used in this
scheme. Millions of dollars more were deposited and laundered
from 2010 to 2016.

7. Identity theft: The false tax returns were filed using
stolen identity information from thousands of victims. The
schemers discussed below also used approximately 200 fraudulent
identities with corresponding fraudulent identification,
including passports from the Republic of Armenia, to open
hundreds of mailbox addresses and bank accounts in those other

individuals’ identities.
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8. Money laundering: The schemers then used those
hundreds of mailbox addresses and bank accounts to launder the
millions of dollars in ill-gotten tax refunds by transferring
the funds among three levels (or “tiers”) of bank accounts, in
an apparent effort to render the funds ultimately untraceable.
Some of the funds were wire transferred internationally,
inciuding to bank accounts located in the Republic of Armenia.
B. Money Laundering Using Three Tiers of Bank Accounts

9. Generally, money laundering is the process of taking
the proceeds of criminal activity and “laundering” (or
“washing”) those proceeds, in order to make them appear as if
originating from legal activity. The money laundering process
can be broken down into three distinct stages: placement,
layering, and integration.

10. The money laundering process in this investigation
occurred in the following manner, using three tiers of bank
accounts. A fraudulent tax return seeking a refund is initially
filed using stolen identity information.

li. First, tax refunds from the fraudulent tax returns are
direct deposited by the IRS into bank accounts (“Tier-1 bank
accounts”) that were opened in the names of individuals and
businesses that differ from those in which the fraudulent tax
returns were filed. This is commonly known as the “placement
process” of money laundering.

i2. Second, in order to extract the funds from the Tier-1l

bank accounts, checks from those Tier-1 bank accounts are then
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written to individuals and businesses and deposited into their
bank accounts (“Tier-2 bank accounts”), which are themselves
also opened generally using fictitious/stolen identities. This
is commonly known as the “layering process” of money laundering.

a. In order to facilitate the fraud and opening of
Tier~i and Tier-2 bank accounts, which are basically money
laundering accounts, the fraudsters open Private Mailboxes
(“PMB”) at commercial mail receiving agencies (“CMRA”), such as
a UPS Store.

b. Generally, such PMBs were opened using suspected
fraudulent passports along with other documents that included
Costco membership cards, or utility bills that appear to be
altered. The passports used to open the PMBs or bank accounts
purport to be issued from the Republic of Armenia, the country
of Georgia, and the Czech Republic, as well as other European
countries.

13. Third, checks from Tier-2 bank accounts are then
written to other Tier-2 bank accounts for additional layering,
or to actual businesses and individuals operating as gold and
precious metal wholesalers (“Tier-3 bank accounts”). This is
commoniy known as the “integration process” of money laundering.

14. After the funds are received into the Tier-3 bank
accounts, e.g., the gold and precious metal wholesalers, the
laundering is complete, and the disposition of the funds is

unknown.
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c. Stolen Identity Refund Fraud (“SIRF”) schemes

15. Stolen identity refund fraud involves a fraudulent
claim or attempted claim for a tax refund wherein the fraudulent
claim for refund (i.e., tax return) is filed in the name of a
person whose personal identification information appears to have
been stolen or unlawfully used to make the claim, and the claim
is intended to benefit someone other than the person to whom the
personal identification information belongs.

16. As described below, the identities used to file the
false tax returns in this scheme were obtained in at least two
different ways.

1. ITC#127

17. Approximately half of the identities used to file the
false tax returns in 2014 were stolen from data breaches of five
professionali tax return preparers located in Los Angeles County.
IRS SAs, including me, interviewed the return preparers and
learned that their clients’ profiles and tax data had been
stolen and were used to file false tax returns in 2014.

18. During 2014, approximately 800 such fraudulent tax
returns were filed electronically from one IP address, which
together claimed approximately $7,000,000 in tax refunds. The
IRS issued approximately $2 million of the $7 million in refunds
that had been claimed.

19. All cf the tax refunds were direct deposited into over
100 different Tier-1 bank accounts. The IRS identified this

scheme as “ITC #127.” (“ITC” stands for the IRS’s “Identity
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Theft Clearinghouse,” which is responsible for researching and
identifying identity theft refund fraud schemes. }

2. ITC#298

20. The other half of the identities used in this scheme
were obtained in an unknown manner but were identified through
common IP addresses and bank accounts. The identity theft
victims appear to be located all across the United States,
including in 49 states. IRS Identity Theft Clearinghouse
identified this scheme as “ITC#298.”

21. During 2014, approximately 849 false federal tax
returns were filed in ITC#298 claiming approximately $7,000,000
in tax refunds. The IRS issued over $4,000,000 of those
refunds.

22. Unlike scheme ITC#127, several different IP addresses
were used to transmit the false tax returns in scheme ITC#298.
These IP addresses were traced back to Henderson, Nevada;
Philadelphia, Pennsylvania; and Tampa Bay, Florida.

23. All of the tax refunds in ITC#298 were electronically
deposited into approximately 100 different Tier-1 bank accounts
used in this scheme.

3. Common links between ITC#127 and ITC#298

24, The Tier-1 bank accounts (i.e., the bank accounts into
which the fraudulently obtained tax refunds were deposited) used
in ITC#127 and ITC#298 in 2014 are distinct. However, the Tier-
24 ang Tier-3 bank accounts used in the two schemes are common to

laundering the money from both schemes.
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25. IRS Investigative Analyst (“IA”) Dan Gilmore
identified approximately 1,600 false tax returns that were filed
with the IRS in 2015 that he believes are related to ITC#298.
Those filed tax returns claimed refunds of approximately
$10,000,000. Approximately $5,000,000 of the $10,000,000 in
refunds that were claimed was electronically deposited into
Tier-l bank accounts.

26. Additional research identified more fraudulent tax
returns filed in 2012 and 2013 that were laundered using known
Tier-] and Tier-2 bank accounts during 2014.

D. Training and experience regarding records related to a SIRF

scheme.
27. I have conducted and participated in, and discussed

with other agents who have conducted, investigations into SIRF
schemes. Moreover, I have conducted and participated in, and
discussed with other agents who have conducted, investigations
involving false tax returns.

28. Based on my training and experience, including
training and experience when I was the Identity Theft
Coordinator for IRS-CI, I know that a person engaged in a stolen
identity tax refund fraud will almost always maintain some or
all of the following types of the following records: list or
spreadsheet containing personal identifying information; social
security numbers, employee identification numbers; addresses,
bank records, to include routing and account numbers, bank

statements, cancelled checks, deposit slips, wire transfer
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receipts, and bank correspondences; email addresses, and phone
records; cash receipts; summary sheets or schedules showing
total refunds received; communication records between the
schemers to include notes detailing instructions and comments;
profile lists; tax returns; tax forms such as Forms W-2s, copies
of post office applications, foreign passports and visas, and
computer and computer storage devices containing any or all of
the above information. I also know, based on my training and
experience, with respect to small business owners, that the
above referenced records may be located at the business location
or storage unit, as well as often taken to the residence of the
leaders or managers of the identity theft or tax fraud schemes.
29. Based on my training and experience, including
training and experience when I was the Identity Theft
Coordinator for IRS-CI, I know that in addition to keeping
records of the scheme at the business or residence locations
used in the scheme, the schemers often carry on their person,
often located.in containers such as handbags, documents used in
the scheme, such as copies of the fraudulent tax returns, the

fraudulent identifications, and other documents described in the

preceding paragraph.

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E. Tier~1, Tier-2, and Tier-3 Bank Accounts

1. Tier-1 bank accounts

 

30. As described above, “Tier-1 bank accounts” are bank
accounts used to directly receive the fraudulently obtained tax
refunds from the IRS.

31. I have reviewed hundreds of Tier-1 bank account
records received from various financial institutions. These
records include opening account documents, bank statements,
deposited items, and cancelled checks drawn on the bank
accounts. In reviewing the Tier-1l bank account records, I found
that the accounts generally share the following characteristics:

A. The addresses provided by’ the account holders
generally turned out not to be physical addresses or residences,
but rather, addresses for private mailboxes. Others are foreign
addresses, and some are residential and business addresses in
the United States.

b. Some of the bank accounts are in the name of
individuals who used their true identities.

c. Tier-1l bank accounts were often opened using
passports purportedly issued from the Republic of Armenia, the
country of Georgia, Russia, the Czech Republic, and other .
Buropean countries.

d. The tax refunds deposited into the Tier-1l bank
accounts were not issued in the name of the bank account holder.

e. Multiple Tier-1l bank accounts were opened by the

same person using the same identity and private mailbox address.

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Sometimes that same person would also open additional bank
accounts posing in different identities.

£. Most of the bank accounts were opened six months
to one year prior to the deposits of the tax refunds.

g. The bank accounts remained inactive until the
accounts began to receive the tax refunds.

h. The activity in the bank accounts consists of an
opening cash deposit, deposits of tax refunds in other people’s
names, and withdrawals, usually in the form of checks written to
Tier-2 bank accounts.

i. A Tier-1 bank account may be used in multiple tax
years as a Tier-1 bank account.

32. Some of the tax refunds that were deposited into the
Tier-1l bank accounts were frozen by the financial institutions
based on the suspicion of identity theft and tax fraud, and the
proceeds were returned to the IRS. In other cases, the
Linanciai institutions froze the bank accounts but did not
return the funds to the IRS.

33, International wire transfers from Tier-1l bank
accounts: I reviewed bank records for Tier-1 bank accounts used
in the scheme and discovered multiple outgoing wire transfers to
banks located in the Republic of Armenia. Specifically, at
least 19 different individuals were listed as beneficiaries of
the outgoing wires. All of the names of beneficiaries appear to

have Armenian surnames.

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2. Tier-2 bank accounts

34. As described above, “Tier-2 bank accounts” are
accounts used for layering the illicit tax fraud proceeds.

35. I have reviewed hundreds of Tier-2 bank account
records received from various financial institutions. These
records include opening account documents, bank statements,
deposited items, and cancelled checks drawn on the bank account.
In reviewing the Tier-2 bank account records, I found that the
bank accounts share the following characteristics:

a. The account holders provided addresses that were
either private mailboxes or were addresses that were provided to
private mailbox stores, also known as Commercial Mail Receiving
Agencies (“CMRAs”) when they opened the private mailboxes. The
addresses provided are not where the individuals actually
reside. In some instances, the addresses have been confirmed to
be fictitious or nonexistent.

b. Tier-2 bank account holders generally open the
bank accounts using fictitious/stolen identities.

ec. Tier-2 bank accounts were often opened using
passports from the Republic of Armenia, the country of Georgia,
the Czech Republic, and other European countries.

d. The activity in the Tier-2 bank accounts
generally consists of deposits of checks drawn on Tier-1 and
other Tier-2 bank accounts followed by checks made payable to
other Tier-2 and Tier-3 bank accounts. In some instances, cash

withdrawals were made in the branch or using ATM machines by

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Various runners in the scheme. Generally, the Tier-2 bank
accounts do not have any other significant activity. From my
review, it appears the sole purpose of those accounts is to
layer funds.

e. Multipie Tier-2 bank accounts were opened by the
same person using the same identity. That same person using a
different identity often opened other accounts.

36. Occasionally, a Tier-1 bank account used during one
year subsequently becomes a Tier-2 bank account in a later year.

37. A Tier-2 bank account may be used in multiple years as
a Tier-2 bank account.

3. Tier-3 bank accounts

38. Tier-3 bank accounts are described in this affidavit
as business bank accounts opened by real individuals who claim
to be owners of jewelry companies. The jewelry companies
generally have addresses in the Los Angeles “Jewelry District”
area, which is located in downtown Los Angeles, California.

39. IRS SA Leonard and I analyzed the checks drawn on
several of the Tier-2 bank accounts and learned that the
majority of the checks from those bank accounts were made
payable to the following business entities: Unika Jewelry, L.A.
Hoops, H.D. Jewelry, M&M Jewelry, and Zig Zag Jewelry. These
companies held business bank accounts at various banks including
Citibank, Comerica Bank, East West Bank, Wells Fargo, Hanmi

Bank, Pacific Western Bank, and HSBC Bank.

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40, Zig Zag Jewelry: I have reviewed records for Citibank
account number 203591979 in the name of Zig Zag Jewelry, which I
obtained by federal Grand Jury subpoena. The documents provided
by Citibank show that a business bank account in the name of Zig
Zag Jewelry was opened on or about April 13, 2010. Mkhitar
Mkrtchyan (discussed below as SCHEMER#11) is listed as the
authorized signer on the bank account and as the President of
Zig Zag Jewelry.

a. IRS SA Leonard conducted a deposit and check
analysis of account number 203591979 for the time period of
Pebruary 2014 to May 2014. I have reviewed SA Leonard's
analysis and confirmed that during those months, approximately
81.17 million in checks drawn on Tier-2 bank accounts were
deposited into SCHEMER#11's Zig Zag bank account. I also
learned that from January 2014 to May 2014, SCHEMER#11 made
checks payable from the Zig Zag bank account to Gold Depot and
Newport Precious Metals for a total of approximately $975,000.

b. Kenneth Koyama, HSI Forensic Accountant working
for Homeland Security, conducted an analysis of account number
203591979 for 2012 and 2013. I have reviewed his analysis and,
for those two years, found similar activity as the activity
Guring 2014 described above. This includes checks deposited
that were drawn from known and suspected Tier-2 bank accounts.
According to his analysis of this bank account, checks totaling
approximately $333,000 were written to B.A.K. Precious Metals

inc. and Newport Precious Metals Inc. in 2013, and in 20612,

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approximately $600,000 to B.A.K. Precious Metals Ine. and
Newport Precious Metals Inc.

Cc. I reviewed records for Umpqua Bank account number
9804809391. The signature card shows that the account was
opened on March 27, 2015, in the name of Zig Zag Jewelry.
SCHEMER#11 is listed as the sole account holder and owner of aig
Zag Jewelry. My review of Umpqua Bank records for bank account
number 9804809391 showed that during 2015, similar activity to
that detailed above occurred. Such similarities include
deposits consisting of incoming wire transfers from checks drawn
on known Tier-2 bank accounts and a cashier's check, followed by
checks made payable to Gold Depot and Newport Gold Exchange, for
most of the amounts that had been deposited.

41. H.D. Jewelry: I have reviewed records of Hanmi Bank
account number 500253169, which I obtained by federal Grand Jury
subpoena. The signature card lists Haroutioun Demirdjian
{discussed below as SCHEMBER#17} as opening account number
900253169 on December 17, 2009. SCHEMER#17 is also listed as
the sole owner and signer for the account. The bank account was
opened under the name of “H.D. Jewelry, Inc.” According to the
signature card, SCHEMER#17 is listed as the President and
Secretary of H.D. Jewelry.

a. IRS SA Leonard conducted a deposit and check
analysis of account number 500253169 for the time period of
February and March 2014. I have reviewed his analysis and found

that for those two months, this account received deposits of

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checks drawn from Tier-2 bank accounts, which totaled
approximately $173,000. The check analysis shows that during
the same time period, H.D. Jewelry issued checks totaling
$86,775 to New Port Precious Metals. On April 2, 2014,
SCHEMER#17’s Hanmi Bank account was closed, and a cashier's
check of $63,782.90 was issued. I traced that cashier’s check
as being deposited to Comerica bank account number 18994328655.
I subsequently obtained records for that bank account by federal
Grand Jury subpoena. Upon reviewing those records, I observed
that the signature card for Comerica bank account number
1894328655 lists SCHEMER#17 as the authorized signer on the
account.

b. I have reviewed Comerica bank records, for account
number 1894328655 and found similar activity for 2012 through
2014. Specifically, deposits consisting of checks drawn from
known and suspected Tier-2 bank accounts were made, followed by
checks and wire transfers to Newport Precious Metals. I have
reviewed an analysis of deposits and checks for account number
1894328655 for 2015 and found that over $435,000 from checks
drawn on Tier-2 bank accounts were deposited into the account.
Subsequent to these deposits, the records show checks and wire
transfers to Newport Gold Exchange for more than $400,000.

42. Garo A. Minassian bank accounts: I reviewed records

 

for East West Bank accounts 8031001921 and 2031004993, which
were obtained pursuant to federal Grand Jury subpoena. The

signature cards for both accounts list Garo A. Minassian as the

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authorized signer and account holder for the accounts. Bank
account 8031001921 was opened under the name Unika Jewelry Inc.
DBA L.A. Hoops, on July 12, 2012. Minassian provided East West
Bank with supporting documentation to show that he was the
President of Unika Jewelry Inc. DBA L.A. Hoops. Bank account
number 2031004993 was opened in the name of Garo A. Minassian.

a. Forensic Accountant Koyama conducted an analysis
of account number 8031001921 fer 2012, 2013, and 2014. His
analysis reveals that between February 12, 2014, and June 13,
2014, a total of approximately $900,000 in checks were
deposited. Of that $900,000, approximately $875,000 came from
checks drawn on Tier-2 bank accounts. The check analysis shows
that for the same time period, checks totaling approximately
$715,000 made payable to Gold Depot were drawn on the account.

b. Forensic Accountant Koyama’s analysis of the same
account for 2012 and 2013 shows that the account was used in the
same manner those years as it was during 2014. The deposits
consist mostly of checks drawn on known and suspected Tier-2
bank accounts, just like in the time period discussed above. A
large amount of those deposited funds was subsequently withdrawn
from the bank account using checks payable to Gold Depot.

c. Forensic Accountant Koyama’s analysis of bank
account number 2031004993 for 2014 shows deposits that consist
mostiy of checks drawn from Tier-2 bank accounts. Most of the

funds were then transferred to account number 8931001921.

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d. I reviewed bank records from Pacific Western Bank
for account numbers 13005885 and 1000051399, which I obtained by
federal Grand Jury subpoena. The account opening documents show
that Minassian opened the accounts on July 13, 2012, and April
5S, 2011, respectively. The accounts were opened under the names
Unika Jewelry Inc. DBA LA Hoops. The opening documents list
Minassian as President of Unika Jewelry Inc. DBA LA Hoops, which
is a jewelry wholesale business.

e. Analysis of bank accounts 13005885 and 1000051399
for 2012, 2013, and 2014 shows that those accounts were used in
the same manner as the other Minassian bank accounts described
above. The deposits consist mostly of checks drawn from known
and suspected Tier-2 bank accounts, and large amounts of the
funds so deposited were subsequently withdrawn from the account
by checks payable to Gold Depot.

43. Moses Seraydarian bank accounts: According to law
enforcement and IRS records and public information, including
Secretary of State records, I know the following regarding Moses
Seraydarian and his wife, Suzy Seraydarian:

a. Business “Chic Accessories” was incorporated in
California in 2008 by Suzy Seraydarian and is located at 6519
Hollywood Blvd., Los Angeles, California 90028.

b. A search in the California Business Entity
database shows that M&M Jewelry was incorporated in California

on or about May 24, 2007. A status of “active” was shown as of

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March 27, 2015, for the company. The agent for service was
“Mouses Seraydarian.”

c. A search in the California Business Entity data
base shows that business Seray Jewelry was incorporated in
California on or about February 13, 2013. A status of “active”
was shown as of March 27, 2015, for the company. The agent for
service was “Moses Seraydarian.”

d. tT have reviewed bank records for Pacific Western
Bank account number 1000050334 in the name of M&M Jewelry.
According to the signature card, “Movses Seraydarian” (sic) is
the signer on the bank account and is listed as the president.
The bank account was opened on June 13, 2007. The deposits in
2012 and 2013 to the bank account consist mostly of checks from
known and suspected Tier-2 bank accounts. The majority of the
funds were subsequently withdrawn from the bank account by
checks made payable to Gold Depot.

e. I have reviewed bank records for Pacific Western
Bank account number 1000051001 in the name of Chic Accessories.
According to the signature card, Suzy Seraydarian is the signer
on the bank account and is listed as the president. The bank
account was opened on February 8, 2008. The deposits in 2012
and 2013 to the bank account consist mostly of checks drawn from
known and suspected Tier-2 bank accounts. Subsequently, the
majority of the funds were withdrawn from the bank account by
checks for what appear to be business~related expenses such as

rent, taxes, and utilities.

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f.. T have reviewed bank records for Umpqua Bank
account number 9921149788 in the name of Seray Jewelry Inc.
According to the signature card, Moses Seraydarian is the signer
on the bank account and is listed as the president. The bank
account was opened on October 10, 2013. The deposits in 2015 to
the bank account consist mostly of checks and cashier’s checks
drawn from known Tier-2 bank accounts. The majority of the
funds were then withdrawn from the bank account by checks
payable to Gold Depot.

g- I have reviewed bank records for Umpqua Bank
account number 9885849985 in the name of M&M Jewelry Inc.
According to the signature card, Moses Seraydarian is the signer
on the bank account and is listed as the president. The bank
account was opened on October 11, 2013. The deposits in 2014
ang 2015 to the bank account consist mostly of checks drawn from
known Tier-2 bank accounts. The majority of the funds were then
withdrawn from the bank account by checks payable to Gold Depot.

44. Disposition of fraud proceeds after being deposited
into Tier-3 bank accounts: I have reviewed a memorandum of
interview written by another IRS-CI SA who spoke with the owner
of Gold Depot, Kevork Kacharian, in 2011. In that interview,
Kacharian stated that Gold Depot is a business invelved in the
buying and selling of precious metals such as gold, silver,
platinum, as well as coins. Kacharian stated that BAK Precious
Metals was previously a “big guy” in the industry, and that

Newport Precious Metals was a business similar to Gold Depot.

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a. California Secretary of State Business Entity
database shows that Chad Hoang was the agent for service for
Newport Precious Metals, Ine., located at 650 S. Hill St.,
#518A, Los Angeles, California 90014, which has since been
dissolved.

b. California Secretary of State Business Entity
database shows that Chad Hoang was the agent for service for
Newport Gold Exchange, Inc., located at 650 S. Hill St., #518,
Los Angeles, California 90014, which is active.

c. i have also reviewed bank records for Gold Depot
and Newport Precious Metals that show large volumes of activity
that are consistent with precious metal businesses. Due to the
covert nature of this investigation, I have not interviewed the
Owners of Gold Depot and Newport Precious Metals to determine
the nature of the transactions between the Tier-3 bank accounts
and the precious metal wholesalers. However, based on the
above, I believe that the funds from the tax fraud that have
been laundered through Tier-1, Tier-2, and Tier-3 bank accounts
appear to have been and are being used to purchase gold or other
precious metals.

d. Although I do not know the disposition of any
gold that may have been purchased, based on my training and
experience, I believe that the purpose of the money laundering
of the tax fraud proceeds is to ultimately convert the funds to
cash, monetary instruments, or another form such as precious

metals that are not traceable back to the tax fraud. Based on

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my conversations with other law enforcement officers, I know
that purchase of gold and precious metals with illicit funds is
a common way for criminals to integrate their illicit proceeds.
tT also know that after gold and precious metals are purchased,
they are resold at a higher price, kept as an investment, or
transported out of the country.

e. Based on my training and experience, I know that
fraudsters keep cash and monetary instruments from illicit
proceeds secured in their home, in a security safe, and/or
storage units, or separated among different locations used in
the scheme. This is done to prevent law enforcement officers
from seizing their illicit proceeds at one location.

£. For the above reasons, I believe the schemers
appear to be buying gold from the illicit tax fraud funds that
have been layered through Tier 2 and Tier 3 bank accounts.

EF. Money Laundering Schemes Related to This Scheme
1. FBI health care money laundering sting investigation
involving Gagik Airapetian (“SCHEMER#1”)
4>. On or about March 17, 2016, I met with FBI SA Mark
Matsumura. SA Matsumura told me the following regarding his
investigation into a money laundering sting operation conducted
on Gagik Airapetian (SCHEMER#1), who as discussed below is

believed to be a leader of this money laundering scheme.

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46. In August 2008, FBI SA Christopher Watkins arrested an
individual for his/her role in a health care fraud scheme, who
later became a Confidential Human Source (“CHS1”}. SA Matsumura
subsequently learned that CHS] had previously used SCHEMER#1 to
launder proceeds from CHS1’s multiple health care fraud
entities.

47. SA Matsumura told me that he obtained an analysis from
other PBI personnel of bank records that confirmed that CHS1 had
used SCHEMER#1 to launder approximately over $1 million in
health care fraud proceeds related to CHSI1'’s 2008 arrest.

48. CHS] told SA Watkins that SCHEMER#1 laundered the
health care fraud proceeds through multiple bank accounts
controlled by SCHEMER#1.

49. Based on that information and other investigation, the
FBI began a money laundering sting operation on SCHEMER#1.

90. In 2012, CHS1, acting at the direction of the FBI, met
with SCHEMER#1. CHS1 asked SCHEMER#1 if SCHEMER#1 would be able
to launder illicit proceeds for CHS1. When they spoke, they did
not use the specific words that they would be laundering
proceeds from “health care fraud,” but, based on their prior
interactions involving laundering proceeds from health care
fraud, they both understood that the proceeds would be coming
from nealth care fraud. SCHEMER#1 agreed to launder those
proceeds for CHS1. From September 2012 through August 2013,

SCHEMER#1 laundered approximately $400,000 of FBI undercover

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funds purported to be proceeds of health care fraud. SCHEMER#1
charged a money laundering fee of 30%.

ol. SCHEMER#1 explained to CHS1 that he supervises the
movement of money but that he did not physically do it himself.

22. Approximately 20 or more meetings were held at or
around NS Wireless (SUBJECT PREMISES #2) where checks were being
dropped off and/or cash was subsequently being picked up. There
were some instances were checks where dropped off and cash was
picked up during the same meeting.

93. SCHEMER#1's method of laundering health care fraud
proceeds is similar to the method used to launder the proceeds
from tax fraud. SA Matsumura traced the FBI funds that had been
provided to SCHEMER#1 as part of the FBI sting operation.
During the FBI sting operation, SCHEMER#1 used 24 checks to
launder the funds and directed them to be deposited into 14
different bank accounts.

a. SA Matsumura confirmed that SCHEMER#1 laundered
the FBI funds in the same way he had previously laundered the
illegal proceeds for CHSIL. That method was to provide SCHEMER#1
with signed blank checks from the bank account from which the
lilegal proceeds of health care fraud were drawn.

b. As part of the FBI sting operation of SCHEMER#1,
CHS] would specify the amount of funds to be laundered per
instructions of his FBI handler. SCHEMER#1 would then direct
the number of checks to deposit and set forth the bank accounts

under his control into which the check(s) should be deposited.

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SCHEMER#1 and/or someone else would fill out the amount and
payees on these pre-signed checks.

c. SCHEMER#1 would then deduct his percentage for
the laundering fee, and the balance would then be provided to
CHSi in cash a couple of weeks later.

ad. On most occasions, the method of returning cash
to CHSl was secreting it inside a cell phone box, making it
appear to be a cell phone transaction.

54. SCHEMER#1 used Non Stop Wireless (SUBJECT PREMISES #2}
as_a meeting place to launder FBI undercover sting money.
SCHEMER#1 directed CHS1 to bring the checks to, and/or pick up
casn at or near, Non Stop Wireless aka “NS Wireless” {SUBJECT
PREMISES #2), which is located as Unit A on 12901 Sherman Way in
North Hollywood, California. Those surrounding locations also
included a bus stop bench located on the NW corner of Coldwater
Canyon and Sherman Way (which is northwest corner of Coldwater
Canyon and Sherman Way adjacent to the strip mall in which NS
Wireless is located), and the parking area on the north side of
the Dunn Edwards paint store located on the NE corner of
Coldwater Canyon and Sherman Way (Located across the street from
the aforementioned bench).

a. CHS1 would generally provide the checks to be
laundered by SCHEMER#1 inside an envelope, and take them to
SUBJECT PREMISES #2 to drop them off for SCHEMER#1.

b. CHS] generally provided checks to be laundered to

an individual later identified as Stepan Terakopyan. On one

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occasion, CHS1 provided checks to Stepan Terakopyan without an
envelope. The checks were displayed for Stepan Terakopyan to
see. The checks were left at SUBJECT PREMISES #2.

55. SCHEMER#1 tells CHS1 that he is aware of IRS tax
schemes. During a recorded meeting with CHS], CHS1 asked
SCHEMER#1 what he Knew about taxes {referring to tax fraud), and
SCHEMER#1 warned CHS1 that the “three letter ones” will be
Waiting to arrest you if you do that.

56. The first checks of the FBI sting operation were
deposited into a Bank of America account in the name of “Arsen
Aghayan.” Analysis of that bank account shows deposits not only
from the checks that were part of the FBI’s sting operation, but
aiso from a bank account in the name of “Armen Martirosyan” at
First Citizens Bank in South Carolina. An analysis of that bank
account showed that more than $400,000 in likely fraudulently
obtained IRS tax refunds were deposited into it.

37. SA Matsumura reviewed Aghayan’s Bank of America
records. Agents went to the address listed as the account of
record and learned that it was a private mailbox. Agents asked
for a copy of the rental application and identification that was
provided to open the private mailbox. Within that application
was a copy of the leasing application and an Armenian Passport
in the name of “Arsen Aghayan.” “Aghayan” was later identified
to have the true name of Nikoghos Petrosyan.

58. As part of the FBI investigation in Seattle,

Washington, discussed immediately following, it was uncovered

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that Nikoghos Petrosyan opened approximately ten other bank
accounts using other people’s identities.

2. IRS~CiI and FBI Seattle tax fraud investigation

29. <I have spoken with IRS=-CI SA Kendall McColley, who
beginning in 2011 investigated a stolen identity and IRS refund
theft crime ring in Seattle, Washington (“Seattle
Investigation”). In addition to speaking with SA McColley, I
also reviewed reports generated by the Seattle Investigation and
learned that that scheme involved opening bank accounts under
faise names using altered Armenian passports. Those bank
accounts were then used to receive direct deposits of tax
refunds from federal tax returns filed in the names of real U.S.
taxpayers whose identities had been stolen. Those refunds were
paid as the result of false returns reporting wages from false
Forms W-z with inflated federal income tax withholding amounts.

60. The Seattle Investigation discovered approximately
4,500 tax returns filed in 2010 for tax year 2009, claiming
refunds of approximately $30,000,000. Approximately 5,500 tax
returns were filed in 201] for tax year 2010 claiming refunds of
approximately. $35,000,000. It is estimated that the IRS paid
out approximately one-third to one-half of those refund amounts.

61. The Seattle Investigation identified Nikoghos
Petrosyan as one of several individuals who had used fraudulent
passports to open bank accounts used in that scheme. Nikoghos
Petrosyan opened several such bank accounts, including JPMorgan

Chase account 931932545 in the name of “Eduard Karapetyan” and

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another bank account in the name of “Aghasi Mkrtchyan” at
JPMorgan Chase bank. In 201], a check from JPMorgan Chase bank
account 931932545 and a check in the name of Eduard Karapetyan
were deposited to a bank account that was subsequently used as a
Tier-2 bank account in the name of “Ashot Bekejyan” in this
scheme. (As discussed below, SCHEMER#4 opened a bank account in
the identity of “Ashot Bekejyan,” which is not SCHEMER#4’s true
identity.)

62, The Seattle Investigation identified Gagik Airapetian
(discussed below as SCHEMER#1), Mkhitar Mkrtchyan (discussed
below as SCHEMER#11), Arman Abrahamyan (discussed below as
SCHEMER#13), and Haroutioun Demirdjian (discussed below as
SCHEMER#17) as being involved in the laundering of the money in
their case. As discussed below, SCHEMER#1, SCHEMER#11,
SCHEMER#13, and SCHEMER#16 are also involved in this scheme.

G. The Use of Private Mailboxes to Facilitate Money Laundering

63. I know that United States Postal Service Form 1583,
“Application for Delivery of Mail Through Agent,” is used when
an individual applies to receive mail at a private mailbox
located at a CMRA. I know that the application requires two
types of identification to be provided, one of which must
contain a photograph of the addressee.

64. During the course of this investigation, more than 200
private mailboxes have been identified as being used by the
conspirators of this scheme to establish mailing addresses for

the false identities that were then used to open bank accounts

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used in this scheme. Other agents and I have interviewed
employees or owners of these private mailbox services and
obtained copies of the applications and identifications used to
open these boxes, I have read the statements made by the owners
and employees of the private mail services, and I have reviewed
the applications provided by the private mail services. These
owners and employees have either remembered the individuals who
rented the boxes or stated that it is standard procedure to
ensure that the identification match the individual who is
applying to rent a mailbox, including comparing the picture on
the proffered identification to the person who is attempting to
rent the mailbox.

65. I have examined the photographic identifications from
the files of the CMRAs, which were provided to the CMRAs when
the schemers opened the mailboxes as part of the scheme. My
review of those files show that the schemers discussed in depth
in the following section, including Karen Pogosian (SCHEMER#2),
Armen Mkrtchyan (SCHEMER#3), Sargis Tabadzhyan aka “Sergio
Tabadzhyan” (SCHEMER#4), Hripsime Avagyan (SCHEMER#5}), Jane Doe
(SCHEMER#6), Artash Stepanyan (SCHEMER#7), Eduard Astvatsatryan
(SCHEMER#8), John Doe (SCHEMER#9), Konstantin Galstyan
(SCHEMER#10), and Mkhitar Mkrtchyan (SCHEMER#11), opened
mailboxes using fraudulent identifications in identities that
were not their own. The facts regarding these schemers,
SCHEMER#2 to SCHEMER#11, inclusive, are discussed in detail in

the next section, listed by respective schemer.

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H. Identified Schemers in This Investigation

1. SCHEMER#1: Gagik Airapetian

66. Based on the investigation, I believe that Gagik
Airapetian (SCHEMER#1) is the leader of this money laundering
scheme. As discussed above, SCHEMER#1 operates the money
laundering scheme by utilizing multiple bank accounts to layer
illicit proceeds of tax refund fraud and other frauds. The
proceeds are layered through at least two bank accounts before
they are deposited into business bank accounts of purported
Jewelry businesses located in downtown Los Angeles, California.
Millions of dollars a year move through such bank accounts,
making it difficult to trace.

67. SCHEMER#1 has been the target of multiple federal
criminal investigations for money laundering, tax refund fraud,
and health care fraud. Specifically, as discussed above, the
FBI conducted a money laundering sting on SCHEMER#1 in 2012,
wherein SCHEMER#1 laundered approximately $400,000 in funds that
he thought were proceeds of health care fraud. As detailed
above, SCHEMER#1 used SUBJECT PREMISES #2 as part of that
previous money laundering scheme.

68. As part of this money laundering scheme, SCHEMER#1 and
his co-conspirators have utilized sophisticated techniques to
disguise their illegal money laundering operations as legitimate
transactions and to avoid detection from law enforcement. For
example, SCHEMER#1 and/or his co-conspirators recruit other

individuals, often who speak Armenian, to open bank accounts and

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private mailboxes with fraudulent or altered passports from the
countries of the Republic of Armenia, the country of Georgia,
the Czech Republic, and other Eastern European countries. By
having his co-conspirators use fraudulent or altered passports,
SCHEMER#1 can launder money through the bank accounts that were
opened, without the funds being tied to an actual person.

69. As discussed below, SCHEMER#1 has been observed at
SUBJECT PREMISES #1 - the known hub of operations for this money
laundering scheme ~ at least 22 times since August 3, 2015, and
as recent as Friday, April 15, 2016. Every time that SCHEMER #1
was observed at SUBJECT PREMISES #1, at least one of the
schemers known to have used other individuals’ identities as
part of the scheme was also present at SUBJECT PREMISES #1 with
SCHEMER#L. As discussed below, on multiple occasions, SCHEMER#1
has been observed conversing with such schemers at SUBJECT
PREMISES #1.

70. As discussed elsewhere in this Affidavit, SCHEMER#1
has been observed with known schemers at Locations other than
SUBJECT PREMISES #1, including SUBJECT PREMISES #2, and business
Chic Accessories.

71. As discussed in depth below in the section focusing on
SUBJECT PREMISES #1 and SUBJECT PREMISES #2, SCHEMER#1 has been
observed travelling between those two locations used in this
scheme, and directing and waiting at SUBJECT PREMISES #1 for the
runners discussed below to return from conducting transactions

in furtherance of this scheme.

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72. As discussed in depth below in the section focusing on
SUBJECT PREMISES #3 (SCHEMER#1’'s residence), SCHEMER#1 has been
observed traveling with SUBJECT BAG #1 among the Known scheme
locations of SUBJECT PREMISES #1 and SUBJECT PREMISES #2 and
SUBJECT PREMISES #3.

73. Thus, based on the investigation, and my training and
experience, I believe that SCHEMER#1 is a leader of this money
laundering scheme. .

2. SCHEMER#2: Karen Pogosian

74. Based on the facts immediately following, I believe
that Karen Pogeosian (SCHEMER#2), posing and using fraudulent
identifications in different identities that were not his true
identity, rented at least two mailboxes and opened at least two
bank accounts that were used in this scheme. Below are the
details of the mailboxes and the bank accounts opened by
SCHEMER#2, and the identifications in different identities that
he used to do so,

75. On August 8, 2012, box #560 at Encino Mailboxes, 4924
Balboa Bivd., Encino, California, was rented in the name of
“Hrachya Sevyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number AMO330985 in the name of “Hrachya
sevyan” that had SCHEMER#2’s photograph on it.

76. On December li, 2013, box #501 at West Coast Mail
Centers, 13659 Victory Blvd., Van Nuys, California, was rented

in the name of “Ruben Pivazyan.” When opening that mailbox, the

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individual posing in that identity provided as identification
Republic of Armenia passport number AHO0638764 in the name of
“Ruben Pivazyan” that had SCHEMER#2’s photograph on it.

77. YT have examined the photo identifications in the names
of “Hrachya Sevyan” and “Ruben Pivazyan” that were used to open
the mailboxes listed above, which I then compared to the
photograph on the California driver’s license issued to
SCHEMER#2. I believe that the person depicted in the photo
identifications used to open the two mailboxes in the different
names listed above is actually SCHEMER#2.

78. The Republic of Armenia informed the U.S. Embassy in
Armenia that passport number AMO0330985 was issued in the name of
“Hrachya Sevyan.” Therefore I believe that passport number
AMQ330985 was altered to display SCHEMER#2’s image and then used
by SCHEMER#2 to rent a private mailbox as part of this scheme.

79. I have reviewed bank records of a bank account in the
name of “Hrachya Sevyan,” and believe that SCHEMER#2, posing in
the identity of Hrachya Sevyan, opened a bank account that was
used as a Tier-2 bank account in this scheme.

80. On August 31, 2012, Union Bank checking account
0030279026 and savings account 0030279034 were opened in the
name of “Hrachya Sevyan.” The address on the signature cards is
“Melkonyan 2/3 #24, Yerevan, Armenia 0016.” The address on the
statements was initially listed as 5632 Van Nuys Blvd., #331,
Van Nuys, California. However, with the statement beginning

October 24, 2012, the address was listed as 4924 Balboa Blvd.,

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Ste. 560, Encino, California. That address matches the first
mailbox described above that was opened by SCHBEMER#2.

a. Union Bank checking account 0030279026 operated
as 4a Tier-2 bank account in 2013 and 2014, with deposits
consisting of checks drawn on Tier-1 and Tier-2 bank accounts,
and checks written from the account payable to LA Hoops and
Unika Jewelry.

b. Union Bank savings account 0030279034 operated as
a Tier~2 bank account in 2014, receiving one deposit from a
check drawn from another Tier-2 bank account. The majority of
the funds in this account were then transferred to checking
account 0030279026,

81. In addition to the bank accounts discussed above, I
have reviewed additional bank records that show there was at
least one other bank account opened in the name of “Hrachya
Sevyan.”

82. ] have reviewed bank records relating to “Ruben
Pivzayan,” and I believe that SCHEMER#2, posing in the identity
of Ruben Pivzayan, opened two bank accounts that were used as
Tier-~2 bank accounts in this scheme, as described here:

a. On December 8, 2013, Wells Fargo Bank checking
account 2609118050 and savings account 5608697743 were opened in
the name of “Ruben Pivzayan” at a branch in Panorama City,
California. The address on the signature card is listed as
13659 Victory Blvd., #501, Van Nuys, California, which is the

second mailbox discussed above. The identification listed on

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the signature card is Armenian passport number AH0638764, which
is the same number as the Republic of Armenia passport used to
open the mailbox discussed above.

b. Wells Fargo Bank checking account 2609118050
operated as a Tier-2 bank account in this scheme in 2014 with
deposits consisting of checks drawn from other Tier-1 and Tier-2
bank accounts, and checks on the account made payable to Tier-2
and Tier-3 bank accounts, including to Zig Zag, LA Hoops, M&M
Jewelry, and Moses Seraydaryan.

om Wells Fargo Bank savings account 5608697743
operated as a Tier-2 bank account in this scheme in 2014,
receiving deposits of checks drawn on Tier-1 bank accounts. The
funds were then transferred to checking account 2609118050.

83. FBI SA Matsumura identified SCHEMER#2 as the person
depicted in the passports in the names of “Ruben Pivzayan” and
“Hrachya Sevyan” discussed above. I decided to interview
SCHEMER#2 to see if he would cooperate and provide information
relating to this scheme.

64. On October 23, 2015, HSI SA Michael Ou, Los Angeles
Police Department Detective A. Mkrtchyan, and I interviewed
SCHEMER#2 .

a. SCHEMER#2 admitted that in 2012, 2013, and 2014,
he opened several bank accounts and private mailboxes using
fraudulent passports in other identities. SCHEMER#2 said that he

waS paid 313,000 to $14,000 for opening those bank accounts. He

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also admitted depositing checks into other people’s bank
accounts.

b, SCHEMER#2 admitted that he knew it was illegal to
open the bank accounts using the fraudulent identities and
believes that the bank accounts he opened were used to launder
money. SCHEMER#2 stated that he recalled using fraudulent
passports in the names of “Hracha” and “Hakob.”

cy SCHEMER#2 also said that in or around 2013 and
possibly 2014, he used two or three other identities to open
more bank accounts and private mailboxes, but that he could not
recall the names he had used. SCHEMER#2 stated that using
different identities, he opened bank accounts at Bank of
America, Wells Fargo Bank, Union Bank, JPMorgan Chase, and
possibly at Citibank. SCHEMER#2 also admitted that he would
obtain a Costco membership card in the name of the identity he
was assuming and present the Costco card to banks and CMRAs as a
second form of identification.

d. SCHEMER#2 explained that he would provide a
passport-sized photo of himself to his handler, who would then
provide him with fraudulent passports that displayed his photo.

3. SCHEMER#3: Armen Mkrtchyan

85. Based on the facts immediately following, I believe
that Armen Mkrtchyan (SCHEMER#3), posing and using fraudulent
identification in identities that were not his true identity,
rented at least two mailboxes used in the scheme. Below are the

details of the mailboxes rented by SCHEMER#3 and the bank

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accounts opened by SCHEMER#3, and the identifications in
different identities that he used to do so.

86. On July 22, 2014, box #884 at the UPS Store Toluca
Lake, 10061 Riverside Dr., Toluca Lake, California, was rented
in the name of “Vahagn Vardanyan.” When opening that mailbox,
the individual posing in that identity provided as
identification Republic of Armenia passport number AM0617861 and
Costco membership card number 11183690374, both in the name of
“Vahagn Vardanyan.” Both of those identification documents
appear to have the photograph of SCHEMER#3.

87. On October 9, 2014, box #318 at the UPS Store #5626,
6309 Laurel Canyon Bivd., Sun Valley, California, was rented in
the name of “Gagik Sargsyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number ANO502118 and Costco
membership card number 111838812692, both in the name of “Gagik
Sargsyan.” Both of those identification documents appear to
have the photograph of SCHEMER#3.

88. I have examined the photo identifications in the names
of “Vahagn Vardanyan” and “Gagik Sargsyan” that were used to
open the mailboxes listed above, and I believe that not only are
they the same person but that the passport photographs might
actually be the same photograph. I then compared those
photographs to the photograph on the California driver’s license
issued to SCHEMER#3, and based on that comparison, I believe

that the person depicted in the photo identifications used to

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open the two mailboxes in the different names listed above is
actually SCHEMER#3.

89. I have reviewed bank records related to “Vahagn
Vardanyan,” and I believe that SCHEMER#3, using the identity of
Vahagn Vardanyan, opened a bank account that was used as a Tier-
é bank account in this scheme, as described here:

a. On September 6, 2014, in Toluca Lake, California,
JPMorgan Chase bank account 638937396 was opened in the name of
“Vahagn Vardanyan.” The identification listed on the signature
card is Armenian passport AMOQ617861 (the same passport number
used to open the first mailbox listed above). The address
listed on the signature card is 10061 Riverside Dr., Apt. 884,
Toluca Lake, California.

be JPMorgan Chase bank account 638937396 operated as
a Tier-2 bank account in 2015, with deposits consisting mostly
of checks drawn from Tier-1 and Tier-2 bank accounts.
Additionally, many checks drawn on the account were made payable
to other Tier-2 bank account holders, as well as to Tier-3 bank
account holders, including Unika Inc., Garo Minassian, HD
Jewelry, and Zig Zag Jewelry.

Cc. In addition to the bank account above, I have
reviewed bank records that show there was at least one other
bank account opened in the name of Vahagn Vardanyan.

90. I have reviewed bank records related to “Gagik

Sargsyan,” and I believe that SCHEMER#3, posing in the identity

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of Gagik Sargsyan, opened a bank account that was used as a
Tier-2 bank account in this scheme, as described here:

a. On November 16, 2014, Bank of America account
325019792479 was opened in Sun Valley, California, in the name
of Gagik Sargsyan Sole Prop DBA Sagigagi Jw. The identification
on the signature card is listed as Armenian passport number
ANO502118 (the same passport number used to open the second
mailbox listed above), and the address as 8309 Laurel Canyon
Blyvd., #91, Sun Valley, California. Gagik Sargsyan is listed as
the owner and sole signer on the account. The address on the
statements is listed as 8309 Laurel Canyon Blvd. #139, Sun
Valley, California, and the address on the checks is 8309 Laurel
Canyon Blvd. #318, Sun Valley, California.

b. Bank of America account 325019792479 operated as
a Tier-2 bank account in 2015 with deposits of checks drawn from
other Tier-2 bank accounts. Checks drawn on the bank account
were mostiy made payable to Tier-3 bank accounts, including M &
M, S@ray Inc., and Zig Zag.

Q. In addition to the bank account discussed above,
I have reviewed additional bank records that show there was at
least one other bank account opened in the name of “Gagik
Sargsyan.”

91. On August 19, 2015, I observed Harutyun Sukiasyan
(described below as SCHEMER#14} driving a vehicle that was
registered to SCHEMER#3. I obtained SCHEMER#3’s California

driver’s license, and on a later date, I recognized the

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photograph on that driver's license to be the same person in the
photographs on the Vahagn Vardanyan and Gagik Sargsyan
passports.

4. SCHEMER#4: Sargis Tabadzhyan, AKA “Sergio Tabadzhyan”

92. Based on the facts immediately following, I believe
that Sargis Tabadzhyan (SCHEMER#4), posing and using fraudulent
identification in different identities that were not his true
identity, rented at least 7 mailboxes and opened 13 bank
accounts that were used in this scheme. Below are the details
of the mailboxes rented by SCHEMER#4 and the bank accounts
opened by SCHEMER#4, and the identifications in different
identities that he used to do so.

93. On August 24, 2010, box #222 at the Montebello UPS
Store, 1012 W. Beverly Blvd., Montebello, California, was rented
in the name of “Ashot Bekejyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AFO741659 in the name of
“Ashot Bekejyan” that had SCHEMER#4’s photograph on it.

94. On June 7, 2011, box #113 at CopyCat LA, 2046
‘Hillhurst Ave., Los Angeles, California, was rented in the name
of “Khachatur Grigoryan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AH0630615 in the name of
“Khachatur Grigoryan” that had SCHEMER#4’s photograph on it.

95. On October 26, 2011, box #269 at Valley Mail, 11684

Ventura Blvd., Studio City, California, was rented in the name

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or “Norayr Hakobyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number AK0Q623757 in the name of “Norayr
Hakobyan” that had SCHEMER#4'’s photograph on it.

96. On November 29, 2012, box #372 at West Coast Mail
Center, 13659 Victory Blvd., Van Nuys, California, was rented in
the name of “Rima Nersisyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AGO683232 in the name of
“Rima Nersisyan” that had SCHEMER#4's photograph on it. That
passport indicates that “Rima Nersisyan” is female, whereas
SCHEMER#4 is actually male.

97. On August 8, 2013, box #428 at West Coast Mail Center,
13659 Victory Blvd., Van Nuys, California, was rented in the
name of “Pogos Terakopyan.” When opening that mailbox, the
individual posing in that identity provided as identification
California Identification Card number Di644041 in the name of
“pogos Terakopyan” that had SCHEMER#4'’s photograph on it.

a. I confirmed that California Identification Card
number D1644041 was never issued by the State of California.
Rather, number D1644041 was issued as a California driver's
license to “Pogos Terakopyan,” but the photograph of that
individual does not resemble SCHEMER#4. (I subsequently
discovered that Poges Terakopyan is actually tied to the owners

of NS Wireless (SUBJECT PREMISES #2), because the address for

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California driver's license D1644041 is the same address listed
for one of the owners of the business at SUBJECT PREMISES #2.)
98. On November 12, 2013, box #329 at the UPS Store,

Montebello, 1012 W. Beverly Blvd., Montebello, California, was
rented in the name of “Vaghinak Sosyan.” When opening that
mailbox, the individual posing in that name provided as
identification Republic of Armenia passport number AHO0296278 and
Costco membership card number 111829717807, both in the name of
“Vaghinak Sosyan.” Both of those identification documents
appear to have the photograph of SCHEMER#4. SCHEMER#4 also
provided a Time Warner Cable bill for account number
6558552285286858 in the name of “Vaghinak Sosyan” with address
1765 Neil Armstrong St., Montebello, California.

| 99. On June 15, 2014, box #74 at Valley Postal, 300 W.
Valley Bivd., Alhambra, California, was rented in the name of
“Aram Hakobyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number AK0506268 and Costco membership card
number 111833814659, both in the name of “Aram Hakobyan.” Both
of those identification documents appear to have the photograph
of SCHEMER#4.

100. I have examined the photo identifications used to open

the seven private mailboxes discussed above, and I have compared
those photo identifications to the California driver’s license

issued in the true name of SCHEMER#4. Based on those

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comparisons, I believe the photographs are all of the same
person, SCHEMER#4.

101. The Republic of Armenia informed the U.S. Embassy in
Armenia that passports AFO741659, AHO630615, AG0683232,
AHO296278, and AKO506268 were issued in the names of Ashot
Bekejyan, Khachatur Grigoryan, Rima Nersisyan, Vaghinak Sosyan,
and Aram Hakobyan, respectively. Therefore, I believe that
Republic of Armenia passport numbers AFO741659, AHO630615,
AGOQ683232, AHO296278, and AKO0506268 were altered to display
SCHEMER#4’S image, and then used to rent private mailboxes.

102. SCHEMER#4 was also identified when retrieving mail at
one of the mailbox Locations, the UPS Store in Montebello,
California:

a. On April 9, 2015, IRS SA Leonard observed an
individual, whom he later identified as SCHEMER#4, exit the UPS
Store in Montebello with an unknown male. When SA Leonard
questioned the store employee who had assisted SCHEMER#4, the
employee (Robert Alvarado} stated that the two males requested
the mail for box #329, which had been opened in the name of
“Vaghinak Sosyan.” The male purporting to be “Vaghinak Sosyan”
did not speak English and was assisted by the other male.
Alvarado provided the mail for box #329 to the other male. SA
Leonard identified SCHEMER#4 by obtaining the vehicle
registration of the vehicle that SCHEMER#4 had used to depart
the UPS store in Montebello. The vehicle was registered to

SCHEMER#4, so SA Leonard obtained a copy of SCHEMER#4’s

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California driver’s license, which is in his true name: Sergio
Tabadzhyan AKA Sargis Tabadzhyan. SA Leonard determined that
SCHEMER#4 was the same person who was at the UPS Store in
Montebello on April 9, 2015, purporting to be “Vaghinak Sosyan.”

b. On May 1, 2015, SA Leonard showed a photograph of
SCHEMER#4 (from his California driver's license) to Alvarado.
Alvarado identified SCHEMER#4 as the individual purporting to be
“Vaghinak Sosyan” at the UPS Store-Montebello on April 9, 2015.
He also recognized SCHEMER#4 as the same individual who had
opened box 222 in the different name of “Ashot Bekejyan.”

Cc. Alvarado also told SA Leonard that a female came
.in the store on April 30, 2015, and picked up mail from box
#222, which consisted of two FedEx envelopes from Citibank.
Alvarado described her as about 5’7” or 5'’8” including high
heels, slim build, and in her early to mid-twenties. The female
had a mole above her upper lip and she spoke with an Eastern
European accent. On May 1, 2015, SA Leonard emailed Alvarado
four photographs provided by U.S. Bank of a female with a mole
who had transacted on the U.S. Bank account of “Manvel
Sargsyan.” On May 8, 2015, SA Leonard spoke with Alvarado who
identified the female in the four photegraphs as the female who
had been in the store on April 30, 2015, to pick up mail. I
have examined the four photographs, and I believe that the
female in those photographs 1s Hripsime Avagyan (SCHEMER#5

below).

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103. I have reviewed bank records for “Rima Nersisyan,” and
I believe that SCHEMER#4, using the identity of Rima Nersisyan,
opened two bank accounts that were used as Tier-1 bank accounts
in this scheme, as described here:

a. On December 3, 2012, in Burbank, California,
Wells Fargo Bank checking account 6978755814 and savings account
7094298929 were opened in the name of “Rima Nersisyan.” The
customer residence is listed as 13659 Victory Blvd #372, Van
Nuys, California, and the identification as Armenian passport
AGO683232 (the same passport number used to open one of the
mailboxes listed above).

b. The review of the records also shows that bank
account 6978755814 received two electronic deposits of
fraudulentiy obtained tax refunds from the IRS on February 11,
2014, and March 12, 2014, totaling $11,404. Records also show
that account number 7094298925 received three electronic
deposits of fraudulently obtained tax refunds from the IRS on
February ll, 2014, February 12, 2014, and March 10, 2014,
tetaling $20,497.

c. In addition to the bank accounts above, I have
reviewed additional bank records that show there were at least
three other bank accounts opened in the name of “Rima
Nersisyan.”

104. I have reviewed bank records for “Ashot Bekejyan,” and

I believe that SCHEMER#4, posing in the identity of Ashot

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Bekejyan, opened a bank account that was used as a Tier-2 bank
account in this scheme, as described here:

a. On September 25, 2010, Wells Fargo Bank account
98523523157 was opened in Montebello, California, in the name of
“Ashot Bekejyan.” The address listed on the Signature card is
1012 W. Beverly Blvd., Apt. 222, Montebello, California, and the
identification is listed as Armenian passport AFO741659 (the
same passport number used to open the first mailbox listed
above}.

b. Wells Fargo Bank account 9855513157 operated as a
Tier-2 bank account in 2012, 2013, and 2014. Deposits to that
bank account in 2012, 2013, and 2014 consist mostiy of checks
drawn from Tier-1 and Tier-2 bank accounts, and the withdrawals
mostly consist of checks made payable to Tier-2 and Tier-3 bank
accounts, inciuding to HD Jewelry, Zig Zag, Unika Jewelry, LA
Hoops, and Garo Minassian.

Cc. Additionally, deposits to bank account 9855513157
in 2011 include checks from two individuals, “Eduard Karapetyan”
and “Aghasi Mkrtchyan,” which names were both known to the
Seattle Investigation, but which are really just one person
whose true identity is Nikoghos Petrosyan. The check from
“Eduard Karapetyan” was drawn on an account identified in the
Seattle investigation as being opened by Nikoghos Petrosyan on
November 27, 2010, in Northridge, California. Electronic
payments from account 9855513157 also include payments on credit

card accounts in the name of Stepan Terakopyan. Both Stepan

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Terakopyan (discussed below as an owner/operator of the business
at SUBJECT PREMISES #2) and Nikoghos Petrosyan were also
involved in the FBI investigation.

d. In addition to the bank account above, I have
reviewed additional bank records that show there were at least
li other bank accounts opened in the name of “Ashot Bekejyan.”

105. I have reviewed bank records for “Vaghinak Sosyan,”
and I believe that SCHEMER#4 opened bank accounts in the name of
Vaghinak Sosyan that were used as Tier~2 bank accounts in this
scheme, as described here:

a. On December 13, 2013, Citibank bank accounts
42010620666 and 42010620674 were opened in the name of “Vaghinak
sosyan.” -Account 42010620666 was a checking account, and
42010620674 was a savings account. The address listed on the
Signature card is 1765 Neil Armstrong, Apt. #204, Montebello,
California. The address on the statements is initially the same
as that listed on the signature card; however, beginning with
the statement dated March 16 through April 2015, the address is
listed as 1012 W. Beverly Blvd., Apt. 329, Montebello,
California.

b. Citibank bank accounts 42010620666 and
42010620674 operated as Tier-2 bank accounts in 2014 and 2015.
Deposits to the bank accounts consist mostly of checks drawn on
Tier-l and Tier-2 bank accounts. Additionally, multiple checks

were drawn on bank account 42010620666 payable to other Tier-2

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bank account holders, as well as to Tier-3 bank account holders,
including Unika Inc., L.A. Hoops, M&M Jewelry, and HD Jewelry.
Cc. In addition to the bank accounts above, I have
reviewed additional bank records that show there were at least
five other bank accounts opened in the name of “Vaghinak
Sosyan.”
106. I have also reviewed additional bank records that show
there were at least:
a. two bank accounts opened in the name of
“Khachatur Grigoryan;”
b. two bank accounts opened in the name of “Norayr
Hakobyan;” and
cc. three bank accounts opened in the name of “Aram
Hakobyan.”
5. SCHEMER#5: Hripsime Avagyan
107. Based on the facts immediately following, I believe
that Hripsime Avagyan (SCHEMER#5), posing and using fraudulent
identification in different identities that were not her true
identity, rented at least 7 mailboxes and opened at least 6 bank
accounts that were used in this scheme. Below are the details
of the mailboxes rented by SCHEMER#5 and the bank accounts
opened by SCHEMERES, and the identifications in different
identities that she used to do so.
108. On November 19, 2013, box #389 at Beverly Mailbox
Rentals, 326 N. Western Ave., Los Angeles, California, was

rented in the name of “Tatevik Hunanyan.” When opening that

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mailbox, the individual posing in that identity provided as
identification Republic of Armenia passport number AKO433907 and
Costco membership card number 111829922843, both in the name of
“Tatevik Hunanyan.” Both of those identification documents
appear to have the photograph of SCHEMER#S5.

109. On November 21, 2013, box #152 at C&E Mailboxes, 5082
W. Pico, Los Angeles, California, was rented in the name of
“Tehmine Khachatryan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AH0583579 and Costco
membership card number 111829926152, both in the name of
“Tehmine Knachatryan.” Both of those identification documents
appear toe have the photograph of SCHEMER#S5.

110. On December 3, 2013, box #476 at West Coast Mail
Centers, 13659 Victory Blvd., Van Nuys, California, was rented
in the name of “Lusin Alaverdyan.” When opening that mailbox,
the individual posing in that identity provided as
identification Republic of Armenia passport number AMO518750 and
Costco membership card number 111830270349, both in the name of
“Lusin Alaverdyan.” Both of those identification documents
appear to have the photograph of SCHEMER#S5.

lil. On April 4, 2014, two mailboxes at two different
locations, in two different identities, were rented, neither of
which was in SCHEMER#5’s true identity.

a. On April 4, 2014, box #234 at Printing Zone Inc.,

22815 Ventura Blvd., Woodland Hills, California, was rented in

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the name of “Anna Harutyunyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AGO547511 and Costco
membership card number 111833343191, both in the name of “Anna
Harutyunyan.” Both of those identification documents appear to
have the photograph of SCHEMER#5.

b. On April 4, 2014, box #276 at Mailboxes N More,
29379 Wayne Mills Pl., Valencia, California, was rented in the
name of “Anush Karapetyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AGO412836 that had
SCHEMER#5’s photograph on it.

liz. On April 17, 2014, box #297 at Mail Plus, 269 S.
Western Ave., Los Angeles, California, was rented in the name of
“Ani Nahapetyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number AHO526282 in the name of “Ani
Nahapetyan” that had SCHEMER#5’s photograph on it.
113. On April 18, 2014, box #223 at San Marino Mailbox,

1613 Chelsea Rd., San Marino, California, was rented in the name
of “Ani Gevorgyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number AK0260303 and Costco membership card
number 111833846502, both in the name of “Ani Gevorgyan.” Both
of those identification documents appear to have the photograph

of SCHEMER#S.

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i114. I have examined the photo identifications used to open
the seven private mailboxes discussed above, and I have compared
those photo identifications to the California driver's license
issued in the true name of SCHEMER#5. I also examined the
Republic of Armenia passport in SCHEMBER#5'’s immigration records.
Based on those comparisons, I believe the photographs are ali of
the same person, SCHEMER#S5.

1i5. The Repubiic of Armenia informed the U.S.°’Embassy in
Armenia that passport numbers AH0583579 and AMO518750 were
issued in the names of Tehmine Khachatryan and Lusine Alaverdyan
at one point in time, respectively. Therefore, I believe that
Republic of Armenia passports AHO583579 and AMO518750 were
altered to display SCHEMER#S’ s image and then used to rent
private mailboxes,

116. I have reviewed bank records for “Tehmine
Khachatryan,” and I believe that SCHEMER#5, posing in the
identity of Tehmine Khachatryan, opened a bank account that was
used as a Tier-2 bank account in this scheme, as described here:

a. On January 13, 2014, Citibank account 42011010313
was opened in Los Angeles, California, in the name of “Tehmine
Khachatryan.” The identification documented on the account .
opening document was Armenian passport AHO583579 (the same
passport number used to open the second mailbox listed above).
The address listed on the statements is 5082 W. Pico, Apt. 512,

Los Angeles, California. (I believe “512” resulted from

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accidentally transposing “152,” which was the corresponding
mailbox that SCHEMER#5 had opened.)

b. Citibank account 42011010313 operated as a Tier-2
bank account in 2014 with deposits mostly consisting of checks
drawn from Tier-1l and Tier-2 bank accounts. Withdrawals
consisted mostly of checks made payable to Tier-2 and Tier-3
bank account holders, including Garo Minassian, HD Jewelry, LA
Hoops, Unika Inc., and M&M Jewelry.

c. In addition to the bank accounts above, I have
reviewed additional bank records that show there were at least
five other bank accounts opened in the name of “Tehmine
Khachatryan.”

ii7. I have reviewed bank records for “Lusine Alaverdyan,”
and I believe that SCHEMER#5, posing in the identity of Lusine
Alaverdyan, opened two bank accounts that were used as Tier~?
bank accounts in this scheme, as described here:

a. On January 13, 2014, Citibank bank accounts
42011055318 and 42011055300 were opened in Van Nuys, California,
in the name of “Lusine Alaverdyan.” The identification listed
on one of the account opening documents is Armenian passport
AMOS18750 (the same passport number used to open the third
mailbox listed above), and the address as 13659 Victory Bivd.,
Apt. 476, Van Nuys, California.

b. Citibank checking account 42011055300 and savings
account 42011055318 operated as Tier-2 bank accounts in 2014,

with deposits mostly consisting of checks drawn on Tier-1 and

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Tier-2 bank accounts. Withdrawals consisted mostly of checks
made payable from bank account 42011055300 to Tier-2 and Tier-3
bank account holders, including Garo Minassian, HD Jewelry, LA
Hoops, Unika Inc., Zig Zag Jewelry, and M&M Jewelry.

c. In addition to the bank accounts above, I have
reviewed additional bank records that show there were at least
three other bank accounts opened in the name of “Lusine
Alaverdyan.”

118. I have also reviewed additional bank records that show

there were at least:

a. two bank accounts opened in the name “Tatevik.
Hunanyan;”

b. three bank accounts opened in the name of “Anna
Harutyunyan;”

‘C. one bank account opened in the name of “Anush

Karapetyan;” and
d. one bank account opened in the name of “Ani

Nahapetyan.”

6. SCHEMER#6: Jane Doe

119. Based on the facts immediately following, I believe
that “Jane Doe” (SCHEMER#6), a female whose true name we have
not. yet been able to identify, posing and using fraudulent
identification in different identities, rented at least 6
mailboxes and opened 8 bank accounts that were used in this

scheme. Beiow are the details of the mailboxes rented by

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SCHEMER#6 and the bank accounts opened by SCHEMER#6, and the
identifications in different identities that she used to do so.

120. On June 17, 2014, box #193 at Mailboxes Lido, 3419 Via
Lide, Newport Beach, California, was rented in the name of “Nune
Zakaryan.” When opening that mailbox, the individual posing in
that identity provided as identification Republic of Armenia
passport number AHO627716 and Costco membership card number
111835441715, both in the name of “Nune Zakaryan.” Both of
these identification documents appear to have the photograph of
SCHEMER#6.

121. On June 19, 2014, box #44 at AIM Mail Center, 10073
Valley View St., Cypress, California, was rented in the name of
“Sirvard Khachatryan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number ANO305054 in the name of
“Sirvard Khachatryan” that had SCHEMER#6’s photograph on it.

122. On June 20, 2014, box #203 at the UPS Store, 10910
Long Beach Blvd., Suite 103, Lynwood, California, was rented in
the name of “Anahit Israelyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number ANO727525 in the name of
“Anahit Israelyan” that had SCHEMER#6's photograph on it.
SCHEMER#6 also provided an AT&T Monthly Statement in the name of
“Anahit Israelyan,” which appears to be altered.

123. On June 23, 2014, box #216 at the Mail Depot, 401 S.

Harbor Blvd., Ste. F, La Habra, California, was rented in the

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name of “Hasmik Gasparyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AH0625238 in the name of
“Hasmik Gasparyan” that had SCHEMER#6’s. photograph on it.

124. On May 28, 2015, box #858 at the UPS Store 0944, 1107
Fair Oaks Ave., South Pasadena, California, was rented in the
name of “Blena Oganesyan.” When opening that mailbox, the
individual posing in that identity provided as identification a
country of Georgia passport number O5AA51086 and Costco
membership card number 111845465024, both in the name of “Elena
Oganesyan.” Both of those identification documents appear to
have the photograph of SCHEMER#6.

125. On June 11, 2015, box #257 at the Printing Zone, 22815
Ventura Blvd., Woodland Hills, California, was rented in the
name of “Iveta Mkrtchyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AHO690421 that had
SCHEMER#6'S photograph on it.

126. I have examined and compared the photo identifications
in the names of Nune Zakaryan, Sirvard Khachatryan, Anahit
Israelyan, Hasmik Gasparyan, Elena Oganesyan, and Iveta
Mkrtchyan, which were used to open the mailboxes listed above.
Based on those comparisons, I believe the photographs are all of
the same person, Jane Doe/SCHEMER#6,

127. On January 7, 2016, I observed SCHEMER#5 and SCHEMER#6

enter an Hast West Bank branch located at 135 N. Los Robles

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Ave., Pasadena, California. I have reviewed photographs which
confirmed that SCHEMER#6 and SCHEMER#5 were in the Bast West
Bank on January 7, 2016. I was later informed by a bank
employee that the person she knew as “Elena Oganesyan” requested
that her address be changed for her bank accounts. I therefore
believe that while at the Bast West Bank on January 7, 2016,
SCHEMER#6 represented herself as “Elena Oganesyan,” the name
listed on accounts 178365565 and 2088014440 at East West Bank.

128. I have reviewed East West Bank records related to bank
account numbers 178365565 and 2088014440. After reviewing the
records, I confirmed that the account was opened in the name of
“Elena Oganesyan” on August 7, 2015, in Pasadena, California.
The address on the signature card is listed as 1107 Fair Oaks
Ave., South Pasadena, California. On January 7, 2016, SCHEMER#6
changed the address on the bank accounts to 1107 Fair Oaks Ave.
#859, South Pasadena, California. Another bank employee later
told me that the address was changed again on February 9, 2016,
to 1107 Fair Oaks Ave. #858, South Pasadena, California.

129. I have also reviewed Bank of America records related
to bank accounts opened in the name of “Elena Ogqanesyan.” In
addition to bank records, I was provided with Bank of America
ATM photos of account opening deposits on May 28, 2015. The ATM
photos depict the individual I recognize as SCHEMER#6 depositing
cash into accounts 325046641904 and 325057797944. Therefore, I
believe that SCHEMER#6, posing in the identity of “Elena

Oganesyan,” opened these bank accounts. The ATM photos also

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show a female standing next to SCHEMER#6. I have examined these
photographs and believe that that female is SCHEMER#S5.

130. TA Gilmore told me that Bank of America accounts
325046641904 and 325057797944 had two tax refunds deposited into
each account in 2016. I confirmed that each tax refund
deposited was in the name of different individuals, neither of
which is in the name of “Elena Oganesyan.”

131. T have also reviewed additional bank records that show
there were at least:

a. four bank accounts opened in the name of “Nune
Zakaryan;”

b. three bank accounts opened in the name of
“Sirvard Khachatryan;”

on two bank accounts opened in the name of “Anahit
Israelyan;” and

d. three bank accounts opened in the name of “Hasmik
Gasparyan.”

7. SCHEMER#7 : Artash Stepanyan

i32. Based on the facts immediately following, I believe
that Artash Stepanyan (SCHEMER#7), posing and using fraudulent
identification in different identities that were not his true
identity, rented at least 6 mailboxes and opened at least 14
bank accounts that were used in this scheme. Below are the
details of the mailboxes rented by SCHEMER#7 and the bank
accounts opened by SCHEMER#7, and the identifications in

different identities that he used to do so.

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133. On June 2, 2011, box #652 at Sunset Blvd. Mailboxes,
7119 W. Sunset Blvd., Los Angeles, California, was rented in the
name of “Arman Asasyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AK0285765 in the name of
“Arman Asasyan” that had SCHEMER#7'’s photograph on it.

134. On September 5, 2012, box #287 at Postalworks, 2658
Griffith Park Blvd, Los Angeles, California, was rented in the
name of “Hamlet Muradyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AGO575869 in the name of
“Hamlet Muradyan” that had SCHEMER#7's photograph on it.

135. On September 6, 2012, box #405 at UPS Store 1062, 9018
Balboa Blvd., Northridge, California, was rented in the name of
“Artur Poghosyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number AK0386504 in the name of “Artur
Poghosyan” that had SCHEMER#7’s photograph on it.

136. On June 26, 2013, box #347 at Mail Fax Plus USA,
11100-8 Sepuiveda Blvd., Mission Hillis, California, was rented
in the name of “Manvel Sargsyan.” When opening that mailbox,
the individual posing in that identity provided as
identification Republic of Armenia passport number AKO386504 and
Costco membership card number 111825203611, both in the name of
“Manvel Sargsyan.” However, the owner of Mail Fax Plus USA

failed to keep copies of those identification items, even though

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required to do so under U.S. postal requlations, so those
numbers were just recorded in the file for the mailbox (as
opposed to copies of the documents, like the other mailbox
locations discussed in this Affidavit). Te compare photographs,
I obtained and served a federal Grand Jury subpoena on Costco
for a copy of the photograph for Costco membership card
111825203611 in the name of Manvel Sargsyan, which Costco then
provided. Tf then examined the photograph provided by Costco for
Costco membership card number 111825203611, and I believe the
person in that photograph is SCHEMER#7.

137, On September 16, 2013, box #328 at Cerritos Mailbox
and More, 11432 South St., Cerritos, California, was rented in
the name cf “Hamlet Petrosyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AF0343649 and Costco
membership card number 11828097528, both in the name of “Hamlet
Petrosyan.” Both of those identification documents appear to
have the photograph of SCHEMER#7.

138. On October 4, 2013, box #81 at Torrance Postal N
Shipping, 2100 Redondo Beach Blivd., Ste. C, Torrance,
California, was rented in the name of “Artur Virabyan.” When
opening that mailbox, the individual posing in that identity
provided as identification Republic of Armenia passport number
AGO393912 in the name of “artur Virabyan” that had SCHEMER#7’s

photograph on it.

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139. I examined the photograph identifications that were
used to rent the six mailboxes described above, and I have
compared them to the California driver’s license issued to
SCHEMER#7. Based on those comparisons, I believe the
photographs are all of the same person, SCHEMER#7.

140. The Republic of Armenia informed the U.S. Embassy in
Armenia that passports AGO393912, AKO285765, AKO386504,
AFO343649, and AFO0467653 were issued in the names of Artur
Virabyan, Arman Asasyan, Artur Poghosyan, Hamlet Petrosyan, and
Manvel Sargsyan, respectively. Therefore, I believe that the
passports AGO393912, AKO285765, AKO386504, AFO343649, and
AFO467653 were altered to display SCHEMER#7’s image and then
used to rent mailboxes as part of this scheme.

141. I have reviewed bank records for “Manvel Sargsyan,”
and I believe that SCHEMER#7, posing in the identity of Manvel
Sargsyan, opened three bank accounts that were used as Tier-2
bank accounts in this scheme, as described here:

a. On September 9, 2013, U.S. Bank accounts
157502048133 and 253462993192 were opened in the name of “Manvel
Sargsyan.” The address on the signature card is 11100-8
Sepulveda Bivd #347, Mission Hilis, California, and the
identification provided was Armenian passport AXXXXXXXX.

i. On or about August 26, 2014, I spoke with
the 0.S. Bank personal banker who opened accounts 157502048133

and 253462993192. The banker recognized the person on Costco

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membership card 111825203611 in the name of “Manvel Sargsyan” as
the person who had opened the account.

ii. U.S. Bank accounts 157502048133 and
293462993192 operated as Tier-2 bank accounts in this scheme in
2013 and 2014, receiving deposits of checks drawn from Tier-1
and other Tier-2 bank accounts. Funds from account 253462993192
were mostly transferred to 157502048133. Checks were drawn on
account 157502048133 made payable to Tier-3 bank accounts,
in¢luding LA Hoops and Unika Jewelry.

b. On June 26, 2013, Wells Fargo bank account
1058185032 was opened in the name of “Manvel Sarasyan.” The
address on the signature card is 11100 Sepulveda Blvd., Unit
347, Mission Hills, California, and the primary identification
is listed as Armenian passport AFO467653 (the same passport
number used to open one of the mailboxes listed above) and
secondary identification as Costco membership card 111825203611
{the same Costco membership number used to open one of the
mailboxes listed above). |

i. Welis Fargo bank account 1058185032 operated»
as a Tier-2 bank account in this scheme in 2013 and 2014,
receiving deposits of checks drawn from Tier-1 and other Tier-2
bank accounts. Checks were drawn on account 1058185032 made
payable to Tier-2Z and Tier-3 bank accounts, including LA Hoops,
Unika Jewelry, and Zig Zag Jewelry.

ik. On December 30, 2014, SA Ou and I spoke with

the Wells Fargo Bank personal banker who had closed the accounts

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in the name of “Manvel Sargsyan.” A photograph of SCHEMER#7 was
provided to the personal banker, and the personal banker told us
that he recognized SCHEMER#7 as the individual he knew as
“Manvel Sargsyan.” The banker said that SCHEMER#7 had entered
the bank alone and presented an Armenian passport in the name of
“Manvel Sargsyan.” Approximately $29,000 in cash from the
“Manvel Sargsyan” bank account was ‘released to SCHEMER#7.

142, In addition to the bank accounts described above, I
have reviewed additional bank records that show there were at
least three cther bank accounts opened in the name in the name
of “Manvel Sargsyan.”

143. I have aiso reviewed additional bank records that show
there were at least:

a. four bank accounts opened in the name of “Arman
Asasyan;”

b. five bank accounts opened in the name of “Hamlet
Muradyan;”

Cc. Six bank accounts opened in the name of “Hamlet
Petrosyan;”

d. nine bank accounts opened in the name of “Artur
Virabyan;” and

é, four bank accounts opened in the name of “Artur
Poghosyan.”

144. T have reviewed photographs provided by U.S. Bank that
show a female and a male transacting on U.S. Bank account

157502048133. The female is shown transacting on the account on

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February il, 2014, February 13, 2014, February 14, 2014,
February 27, 2014, and February 28 2014. I have examined these
' photographs, and based on the investigation, I believe that the
female transacting on the accounts is SCHEMER#5. The male is
shown transacting on the account on February 13, 2014, February
el, 2014, February 24, 2014, February 25, 2014, and February 26
2014. I have examined these photographs, and based on the
investigation, I believe that the male transacting on those
accounts is SCHEMER#17.

8. SCHEMER#8: Eduard Astvatsatryan

145. Based on the facts immediately following, I believe
that Eduard Astvatsatryan (SCHEMER#8), posing and using
fraudulent identification in different identities that were not
his true identity, rented at least 14 mailboxes and opened at
least 17 bank accounts that were used in this scheme. Below are
the details of the mailboxes rented by SCHEMER#8 and the bank
accounts opened by SCHEMER#8, and the identifications in
different identities that she used te do so.

146. On May 15, 2014, box #333 at PakMail, 527 N. Azusa
Ave., Covina, California, was rented in the name of “Hrant
Abovyan.” When opening that mailbox, the individual posing in
that identity provided as identification Republic of Armenia
passport number AMO874122 and Costco membership card number
111834611391, both in the name of “Hrant Abovyan.” Both of
those identification documents appear to have the photograph of

SCHEMBER#6.

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147. On May 15, 2014, box #262 at Mail Boxes Exp., 425 E.
Arrow Highway, Glendora, California, was rented in the name of
“Aram Vardanyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number ANO328543 in the name of “Aram
Vardanyan” that had SCHEMER#8’s photograph on it.

148. On June 6, 2014, box #103 at the UPS Store #5406, 1004
West Covina Parkway, West Covina, California, was rented in the
name of “Henrik Karapetyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AM0569129 and Costco
membership card number 111835153802, both in the name of “Henrik
Karapetyan.” Both of those identification documents appear to
have the photograph of SCHEMER#S.—

149. On June 6, 2014, box #19 at Mail On The Go, 960 E.
Alosta, Azusa, California, was rented in the name of “Khachatur
Khachatryan.” When opening that mailbox, the individual posing
in that identity provided as identification Republic of Armenia
passport number ANO415560 in the name of “Khachatur Khachatryan”
that had SCHEMER#8’s photograph on it.

150. On August 1, 2014, box #824 at the At Mail Store Inc.,
17360 Colima Rd., Rowland Heights, California, was rented in the
name of “Albert Askanazyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AHO0230961 and Costco

membership card number 111836369344, both in the name of “Albert

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Askanazyan.” Both of those identification documents appear to
have the photograph of SCHEMER#S,

151i. On August 4, 2014, box #354 at Mailboxes N More, 25379
Wayne Milis Rd., Valencia, California, was rented in the name of
“Hovhannes Karapetyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AMO729400 in the name of
“Hovhannes Karapetyan” that had SCHEMER#8’s photograph on it.

152. On September 30, 2014, box #159 at All in One Mail
Center, 10929 Firestone Blvd., Norwalk, California, was rented
in the name of “Martin Sidelka.” When opening that mailbox, the
individual posing in that identity provided as identification -
Czech Republic passport number 12492971 in the name of “Martin
Sidelka” that had SCHEMER#8’s photograph on it.

153. On October 1, 2014, box #152 at Encino Mail Boxes,
4924 Balboa Bivd., Encino, California, was rented in the name of
“Arman Saghatelyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number ANO401444 in the name of “Arman
Saghatelyan” that had SCHEMER#8’s photograph on it.

154. On February 5, 2015, box #334 at S ‘N’ S Postal
Center, 5917 Oak Ave., Temple City, California, was rented in
the name of “Gegham Mkhitaryan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AKO676992 in the name of

“Gegham Mkhitaryan” that had SCHEMER#8’s photograph on it.

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155. On February 17, 2015, box #181 at Rapid Pak & Ship,
8860 Corbin Ave., Northridge, California, was rented in the name
of “Armen Poghosyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number ANO595699 in the name of “Armen
Poghosyan” that had SCHEMER#8’s photograph on it.

156. On February 18, 2015, box #335 at PostalAnnex #170,
5737 Kanan Rd., Agoura Hills, California, was rented in the name
of “Sargis Manukyan.” When opening that mailbox, the individual
posing in that identity provided as identification Republic of
Armenia passport number AKO487773 in the name of “Sargis
Manukyan” that had SCHEMER#8’s photograph on it..

157. On February 19, 2015, box #941 at Hollywood Mail and
Message Service, 1626 N. Wilcox Ave., Los Angeles, California,
was rented in the name of “Arshak Khachatryan.” When opening
that mailbox, the individual posing in that identity provided as
identification Republic of Armenia passport number AFO551561 in
the name of “Arshak Khachatryan” that had SCHEMER#8’s photograph
on it.

158. On January 27, 2016, box #308 at Boxes and More, 8491
Sunset Blvd., West Hollywood, California, was rented in the name
of “Edik Nasirov.” When opening that mailbox, the individual
posing in that identity provided as identification a country of
Georgia passport number 05AB12642 in the name of “Edik Nasirov”

that had SCHEMER#8’s photograph on it.

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159. On January 30, 2016, box #557 at Mailbox Services
Plus, 14431 Ventura Blvd., Sherman Oaks, California, was rented
in the name of “Mamikon Zeynalyan.” When opening that mailbox,
the individual posing in that identity provided as
identification Republic of Armenia passport number ANO380788 in
the name of “Mamikon Zeynalyan” that had SCHEMER#8'’s photograph
on it.

160. I examined the photograph identifications that were
used to rent the mailboxes described above, and I have compared
them to an international driver’s license (number
MWL1979514965), a Kazakhstan passport (N07350477), and a United
states Visa (number 20131223440009), which were all issued to
SCHEMER#8 in his true identity. Based on those comparisons, I
believe the photographs are all of the same person, SCHEMER#8.

161. Additionally, I observed SCHEMER#8 enter Boxes and
More, the CMRA located at 8491 Sunset Blvd., West Hollywood,
California, on the day that box #308 was rented in the name of
“BEdik Nasirov.” I spoke with the manager who identified
SCHEMER#8 from SCHEMER#8’s international driver's license
(number MWL1979514965) as the individual who had just opened box
#308 there.

162. The Republic of Armenia informed the U.S. Embassy in
Armenia that passports AMO874122, AMO0509129, ANO415560 and
ANO595699 were issued in the names of Hrant Abovyan, Henrik
Karapetyan, Khachatur Khachatryan, and Armen Poghosyan,

respectively. Therefore I believe that Republic of Armenia

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passports AMO874122, AM0509129, ANO0415550, and ANO595699 were
altered to display SCHEMER#8'’s image, and then used to rent
mailboxes as part of this scheme.

163. I have reviewed bank records for “Hrant Abovyan,” and
i believe that SCHEMER#8, posing in the identity of Hrant
Abovyan, opened a bank account that operated as a Tier-2 bank
account in this scheme as described here:

a. On June 10, 2014, Citibank checking account
42013022753 and savings account 42013022761 were opened. The
name and address on the bank statements are “Hrant Abovyan,” 527
N. Azusa, #333, Covina, California.

b. Citibank accounts 42013022753 and 42013022761
operated as Tier-2 bank accounts in this scheme during 2015.
Deposits consist mostly of checks drawn from Tier-1 and Tier-2
bank accounts. Withdrawals consisted mostly of checks payable
from account 42013022753 to Tier-3 bank account holders,
including Unika Inc. and HD Jewelry. Funds were withdrawn from
account 42013022761 by transfers to account 42013022753.

164. In addition to the bank accounts above, I have
reviewed additional bank records that show there were at least
three other accounts opened in the name of “Hrant Abovyan.”

165, I have also reviewed additional bank records that show
there were also at least: |

a. two bank accounts opened in the name of “Aram

Vardanyan;”

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b, three bank accounts opened in the name of “Henrik
Karapetyan;” |

Cc. three bank accounts opened in the name of
“Khachatur Khachatryan;”

d. four bank accounts opened in the name of “Albert

Askanazyan;”

e. two bank accounts opened in the name of “Martin
Sidelka;”

i. one bank account opened in the name of “Arman
Saghatelyan;”

g. two bank accounts opened in the name of “Gegham
Mkhitaryan;”

h. two bank accounts opened in the name of “Armen

Poghosyan;”

i. three bank accounts opened in the name of “Sargis

Manukyan;” and

4. two bank accounts opened in the name of “Arshak
Khachatryan.”
9. SCHEMER#9: John Doe

 

166. Based on the facts immediately following, I believe
that “John Doe” (SCHEMER#9), a male whose true name we have not
yet been able to identify, posing and using fraudulent
identification in different identities, rented at least two
mailboxes and opened four bank accounts in 2016. Below are the
details of the mailboxes rented by SCHEMER#92 and the bank

accounts opened by SCHEMER#9, and the identifications in

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different identities. that he used to do so.

167. On January 8, 2016, box #179 at Mailbox Plus, 5404
Whitsett Ave., Valley Village, California, was rented in the
name of “Nugzar Arutinov.” When opening that mailbox, the
individual posing in that identity provided as identification a
country of Georgia passport number O7AF57135 in the name of
“Nugzar Arutinov” that had SCHEMER#9’s photograph on it.

168. On January 11, 2016, box #535 at Mailbox Services
Plus, 14431 Ventura Bivd., Sherman Oaks, California, was rented
in the name of “Emzar Tsenteradze.” When opening that mailbox,
the individual posing in that identity provided as
identification a country of Georgia passport number 05AA534964
in the name of “Emzar Tsenteradze” that had SCHEMER#9’s
photograph on it,

169. I have examined the photo identifications in the names
of Nugzar Arutinov and Emzar Tsenteradze, and I believe that
they are the same person, SCHEMER#S.

170. I have reviewed bank records for “Nugzar Arutinov,”
and I believe that SCHEMER#9, posing in the identity of Nugzar
Arutinov, opened four bank accounts used in this scheme, as
described here: .

a. On January 27, 2016, in Hollywood, California,
four Bank of America accounts were opened. Two of these
accounts, 325060260646 and 325070141373, were business accounts
opened in the name of “Nugzar Arutinov DBA Lotex.” The

identification listed on the signature cards is Georgian

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passport number O7AF57135 (the same passport number used by
SCHEMER#9 to open the mailbox in the name of “Nugzar Arutinov”).
The bank statements for these two accounts are addressed to 5404
Whitsett Ave., Valley Village, California. Two of these
accounts, 325070142123 and 325070142152, were personal accounts
opened in the name of “Nugzar Arutinov.” The identification
listed on the signature cards is foreign passport O7AF57135 (the
Same passport used to open the first mailbox discussed above).
The bank statements for account 325070142123 are addressed to
5404 Whitsett Ave. 179, Valley Village, California.

117i. March 29, 2016:

a. On March 29, 2016, a Bank of America investigator
notified me that “Nugzar Arutinov” had called the Hollywood
Branch located at 7800 W. Sunset Blvd., Los Angeles, California,
informing them that he would be at the bank in 30 minutes to
order checks and turn in his Form W-8.

oi IRS SA Leonard and I went to the bank branch
listed above to attempt to identify the identity of the
individual posing as “Nugzar Arutinov.” SA Leonard observed
SCHEMER#9 speaking with a bank employee there. (Subsequently, I
confirmed with a bank employee that SCHEMER#9 had posed in the
identity of “Nugzar Arutinov,” and ordered checks for the bank
account in that name.)

c. SA Leonard followed SCHEMER#9 out of the bank,
and SA Leonard and I observed SCHEMER#¥9 entering a vehicle and

drive to the vicinity of the Avalon Apartments complex.

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d. T later saw SCHEMER#9 walk towards building 10987
at the Avalon Apartments complex. Later that day while
observing the pole camera directed at the balcony of SUBJECT
PREMISES #1, I observed SCHEMER#9 with SCHEMER#8 on the balcony
of SUBJECT PREMISES #1. I also observed SCHEMER#9 close the
blinds to SUBJECT PREMISES. #1.

e. By subsequently reviewing video surveillance, I
later confirmed that SCHEMER#9 exited SUBJECT PREMISES #1 at
approximately 3:07 p.m., with his jacket and documents in hand.
He was also accompanied by UFI.

£. I researched the license plate of the vehicle
driven by SCHEMER#9 on March 29, 2016, and found that the
vehicle was registered to Rafik Martirosyan. I examined the
California Driver’s License photo of Rafik Martirosyan and found
that that person does not resemble SCHEMER#S.

10. SCHEMER#10: Konstantin Galstyan

172. Based on the facts immediately following, I believe
that Konstantin Galstyan (SCHEMBR#10), posing and using
fraudulent identification in different identities that were not
his true identity, rented at least two mailboxes and opened at
ieast 4 bank accounts that were used in this scheme. Below are
the details of the mailboxes rented by SCHEMER#10 and the bank
accounts opened by SCHEMER#10, and the identifications in
different identities that he used to do so.

173. On October 24, 2013, box #105 at C & E Mailboxes, 5082

W.. Pico Blvd., Los Angeles, California, was rented in the name

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of “Robert Hovhannisyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AHO550821 and Costco
membership card number 111829114576, both in the name of “Robert
Hovhannisyan.” Both of those identification documents appear to
have the photograph of SCHEMER#10.

i174. On June 17, 2014, box #203 at Mail Monster, 941 8.
Vermont Ave., Ste. 101, Los Angeles, California, was rented in
the name of “Levon Karapetyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Repubiic of Armenia passport number AMO580770 in the name of
“Levon Karapetyan” that had SCHEMER#10’s photograph on it.

175. I have examined the Armenian passports in the name of
Robert Hovhannisyan and Levon Karapetyan and the Costco
membership card in the name of Robert Hovhannisyan, and I have
compared them to the California driver's license issued to
SCHEMER#10. Based on that comparison, I believe that all of the
photo identifications are the same person, SCHEMER#10.

i76,. The Republic of Armenia informed the U.S. Embassy in
Armenia that Republic of Armenia passport numbers AHO550821 and
AMO580770 were issued in the names of Robert Hovhannisyan and
Levon Karapetyan, respectively. Therefore, I believe that
Republic of Armenia passport numbers AHO550821 and AM0580770
were altered to display SCHEMER#10’s image, and then used to

rent Mailboxes as part of this scheme.

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177. A review of Citibank account 203591979 in the name of
Zig 4aq Jewelry and Union Bank account 901102525 in the name of
Garo Minassian shows that each bank account was used as a Tier-3
bank account in this scheme, and that each bank account had a
deposit in 2014 consisting from “Levon Kerapetyan” (sic). Those
checks were drawn on Bank of America account 325027344644 and
had the address of 941 S. Vermont Ave., Ste. 101, Los Angeles,
California. Aithough at this time I do not have the records for
Bank of America account 325027344644, I believe that SCHEMER#10,
posing in the identity of “Levon Kerapetyan,” opened Bank of
America account 325027344644,

178. I have reviewed JPMorgan Chase Bank records for bank
account 566129859. That bank account was opened on February 18,
2014, in Los Angeles, California, in the name of Robert
Hovhannisyan DBA H & R Jewelers, with address 5082 W. Pico
Blvd., Apt. 105, Los Angeles, California. That bank account had
two deposits in February 2014 from three checks drawn on Tier-1
bank accounts. I believe that SCHEMER#10, posing in the
identity of “Robert Hovhannisyan,” opened JPMorgan Chase Bank
account 566129859,

a. in addition to the bank accounts described above,
I have reviewed additional bank records that show there were at
least three other bank accounts opened in the name in the name
of “Robert Hovhannisyan.”

179. According to JPMorgan Chase Bank records, account

231526506 was opened on July 8, 2013, in Los Angeles, California

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in the name of “Abraham Hovhannisyan.” The address on the
signature card and statements is 404 W. 7° st., Ste. 1226, Los
Angeles, California. Account 231526506 operated as a Tier-2
bank account in this scheme in 2013, with check deposits and
outgoing payments to Newport Precious Metals. The bank records
also include a photographic identification for “Abraham
Hovhannisyan” in the form of an Armenian passport. JI have
compared that passport photograph to the California driver's
license photograph of SCHEMER#10, and based on that comparison,
I believe they are the same person, and that SCHEMER#10, posing
in the identity of “Abraham Hovhannisyan,” opened JPMorgan Chase
Bank account 231526506 in the name-of “Abraham Hovhannisyan.”
180. According to JPMorgan Chase Bank records, account
171699320 was opened on January 28, 2013, in Los Angeles,
California, in the name of Abraham Hovhannisyan DBA Abraisyan
Jewelry. The address on the signature card and statements is
404 W. 7 St., Ste. 1226, Los Angeles, California. Account
1716299320 operated as a Tier-2 bank account in this scheme
during 2013, with check deposits and outgoing payments to
Newport Precious Metals. The bank records also include a
photographic identification for “Abraham Hovhannisyan” in the
form of Armenian passport number AHO511336. TI have compared the
photograph on that passport to the California driver’s license
photograph of SCHEMER#10, and based on that comparison, and I

believe they are the same person.

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181. The Republic of Armenia informed the U.S. Embassy in
Armenia that passport number AHO511336 was issued in the name of
Abranam Hovhannisyan. Therefore, I believe that Republic of
Armenia passport number AHO511336 was altered to display
SCHEMER#10’s image, and then used to open JPMorgan Chase Bank
account 171699320 as part of this scheme.

182. 1 have examined a photograph of a male individual
provided by JPMorgan Chase Bank who was photographed while
depositing a $1,920 check from “Aghavni Baghdasaryan” payable to
Harhak Dimonds (sic) on February 25, 2014. The check was drawn
on Citibank bank account 42011250430, a known Tier-2 bank
account, and was deposited to JPMorgan Chase Bank account
959286559 in the name of Hakob Harutyunyan DBA Harhak Diamonds,
which is another known Tier-2 bank account. I believe that the
male individual in the photograph is SCHEMER#10, and thus, as
part of this scheme, SCHEMER#10 is shown depositing a check
drawn on a known Tier-2 bank account inte another Tier-2 bank

account.

 

11. SCHEMER#11: Mkhitar Mkrtchyan

183. Based on the facts immediately following, I believe
that Mkhitar Mkrtchyan (SCHEMER#11), posing and using fraudulent
identification in different identities that were not his true
identity, rented at least two mailboxes and opened at least two
bank accounts that were used in this scheme. Below are the
details of the mailboxes rented, and bank accounts opened, by

SCHEMER#11, and the identifications in different identities that

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he used to do so.

184. On October 24, 2013, box #375 at Wilshire Mail Box,
5042 Wilshire Blvd., Los Angeles, California, was rented in the
name of “Hakob Harutyunyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AGOQ655017 and Costco
membership card number 111829114346, both in the name of “Hakob
Harutyunyan.” The passport appears to have the photegraph of
SCHEMER#11, but the copy of the photograph on the Costco card is
too poor to make a determination.

185. On October 24, 2013, box #107 at 4U Mailboxes, 505 S.
Vermont Ave., Ste. B, Los Angeles, California, was rented in the
name of “Gevorg Martirosyan.” When opening that mailbox, the
individual posing in that identity provided as identification
Republic of Armenia passport number AKO575016 in the name of
“Gevorg Martirosyan” that had SCHEMER#11's photograph on it.

186. I have examined the Armenian passport photographs in
the names of “Hakob Harutyunyan” and “Gevorg Martirosyan” that
were used as identification when the two private mailboxes were
rented. I believe that the individual in the Armenian passport
photographs is the same person, wearing the same shirt; in fact,
I further believe that it might actually be the same photograph
on the two passports. I have also examined and compared the
Costco membership card and the California driver’s license
photograph of SCHEMER#11 and compared them to the Republic of

Armenia passport photographs in the names of Hakob Harutyunyan

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and Gevorg Martirosyan, and based on that comparison, I believe
that they are all photographs of SCHEMER#11.

187. The Republic of Armenia informed the U.S. Embassy in
Armenia that passport AGO655017 and AKO575016 were issued in the
names of Hakob Harutyunyan and Gevorg Martirosyan respectively.
Therefore I believe that Republic of Armenia passport numbers
AGOQ655017 and AKO575016 were altered to display SCHEMER#i1’s
image, and then used to rent mailboxes as part of this scheme.

188. I have reviewed bank records for “Hakob Harutyunyan,”
and I believe that SCHEMER#11, posing in the identity of Hakob
Harutyunyan, opened two bank accounts that operated as Tier-2
bank accounts in this scheme, as described here:

a. According to Citibank records, checking account
42011323310 was opened on February 3, 2014, in the name of
“Hakob Harutyunyan.” The address listed on the signature card
for that bank account is 610 S. Broadway, Apt. # 205, Los
Angeles, California, and the address on the statements is 5042
Wilshire Blvd., Apt. 375, Los Angeles, California. Checking
account 42011323310 operated as a Tier-2 bank account in this
scheme during 2014 and 2015, with deposits of checks drawn from
Tier-1 and Tier~2 bank accounts, and checks made payable to
Tier-3 bank accounts, including LA Hoops, Unika, M & M Jewelry,
and HD Jewelry in 2014 and 2015.

b. According to JPMorgan Chase records, bank account
559286559 was opened on February 3, 2014, in the name of Hakob

Harutyunyan DBA Harhak Diamonds. The address listed on the

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signature card is 5042 Wilshire Blvd., Ste. 375, Los Angeles,
California. Except for an opening $100 deposit, the deposits to
the account consisted of checks drawn from Tier-2 bank accounts
in the names of “Lilit Avetyan” and “Aghavni Baghdasaryan.’ One
of these checks was described in the section for the previous
schemer as being deposited by SCHEMER#10 on February 25, 2014.

189. I have examined a photograph provided by JPMorgan

Chase Bank of a male who was photographed while depositing a

$3,610 check from “Lilt Avetyan” payable to Harhak Diamonds on
February 26, 2014. The check was drawn on Wells Fargo Bank
account 2609118043, an identified Tier-2? bank account in this
scheme, and was deposited to JPMorgan Chase Bank account
959286559 in the name of Hakob Harutyunyan DBA Harhak Diamonds.
The male appears to be wearing the same shirt as in the
individual in the Armenian passport photographs of “Hakob
Harutyunyan” and “Gevorg Martirosyan.” I believe that the male
shown depositing that check drawn on a known Tier-2 bank account
to another Tier-2 bank account was SCHEMER#11.

190. In addition to the bank accounts described above, I
have reviewed other bank records that show there were at least
five more bank accounts opened in the name of “Hakob
Harutyunyan.”

191. I have reviewed bank records for “Gevorg Martirosyan,”
and I believe that SCHEMER#11, posing in the identity of Gevorg
Martirosyan, opened two bank accounts that operated as Tier-2

bank accounts in this scheme, as described here:

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a. According to Bank of America records, checking
account 325024700867 and savings account 325024706706 were
opened on November 5, 2013, in Los Angeles, California, in the
name of “Gevorg Martirosyan.” The opening documents list a
permanent address of “35 Saryan St. # 4, Yerevan, Armenia,” and
a current address of 610 S. Broadway, Ste. 205, Los Angeles,
California. The opening documents also list a foreign passport
‘number AKO575016 {the same number of the Republic of Armenia
passport discussed above that was used to open the mailbox in
the name of “Gevorg Martirosyan”}). The statements were
initially addressed to 404 W. 7° St., Ste. 1226, Los Angeles,
California, which is the same address that was listed on
JPMorgan Chase accounts 231526506 and 171699320 in the names of
Abraham Hovhannisyan and Abraham Hovhannisyan DBA Abraisyan
Jewelry, respectively. Beginning with the statement beginning
November 19, 2013, the statements were addressed to 505 8.
Vermont Ave., Ste. B107, Los Angeles, California.

b. Bank of America account 325024700867 operated as
Tier~2 bank account in this scheme during 2014 and 2015, while
account 325024706706 operated as Tier-2 bank account during 2015
only. Both accounts had deposits consisting of checks drawn
from Tier-1 and Tier-2 bank accounts. The vast majority of the
funds deposited into account 325024706706 were then transferred
to account 325024700867. Checks drawn on account 325024700867
were made payable to Tier-3 bank accounts, including to Chic

Accessories, Unika, Zig Zag Jewelry, and HD Jewelry, during

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2014. In 2015, there was a wire transfer from account
325024700867 to Newport Precious Metals. Both accounts were
closed on March 12, 2015.

192. As mentioned above, SCHEMER#11 is also the owner and
president of Zig Zag Jewelry, which had numerous bank accounts
that were discussed above.

12. Other conspirators/schemers

a. SCHEMER#12: Marat Nazaryan

i193. Based on surveillance operations, bank surveillance
video and photos, and bank employee interviews, as discussed
below, I believe that Marat Nazaryan (SCHEMER#12}) is a member of
this scheme, and his role is as a runner.

194. Other agents and I have followed SCHEMER#12 from
SUBJECT PREMISES #1 to several banks where he was observed
depositing checks into known and suspected Tier-2 and Tier-~3
bank accounts.

195. As discussed above in the section on Tier-3 bank
accounts, SCHEMER#11 has opened several bank accounts in the
name of his company, Zig Zag Jewelry, and has used his bank
accounts to launder the tax fraud proceeds in the scheme. I
have reviewed bank records for Wells Fargo Bank account number
3052160060, which was opened in by SCHEMER#11. The account was
opened in the name of SCHEMER#11 DBA Zig Zag Jewelry. According
to the signature card, SCHEMER#11 opened the account on June 23,
2G1l4. I also requested bank surveillance photos for all account

deposits. I have reviewed the account deposits and matched them

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with the bank and ATM photoes. Bank surveillance photos show
that on September 8, 2015, SCHEMER#12 deposited a check from a
Tier-2 bank account drawn from a Union Bank bank account held in
the name of “Sergey Kosakyan.” Bank records also reveal that
SCHEMER#12 submitted a deposit slip which specifically detailed
the name on the account, “Zig Zag Jw” (sic) and Zig Zag's
account bank account number.

196. As also discussed above, under the section on
SCHEMER#6, I have reviewed bank account records related to
Citibank account number 42013322211 in the name of “Anahit
Israyelyan,” which was opened by SCHEMER#6. I was also provided
with bank surveillance photographs of check deposits to that
bank account. I matched the deposit slips aleng with the checks
to the bank surveillance photographs to determine who was
actually making the deposits. From that review, I discovered
that on March 6, 2015, SCHEMER#12 deposited a check drawn from a
Tier-1 bank account from Bank of America account number
325030841833, opened in the name of “Khachatur Nersisyan,” into
the bank account in the name of “Anahit Israyelyan.” IA Gilmore
confirmed that Bank of America account number 325030841833 was
used to deposit tax refunds from at least six false tax returns
during 2015.

197. The investigation shows that SCHEMER#12 has been an
active member of this money laundering scheme since at least
2015. SA Ou, other agents, and I have observed SCHEMER#12 enter

and exit SUBJECT PREMISES #1 carrying checks and other unknown

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documents. During several surveillance operations conducted in
2015 and 2016, T have seen SCHEMER#12 interact with and engage
in conversations with other fraudsters at or around the Avalon
Apartments complex, including with SCHEMER#1, SCHEMER#8,
SCHEMER#9, SCHEMER#13, SCHEMER#14, SCHEMER#15, AND SCHEMER#16.
Based on my own observations of SCHEMER#12, IT believe he is a
trusted runner in this scheme who is given regular access to
SUBJECT PREMISES #1 and who is tasked with depositing checks
into Tier-2 and Tier-3 bank accounts in this scheme.

198. I also believe SCHEMER#12 attempts to avoid being
detected by law enforcement when driving to SUBJECT PREMISES #1
or to banks. For example, other agents and I have observed
SCHEMER#12 drive vehicles that are not registered to him. He
has also been cbserved via bank surveillance photos, talking on
his cell phone or acting as if he were talking to someone on his
phone while making deposits into Tier-2 bank accounts in this
scheme. I believe SCHEMER#12 engages in such behavior to make
nim appear less suspicious to the bank employees and to
investigators.

b. SCHEMER#13: Arman Abrahamyan

199. As discussed in the section on the IRS-CI and FBI
Seattle Investigation, Arman Abrahamyan (SCHEMER#13) and cther
targets described in this affidavit were identified as also
being involved in that separate investigation. Based on this
investigation, I believe the individuals and locations

identified in the Seattle Investigation, including SCHEMER#1,

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SCHEMER#13, SCHEMER#11, Zig Zag Jewelry, and SUBJECT PREMISES
#2, continued to facilitate the fraud in this scheme.

200. I discovered SCHEMER#13’s involvement in this scheme
on August 11, 2015, when he was talking to SCHEMER#12 at the
Avalon Apartments complex. During several surveillance
operations, I have also seen SCHEMER#13 engage in conversations
on the balcony of SUBJECT PREMISES #1 with suspected ring leader
SCHEMER#1, runners such as SCHEMER#15, and Tier-2 bank account
holders SCHEMER#8 and SCHEMER#9.

201. Based on this investigation, I believe SCHEMER#13 acts
as a handler to some of the Tier-2 bank account holders and as
someone who manages SUBJECT PREMISES #1 for the money laundering
crew. Other agents and I have also observed SCHEMER#13 drive
Tier-2 bank account holders to banks to engage in fraud as part
of this schemer have observed SCHEMER#13 drive with Tier-2 bank
account holders to private mailboxes to open new mailboxes or
pick up mail there.

202. Like SCHEMER#12, I believe that SCHEMER#13 conducts
counter~surveillance techniques to avoid being detected by law
enforcement. For example, on September 22, 2015, HSI agents and
I followed SCHEMER#13 from the Avalon Apartments complex.
SCHEMER#13 was driving a vehicle that was not registered to him.
During the mobile surveillance, agents observed SCHEMER#13 and
an unknown passenger, pull off te the side of road on Vineland
Ave. on top a bridge. The Los Angeles River runs under that

bridge. The passenger was observed exiting the vehicle and

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throwing several crumbled up documents into the river. Agents
then observed SCHEMER#13 making an abrupt U-turn and looking
around and through his rear view mirror. Based on my training
and experience, I believe SCHEMER#13 was conducting counter
surveillance.

c. SCHEMER#14: Harutyun Sukiasyan.

203. During surveillance operations in 2015 and 2016, I
have observed Harutyun Sukiasyan (SCHEMER#14) visit known
locations, including SUBJECT PREMISES #1, where SCHEMER#1, the
suspected ring leader of this money laundering scheme, and other
runners visit to discuss and carry out this money laundering
scheme.

204. On multiple surveillances, SA Ou and I have observed
SCHEMER#14 with SCHEMER#16, also a known runner in this scheme,
as discussed below. Both have also been seen together at Chic
Accessories, as well as at SUBJECT PREMISES #1.

205. On August 19, 2015, I observed SCHEMER#14 drive and
park on Vineland Ave. in Studio City, California. SCHEMER#14
was driving a grey Mercedes Benz with license plate number
‘7IWPO65. I ran the license plate number in the California
Department of Motor Vehicle database and found that the vehicle
was actually registered to SCHEMER#3. As previously discussed,
using other individuals’ identities, SCHEMER#3 opened at least
two Tier-2 bank accounts in this scheme. SCHEMER#14 exited
SCHEMER#3’s vehicle and walked into the Avalon Apartments

complex.

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206. I have taken multiple photographs of SCHEMER#14 while
he stood on the balcony of SUBJECT PREMISES #1 talking to
SCHEMER#1 and other known runners and Tier-2 bank account
holders of this scheme.

207. I obtained SCHEMER#14's criminal history report and
found that he has several arrests dating back to 2005. His rap
sheet includes violations of possession of bad checks, receiving
stolen property, burglary, grand theft, DUI causing bodily
injury, driving on a suspended license, forged prescriptions,
credit fraud with respects to identity theft, infliction of
corporal injury to his spouse, vandalism, and hit and run. In
2012, SCHEMER#14 was convicted for felony possession of a
firearm and using account information without consent, and was
sentenced to two years in prison.

d. SCHEMER#15: Albert Andriasov

208, Albert Andriasov (SCHEMER#15) is another runner in
this scheme. Bank surveillance photos taken in 2015 and recent
surveillance of SCHEMER#15 confirm that he has transacted on
known Tier-2 bank accounts and has driven multiple Tier-2 bank
account holders, including SCHEMER#6 and SCHEMER#8, to banks in
an attempt to obtain funds from Tier-? bank accounts used in
this scheme.

209, SCHEMER#15’s criminal history report shows that his
driver license has been suspended since April 3, 2013.

210. Since March 2015, I have seen SCHEMER#15 drive at

least two vehicles on a regular basis. The VIN and license

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plate were researched and found to have been registered to two
different individuals. SA Gu and I have seen SCHEMBER#15 drive
these vehicles to and from Chic Accessories and SUBJECT PREMISES
#1 during several surveillance operations.

all. Most recently, on January 22, 2016, SCHEMER#15 was
escorting SCHEMER#6 to a Citibank branch in Los Angeles,
California. Multiple Citibank employees observed SCHEMER#15
driving in a black Range Rover with dealer plates. I observed
SCHEMER#15 later that day arriving at the Avalon Apartments
complex in the same vehicle. This vehicle is registered to
Ashot Hakhverdyan.

212. In March 2016, I was notified by Citibank of an
account takeover involving one of their customers. Beginning on
December 28, 2015, through January 28, 2016, 13 counterfeit
checks were drawn from a Citibank bank account and deposited
into two Tier-2 bank accounts held at Bank of America that were
also used in this scheme. The loss to the bank from that
account takeover was approximately $64,000.

213. On March 29, 2016, Bank of America provided me with
bank surveillance photos of a person depositing the counterfeit
Citibank checks into known Tier-2 bank accounts, on December 31,
2015, and on January 27, 2016. I reviewed the photos and
recognized the person in the bank surveillance photos to be
SCHEMER#15.

eid. I believe SCHEMER#15 and the other fraudsters who

frequent SUBJECT PREMISES #1 are also involved in account

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takeover schemes and use SUBJECT PREMISES #1 to safe keep checks
related to those other schemes they are also orchestrating. For
example, on January 27, 2016, I observed SCHEMER#1, SCHEMER#8,
SCHEMER#9, and SCHEMER#15 on the balcony of SUBJECT PREMISES #1.
I followed SCHEMER#8 and SCHEMER#9 from SUBJECT PREMISES #1 to
Bank of America and several private mailboxes, where I confirmed
that SCHEMER#9 had opened a bank account and SCHEMER#8 had
opened a private maiibox, both using passports from.the country
of Georgia. In addition, as discussed in the previous
paragraph, on January 27, 2016, at approximately 1:55 p.m., Bank
of America bank surveillance captured SCHEMER#15 depositing a
counterfeit Citibank check. That check was deposited into a
Tier~2 bank account opened in the name of “Robert Havel.”
According to my surveillance report for January 27, 2016, I
observed SCHEMER#15 and SCHEMER#9 exit SUBJECT PREMISES #1 at
approximately 1:41 p.m. and drive away from the Avalon
Apartments complex in SCHEMER#15’s black Range Rover. ‘Thus, I
believe SCHEMER#15 drove directly from SUBJECT PREMISES #1 to
the bank to deposit that counterfeit check. I further believe
he was probably provided this check at SUBJECT PREMISES #1.

215. This is the second account takeover scheme that I have
been made aware since October 2015. In each case, known Tier-2
bank accounts were used to funnel stolen money from Wells Fargo
and Citibank customers. I have reviewed Citibank ATM

photographs and Bank of America branch surveillance photographs

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ana have identified runners like SCHEMER#12 and SCHEMER#15 also
making deposits into Tier-2 bank accounts in this scheme.
@, SCHEMER#16: Tigran Galstyan

216. As discussed below, Tigran Galstyan (SCHEMER#16)
appears to be involved in the scheme in the capacity of driving
known schemers to and from SUBJECT PREMISES #1 and Chic
Accessories.

217, In or around September 2014, HST SA Ou and I met with
FBI SAs and presented several passport photographs that were
used in this scheme to open Tier-2 bank accounts using other
individuals’ identities, specifically passports in the names of
“Artur Virabyan,” “Hamlet Petrosyan,” and “Hyak Yegorian.” FBI
agents researched that information using law enforcement
databases and their own case files and confirmed that the person
from those three passport photographs was actually the same
person: SCHEMER#7.

218. FBI SA Matsumura told me that he and other agents of
the FBI were investigating a Medicare/identity theft scheme in
2012 and 2013. Their investigation identified SCHEMER#7 and
SCHEMER#16 as subjects of their investigation.

219. FBI SA Matsumura told me that in January 2013,
SCHEMER#7 and SCHEMER#16 drove to San Luis Obispo to pick up a
check that constituted proceeds of that scheme.

220, On or about February 18, 2015, HSI SA Qu and I
conducted a knock-and-talk at SCHEMER#16’s residence in Burbank,

California. During the interview, we showed a photograph of

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SCHEMER#7 to SCHEMER#16. Upon seeing that photograph,
SCHEMER#16 became noticeably uncomfortable and suddenly told us
that he was not feeling well. However, SCHEMER#16 did admit
that he had been traffic stopped while driving SCHEMER#7, but
SCHEMER#16 stated that SCHEMER#7 had simply asked him for a ride
to San Luis Obispo. SCHEMER#16 said that he did not know the
purpose of that trip.

22i. On or about April 28, 2015, other law enforcement
officers and I conducted a mobile surveillance of SCHEMER#16. I
observed SCHEMER#16 enter Chic Accessories not carrying
anything, remain inside for approximately 30 minutes, and then
exit Chic Accessories carrying a black shoulder laptop bag that
he had not had with him when he had entered Chic Accessories.

We observed SCHEMER#16 place the black shoulder laptop bag into
his vehicle and drive away. A mobile surveillance ensued.
During that surveillance, SCHEMER#16 appeared to utilize
counter-surveillance techniques.

222. In addition to the April 28, 2015, date when
SCHEMER#16 was observed carrying out a black shoulder laptop bag
from Chic Accessories, IRS-CI SA Ou and I have observed
SCHEMER#16 come and go from Chic Accessories three other times:
on April 1, 2015, April 22, 2015, and April 27, 2015.

223. Based on the above, I believe that SCHEMER#16 is also
involved with this laundering scheme and is a runner for the

laundering scheme.

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224. On July 21, 2015, the Honorable Douglas F. MeCormick
authorized a tracker warrant on SCHEMER#16’s vehicle.

225. On August 21, 2015, HSI SA Ou and I conducted a mobile
surveillance of SCHEMER#16 in his vehicle. Agents observed
SCHEMER#i6 drive south on Verdugo Blvd. in Glendale and, until
he drove into a residential street, make a U-turn and head north
on Verdugo Bivd. in what appeared to be a counter-surveillance
technique. SCHEMER#16 pulled over on Verdugo Blvd.
approximately 3-5 blocks south of Colorado Blvd. SA Ou observed
SCHEMER#16 exit his vehicle, flag someone down, and run across
the street. I then observed SCHEMER#16 talking to Karen
Karapetyan next to Karapetyan’s bronze Lexus, which was parked
on street. I observed Karapetyan showing SCHEMER#16 what
appeared to be the contents of what was inside a white envelope.
Previously, on August 11, 2015, and August 13, 2015, SA Ou and I
Saw Karapetyan at the Avalon Apartment complex interacting with
SCHEMER#12 and SCHEMER#13.

f. SCHEMER#17: Haroutioun Demirdjian

226. As discussed above, Haroutinoun Demirdjian
(SCHEMER#17) is the current account holder of multiple Tier-3
bank accounts in this scheme. However, review of bank
surveillance photographs and bank records from J.P. Morgan Chase
Bank, Citibank, U.S. Bank, and Bank of America in 27014 and 2915
confirmed that SCHEMER#17 has also functioned as a “runner” for

this laundering scheme. That is, SCHEMER#17 deposited checks

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drawn from Tier-1] bank accounts into Tier-2 bank accounts at
bank branches located throughout Southern California.

aé2?7,. Bank surveillance photographs from the Seattle
Investigation also suggest that SCHEMER#17 was involved in that
scheme since at least 2012.

228. Since February 11, 2014, I have examined bank
surveillance photographs of SCHEMER#17, while he was conducting
transactions on known Tier-2 bank accounts, on approximately 20
eccasions.

zed. On or about March 19, 2015, March 26, 2015, April 1,
2015, April 22, 2015, and April 27, 2015, HSI SA Ou and I, and
other members of law enforcement, conducted surveillance of
SCHEMER#17 and Chic Accessories.

a. On each of those dates, we observed SCHEMER#17
visit Chic Accessories, and on three of those days, SCHEMER#1L?
was followed to banks where he then proceeded to deposit checks
drawn on Tier-1] bank accounts into Tier-2 bank accounts.

b. On March 26, 2015, SCHEMER#17 was also followed
to a post office box facility. HSI SA Ou and I spoke to an
employee of that facility, who confirmed that SCHEMER#17 had
picked up mail from two boxes there: 113 and 97. I confirmed
that those two box addresses correspond to addresses that had

been used to open Tier-2 bank accounts in this scheme.

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q. During 2015, Chic Accessories, a Business in Hollywood,
California, Was The Meeting and Storage Location From Which
Various Schemers Originated Before Depositing Tier-1 Checks
into Tier-2 Bank Accounts As Part of This Scheme.

230. As discussed above, SCHEMER#17 has been observed
coming and going on multiple different dates from Chic
Accessories, after which he went to banks to deposit checks
drawn on Tier-l bank accounts into Tier-2 bank accounts, or went
to a post office box facility tied to the scheme.

231. On May 8, 2015, HSI SA Ou and I interviewed Rose
Farkas and Ivi Winterman, owners of the building where Chic
Accessories and the offices on the second floor are located.
Farkas and Winterman stated the following:

a. Farkas and Winterman lease 6519 Hollywood Blvd.,

Hollywood, California, to business Chic Accessories.

b. The business named Chic Accessories is owned by

Suzy Seraydarian.

C. Moses Seraydarian is Suzy Seraydarian’s wife.

ad. Moses Seraydarian also rents office space #214
from Parkas. He was on a month-to-month lease.

e. Moses Seraydarian told her that: he used the

office space to store shoes and other items related to Chic

Accessories.
f. A digital code and key is needed to gain access
to the second floor offices. Farkas gave Moses Seraydarian both

a key and the code combination.

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on Moses Seraydarian has access only to office #214.
He has rented this office for a few years.

h. Office #214 is approximately 400 square feet.

232, The address listed for the offices is 6513 Hollywood
Blvd., Los Angeles, California. A small door, located on
Hollywood Blvd., leads to the second floor offices. The access
point to the offices on the second floor is a door located next
door to Chic Accessories.

233. On March 26, 2015, SAs observed SCHEMER#17 leaving
Chic Accessories and driving directly to various banks to
deposit several checks linked to bank accounts that had been
used to receive fraudulent tax refunds. SCHEMER#17 was observed
returning to Chic Accessories to pick up Moses Seraydarian.

234. On April 1, 2015, IRS and HSI SAs conducted a
surveillance operation outside of Chic Accessories. A digital
camcorder was used to record the activity of the known runners
in the scheme and their activity in and around Chic Accessories.
During the surveillance operation, the following events were
observed in connection with Chic Accessories and office #214:

a. At approximately 10:00 a.m., Moses Seraydarian
arrived and opened Chic Accessories to the public.

b. Moses Seraydarian was observed walking in and out
of Chic Accessories. and having conversations with an unknown
male, subsequently identified as SCHEMER#15. SCHEMER#15 is
described as an Armenian male, approximately 25-30 years of age,

medium size, having a dark beard, and dark hair.

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c. At approximately 12:00 p.m., SCHEMER#16 was
observed entering Chic Accessories. Then, at approximately
12:20 p.m., SCHEMER#17 entered Chic Accessories. Then, at
approximately 12:23 p.m., SCHEMER#16 exited Chic Accessories,
and returned at approximately 12:48 p.m. Then, at approximately
12:53 p.m., SCHEMER#17 exited Chic Accessories, went to his
vehicle, retrieved something from his vehicle, returned to Chic
Accessories, and re-entered. At approximately 1:04 p.m.,
SCHEMER#17 exited Chic Accessories, went to his vehicle,
retrieved something from his vehicle, returned to Chic
Accessories, and re-entered,

d. Surveillance was not able to view SCHEMER#16 and
SCHEMER#17 leaving Chic Accessories, but at 2:14 p.m.,
SCHEMER#16 returned to Chic Accessories, and SCHEMER#14 removed
a crate from SCHEMER#16’s vehicle and brought the crate to the
doorstep of Chic Accessories while SCHEMER#16 parked his
vehicle. Then, SCHEMER#16 entered Chic Accessories, remained
for several minutes, and then with help from several other men,
carried the crate into the second-story office located adjacent
to Chic Accessories.

235. On April 22, 2015, at approximately 1:35 p.m., HSI SA
Ou and I observed SCHEMER#17 walk into Chic Accessories empty
handed. Approximately five minutes later, SCHEMER#16 and two

unknown Armenian males walked into Chic Accessories.

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a. Shortly after entering Chic Accessories,
SCHEMER#16 and the other men walked through the door that leads
up to office #214.

b. SCHEMER#i17 then exited Chic Accessories at
approximately 1:50 p.m. holding in his hands what appeared to be
white envelopes, and he walked directly to his vehicle and drove
off.

236. On April 27, 2015, a surveillance operation was
conducted outside of Chic Accessories and of SCHEMER#17‘s
residence.

a. SCHEMER#17 was followed from his residence to
Chic Accessories.

b. SCHEMER#17 was then subsequently exiting Chic
Accessories carrying what appeared to be envelopes. SCHEMER#17
then drove directly to JPMorgan Chase bank located at 1500 Vine,
Los Angeles, California, and the Comerica Bank located at 6255
Sunset Blivd. #100, Los Angeles, California 90028. I confirmed
with Chase and Comerica fraud investigators that SCHEMER#17 had
deposited checks drawn from Tier-1 bank accounts into Tier-~2
bank accounts, including into his own business bank account held
in the name of H.D. Jewelry Inc. at Comerica Bank.

c. At approximately 4:32 p.m., HSI SA Ou and I
observed a male adult enter and walk through the door that leads
to office #214 carrying what appeared to be a large FedEx
envelope. That individual appears to be the same person who had

been seen on April 1, 2014, talking to Moses Seraydarian outside

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of Chic Accessories. HSI SA Ou told me that he believed that
individual was SCHEMER#15.

237. U.S. Bank provided me with surveillance photographs of
deposits made into the bank account in the name of “Artur
Pogohsyan” on March 19, 2015. Based on my review of those U.S.
Bank surveillance photographs, the individual carrying the FedEx
envelope matches the description of and looks like the person
making the deposit at the U.S. Bank located at 9476 West Third
et., Los Angeles, California, at approximately 10:47 a.m.

238. After reviewing bank account records for Tier-1 and
Tier-2 bank accounts used in this scheme, I know that these bank
accounts were opened with commercial mailboxes used as the
account holder's residence. As described above, these
commercial mailboxes and bank accounts were often opened using
fraudulent Armenian passports where the photo displayed on the
passports is on other Armenian passports to open additional bank
accounts used in this scheme. The control over these mailboxes
is a critical part in operating this scheme. The perpetrators
primarily use the mailboxes for the purpose of receiving
checkbooks from the financial institutions where Tier-1 and
Tier-2 bank accounts are opened and correspondence from banks
like cashier checks. Based on my conversations with Citibank
and Bank of America fraud investigators, I know that Citibank
and Bank of America will send cashier checks for the amount of
the remaining bank account balance to the address on file, after

the account has been closed by the bank.

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239, On April 28, 2015, IRS-CI and HSI SAs conducted a
surveillance operation outside of Chic Accessories.

a. During the operation, SCHEMER#16 and SCHEMER#17
were observed walking into Chic Accessories.

b. At approximately 3:17 p.m., SCHEMER#16 exited
Chic Accessories carrying a laptop computer bag. He placed the
computer bag into his vehicle and drove away.

c. SAs foilowed SCHEMER#16 as he drove to the city
of Glendale via side streets. While following SCHEMER#16,
agents noticed that he was conducting counter surveillance
techniques. Due to this reason, the agents discontinued
surveillance of SCHEMER#16.

240. Thus, I believe that Chic Accessories was the source
of the checks from Tier-1 bank accounts that were being
deposited into Tier-2 bank accounts during 2015.

241. I spoke to the owner of the building who was renting
to Chic Accessories, who told me that the Seraydarians stopped
renting Unit #214 in approximately June 2015. As noted in the
Following section, the schemers began to rent SUBJECT PREMISES
#1 o6in June 2015.
dg. There is Probable Cause to Believe That Evidence of This

Scheme Will be Found at SUBJECT PREMISES #1, Which Is An

Apartment Used as a Hub of Operations and Meeting Place for

the Schemers.

1. Introduction and Summary

242. SUBJECT PREMISES #1 is a one bedroom apartment, Number

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4203, located on the second floor of building number 10987 in
the Avalon Apartments complex, which is located in Studio City,
California.

£43. On August 3, 2015, agents followed SCHEMER#16, who was
discussed above as a known associate of this money laundering
ring, to the Avalon Apartments complex.

244. After multiple surveillance operations, as discussed
in depth below, we discovered that the schemers were using
SUBJECT PREMISES #1 as a meeting place and hub of operations for
this scheme. Specifically, as described immediately following,
we were able to observe known schemers entering and exiting
SUBJECT PREMISES #1:

a. On August 7, 2015, I observed SCHEMER#12 and
SCHEMER#16 exit the Avalon Apartment complex together.

b. On August 11, 2015, I observed SCHEMER#12 enter
SUBJECT PREMISES #1. Prior to my observing SCHEMER#12 entering
SUBJECT PREMISES 41, HST SA Ou had followed SCHEMER#12 to a
Wells Fargo bank and observed him deposit a check into a bank
account. (SA Ou and I later discovered that that bank account
on which SCHEMER#12 had transacted was in fact a Tier-2 bank
account used in this scheme.)

ec. That same day, the Avalon Apartment manager
provided me with leasing records for SUBJECT PREMISES #1. 1
reviewed those records and found that SUBJECT PREMISES #1 was
rented in the name of “Tsalok Sozamyan” beginning on June 1,

i According to the leasing records, “Tsalok Sozamyan”
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indicated that he was currently residing at 5632 Van Nuys Blvd.,
Van Nuys, California. This location is actually a CMRA and not
a residence. In fact, at least four private mail boxes were
opened at that location by schemers unknown to the
investigation. These mailboxes were eventually used to open
Tier-2 bank accounts in this scheme.

d. On April 12, 2016, I spoke with an Avalon
Apartment leasing officer who informed me that “Tsalok sozamyan”
would not be renewing his lease, and his move out date will be
May 31, 2016. “Tsalok Sozamyan” also informed the Avalon
Apartments that he would be moving and provided address 5632 Van
Nuys Blvd., Apt. 8, Van Nuys California, as his forwarding
address. However, as mentioned in the above paragraph, that
address is a CMRA and not an apartment building or a residential
location. In fact, I have reviewed records for mail box #8, at
5632 Van Nuys Blvd., Van Nuys, California, and discovered that
the mail box is rented in the name of “Tsolak Sazhumyan.” I
have reviewed the rental application for mail box #8 and the
Republic of Armenia passport in the name of “Tsolak Sazhumyan”
that was provided to the CMRA, and I discovered that the
photograph displayed on the passport is someone whom I
recognized in other passports in different names that were used
in the scheme to open mailboxes. The person in the passport
appears to be 50-60 years old and heavyset, whereas the

individual who posed as “Tsalok Sozamyan” to rent SUBJECT

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PREMISES #1 at the Avalon Apartments complex is described to be
in his 20s.

245, Based on my review of the records used to rent SUBJECT
PREMISES #1, my interview with Avalon Apartments leasing
officers and manager, and the observations made during
surveillance operations of SUBJECT PREMISES #1, I believe the
fraudsters leased the apartment using a false identity.

a. Based on my training and experience, identity
theft schemers often rent locations using false identities for
the purpose of running their day-to-day illegal money laundering
operations, which I believe is why the schemers rented SUBJECT
PREMISES #1, and moreover, why they rented it in a false
identity.

b. Based on my experience in identity theft
investigations and conversations with other law enforcement
officers and agents regarding organized crime, I know that
criminals also lease cars and apartments using stolen identities
in order to disguise, hide, or conceal their location from law
enforcement so that they can continue operating their illegal
activity.

c. The information provided to rent SUBJECT PREMISES
#1 #is false:

L. According to the lease file for SUBJECT
PREMISES #1, an individual posing as “Tsalok Sozamyan” presented
a California driver’s license number £3146542 when renting

SUBJECT PREMISES #1. I ran that driver license number in the

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California Department of Motor Vehicles (DMV) data base and
found no matching record.

ii. On the documents received from the Avalon
Apartments compiex that I reviewed, “Tsalok Sozamyan” indicated
that he works for Warner Brothers Entertainment in Burbank,
California, as an “International Billboard Manager” who earns an
annual salary of $105,000. To verify that information, I issued
a subpoena to Warner Brothers Entertainment, and on or about
November 9, 2015, Warner Brothers Entertainment responded that
they had no records of “Tsalok Sozamyan” working for Warner
Brothers Entertainment.

d. Based on my and other agents’ observations of
that apartment, I believe that SUBJECT PREMSIES #1 is vacant
generaily after 7:00 p.m., and in fact, no one actually lives
there.

e. In addition, on or about August 11, 2015, I
interviewed Monica Tockman, who identified herself as the
leasing officer who had actually moved in “Tsalok Sozamyan” into
SUBJECT PREMISES #1. Based on my interview with Tockman, I know
that three men had originally wanted to rent an apartment for
“Tsalok Sozamyan,” who was not present at the time. The three
men refused a tour of the apartment complex and were eager to
rent any available apartment. The following day, one of the
three men returned with someone who identified himself as
“Tsalok Sozamyan.” According to Tockman, the man helped “Tsalok

Ssozamyan” complete the leasing application. Tockman told me

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that she has not seen “Tsalok Sozamyan” since she gave him the
key to SUBJECT PREMISES #1 in June 2015. Furthermore, on March
3, 2016, Tockman told me that “Tsalok sozamyan” had walked into
the leasing office and inquired where to mail his rent checks.
“Tsalok Sozamyan” told Tockman that he has been away and his
friends have been making the rent payments for him. Tockman
recognized the person who she spoke with as the same person who
she moved into SUBJECT PREMISES #1 in June 2015.

246. Once we had identified SUBJECT PREMISES #1 as a
location used in the scheme, as described below, we began
extensive surveillance of SUBJECT PREMISES #1, which included
using a pole camera, using the apartment directly underneath
SUBJECT PREMISES #1, and direct observations from multiple
locations in the Avalon Apartments complex, to identify
individuals involved in this scheme.

247. On or about September 2015, we set up a pole camera
that was facing the balcony of SUBJECT PREMISES #1, which
operated from September 4, 2015, to November 3, 2015, and from
January 12, 2016, to present.

248. Since August 3, 2615, I have conducted over Forty
surveillance operations of SUBJECT PREMISES #1 by using
Surveillance cameras, such aS a pole camera, and GPS trackers on
the vehicles driven by known runners. On several dates, I have
seen known and unknown individuals tied to the scheme enter and
exit SUBJECT PREMISES #1 carrying documents and other items such

as bags, where the schemers were then followed to banks where

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they produced and used checks and fictitious passports. In
addition, I have observed suspected ring leader SCHEMER#1 carry
a dark colored satchel or laptop carrier (SUBJECT BAG #1) in and
out of SUBJECT PREMISES #1 at least 11 times.

249. Through this years-long investigation, as discussed
below, we have also identified the following known associates to
frequent SUBJECT PREMISES #1 on a regular basis: SCHEMER#1
(Gagik Airapetian), SCHEMER#5 (Hripsime Avagyan), SCHEMER#8
(Eduard Astvatsatryan), SCHEMER#9 (John Doe), SCHEMER#12 (Marat
Nazaryan), SCHEMER#13 (Arman Abrahamyan), SCHEMER#14 (Harutyun
Sukiasyan), SCHEMER#15 (Albert Andriasov), SCHEMER#16 (Tigran
Galstyan), and Unidentified Female 1 (“UF1”), and other as-yet
unidentified individuals. The following chart depicts dates
when these schemers were observed in and or around SUBJECT

PREMISES #1:

 

a/3/1s x x

 

a/7/15 x x

 

a/11/15 x x

 

B/13/15 x x

 

8/19/15 x x

 

O/IT/1E x x

 

S/EL/15 x

 

S/24/15 x x

 

 

 

 

 

 

 

 

 

 

 

 

 

 

9/28/18 x x

 

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P2/7/15 x x x
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ifa/te x x

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B/26/18 x x x 4
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3/2/16 x ‘| x x x

2. Tier-~2 bank account holders use SUBJECT PREMISES #1 as

 

part of this scheme.

250. The following surveillance operations highlight dates
and times that runners and other known schemers have been
observed transporting documents, or traveling, to and from
SUBJECT PREMISES #1.

251. August 11, 2015:

a. On August 11, 2015, at approximately 11:45 a.m.,
HSI SA Ou observed SCHEMER#13 exit the apartment complex next to
the Avalon Apartments and meet with SCHEMER#12. SA Ou and I
recognized SCHEMER#12 because he had been identified to us by
Citibank bank personnel as an individual depositing checks tied
to the scheme; we had also seen him on video stilis provided by
Citibank that showed him at the bank depositing checks into
Tier-2 bank accounts. SA Ou followed SCHEMER#12 from SUBJECT
PREMISES #1 to the Welis Fargo Bank in Studio City, California.
SA Ou followed SCHEMER#22 into the bank and observed him deposit

a check. SA Ou told me that he overheard SCHEMER#12 tell the

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bank teller that the account or check was not his and that it
was for someone else.
i. On a later date, SA Ou was later informed by

Wells Fargo Fraud Investigator that the check was deposited by
SCHEMER#12 into an account in the name of “Gagik Yeghiazaryan.”
i subsequently subpoenaed Wells Fargo Bank for the records for
that bank account and once received, reviewed the corresponding
bank statements and deposits. By that review, I confirmed that
that bank account was being used as a Tier-2 bank account in
this scheme,

aii. I also subpoenaed Bank of America for
records related to accounts opened in the name of “Gagik
Yeghiazaryan.” Bank of America responded with records for two
additional bank accounts. I reviewed these records and learned
that in June 2014, two Bank of America bank accounts had been
opened in that name. The accounts appeared to be inactive until
three tax refunds totaling $22,627 were deposited into one of
the accounts in April 2015. IRS Investigative Analyst Gilmore
confirmed that those three tax refunds had been generated by
false tax returns.

b. At approximately 2:30 p.m., SA Ou observed
SCHEMER#12 return to the Avalon Apartments complex and park his
vehicle on Bluffside Drive. During this time I was standing in
front of the apartment next to SUBJECT PREMISES #1. I was

notified by SA Ou that SCHEMER#12 was walking inte the Avalon

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Apartments. At approximately 2:40 p.m., I observed SCHEMER#12
knock on the door and enter SUBJECT PREMISES #1.

202. August 13, 2015: On August 13, 2015, at approximately
1:47 pom, SA Ou and I observed SCHEMER#12’s vehicle parked
across the street from the Avalon Apartments complex. At
approximately 2:24 p.m., I saw SCHEMER#12 walk out of the Avalon
Apartments complex holding a red bag. He entered his vehicle
and drove away.

253. August 19, 2015: On August 19, 2015, at approximately
2:25 p.m., SA Ou and I observed SCHEMER#412 walk out of the
Avalon Apartments complex carrying a white envelope. We
followed him to two J.P. Morgan Chase Bank locations, one Bank
of America location, and one Union Bank location. Fraud
investigators from those banks provided me with photos taken
from inside the banks, which I reviewed. SCHEMER#12 was
captured by bank surveillance cameras walking into the Bank of
America and ‘Union Bank branches carrying a white envelope and
depositing third party checks into accounts where he did not
have signature authority. At approximately 3:16 p.m.,
SCHEMER#12 returned to the Avalon Apartments complex.

254, September 21, 2015: On September 21, 2015, I was

 

monitoring .the pole camera live, observing SUBJECT PREMISES #1.
The pole camera faces the balcony of SUBJECT PREMISES #1. At
approximately 9:25 p.m., I observed SCHEMER#1 talking on his
cell phone at SUBJECT PREMISES #1. Approximately five minutes

later, I observed SCHEMER#14 standing on the balcony of SUBJECT

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PREMISES #1 holding an 8x11 manila envelope, and SCHEMER#14
appeared to be showing an unknown male the contents of the
envelope. |

255. October 9, 2015: On October 9, 2015, at approximately
2:29 p.m., I saw SCHEMER#12 and an unknown male walk out of the
Avalon Apartments complex. The unknown male was holding a white
envelope. Both SCHEMER#12 and the unknown male entered the
Mercedes Benz registered to SCHEMER#3, a known Tier-2 bank
account holder, and drove away.

256. December 1, 2015:

a. On December 1, 2015, I was notified by a Citibank
fraud investigator that on November 30, 2015, Citibank account
holder “Hrant Abovyan” had walked into the Citibank Branch
located at 1900 W. Sunset Blvd., Los Angeles, California, and
demanded that his bank accounts remain open and his funds be
available for withdrawal. The individual who was posing as
“Hrant Abovyan” told the bank he planned on coming back into the
branch the following day, which was December 1, 2015. After
receiving this information, HSI SA Ou, IRS-CI SA Leonard, and I
conducted a surveillance operation outside of the bank in
anticipation that the individual posing as “Hrant Abovyan” would
return as promised.

b. At the time of the surveillance operation, we had
not yet identified the true identity of the person who had
opened the account under the name “Hrant Abovyan” and was posing

as “Hrant Abovyan.” However, we later identified the individual

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posing as “Hrant Abovyan”’s to be SCHEMER#8. As previously
discussed, SCHEMER#8 opened multiple Tier-2 bank accounts in
this scheme from 2014-2016 using different identities and
foreign passports, including the Citibank account under the name
“Hrant Abovyan.”

c. At approximately 12:05 p.m., I watched SCHEMER#8
walk into the Citibank Branch. Then, I received a text message
from Rita Yolian, Citibank Branch Manager, that “Hrant Abovyan”
had entered the bank. Yolian told me that SCHEMER#8 identified
himself as “Hrant Abovyan” and provided a Republic of Armenia
passport bearing the name “Hrant Abovyan” and SCHEMER#8’s
photograph, Yolian photocopied the passport and sent it to me
via text. I recognized the person in the passport photograph to
be SCHEMER#8. Yolian explained to SCHEMER#8 that Citibank had
frozen “Hrant Abovyan”’’s bank accounts because the bank
suspected the bank account as being fraudulent because checks
were deposited from bank accounts that had received several
fraudulent tax refunds. Yolian told me that SCHEMER#8 claimed
née was not aware of any tax refunds. Yolian told SCHEMER#8 that
Citibank would be calling him after a review is performed on his
bank account. At approximately 12:30 p.m., I observed SCHEMER#8
exit the bank and enter a white 2015 Lexus ES 350 bearing
California license plate 7JNSBO40. SA Ou recognized the driver
of the Lexus as SCHEMER#12, whom we had previously identified as

a known runner of this scheme.

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d. SA Ou, SA Leonard, and I followed SCHEMER#8 and
SCHEMER#12 from Citibank to the Avalon Apartments complex.

ée. | At approximately 12:50 p.m., I observed
SCHEMER#1, SCHEMER#8, SCHEMER#12, and UF1, all standing on the
balcony of SUBJECT PREMISES #41.

f. From approximately 2:50 p.m. to 3:30 p.m., SA Ou
and Los Angeles Police Detective A. Mkrtchyan positioned
themselves in apartment 4109 of the Avalon Apartments complex,
which is a permanently vacant apartment used as a display for
future tenants. (Apartment 4109 is located directly underneath
SUBJECT PREMISES #1 (which is Apartment 4209)). Permission to
be inside apartment 4109 was granted by Avalon Apartment, and SA
Ou was temporary provided the key to apartment 4109. While SA
Ou and Detective Mkrtchyan were standing on the balcony of
apartment 4109, I continued to monitor the balcony activity of

| SUBJECT PREMISES #1 through my binoculars. At approximately 3:25
p.m., I saw SCHEMER#13 walk out to the balcony and then re-enter
the apartment. At the same time, SCHEMER#1 walked out onto the
balcony of SUBJECT PREMISES #1 and began to talk on his cell
phone, I immediately notified SA Ou that SCHEMER#1 was standing
on the balcony. Detective Mkrtchyan, who speaks Armenian
fluently, heard SCHEMER#1 say words in Armenian roughly
translated as “we can’t get it out.” Based on the description
above about what had occurred at the bank earlier that
afternoon, i.e., that the bank employee had notified SCHEMER#8

that the bank had frozen the “Hrant Abovyan” bank accounts

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because the bank suspected the account as being fraudulent, it
appeared to me that SCHEMER#1 was talking to someone about that
frozen bank account. I believe that that conversation further
demonstrates that SCHEMER#1 was clearly keeping tabs on the
schemers’ activities at the banks, and doing so while present at
SUBJECT PREMISES #1.

g. At approximately 4:35 p.m., I saw SCHEMER#1 exit
buiiding 10987 carrying a dark colored satchel (SUBJECT BAG #1).
i followed SCHEMER#1 to the southeast exit of the Avalon
Apartments complex. SCHEMER#1] exited the apartment complex with
a fob key. I immediately notified SA Leonard, who was positioned
on Blutfside Drive. SA Leonard told me that he saw SCHEMER#1
enter into an Acura MDX carrying his satchel. The Acura MDX had
a California license plate of 7HUW657 (SUBJECT VEHICLE #1). SA
Cu followed SCHEMER#1 to a Community Hospital in the city of
Glendale, California. I researched license plate 7HUW657 in
California Department of Motor Vehicle data base and learned
that it was registered to SCHEMER#1.

237. December 3, 2015: On December 3, 2015, while
conducting surveillance of SUBJECT PREMISES #1, I observed
SCHEMER#8 in the passenger side of a black Range Rover. I
recognized tne driver of the Range Rover as SCHEMER#15, who as
described above is a known runner of this scheme. I observed
SCHEMER#15 park his vehicle across from building 10987 of the
Avalon Apartments complex. Immediately after the vehicle was

parked, SCHEMER#8 exited the vehicle and ran into building

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10987. SCHEMER#8 emerged from the building a few minutes later
and re-entered SCHEMER#15’s black Range Rover. I followed
SCHEMER#8 and SCHEMER#15 to a Wells Fargo Bank located in
Encino, California, where I saw both of them enter the bank.

a. SCHEMER#8 and SCHEMER#15 remained in the bank for
approximately 30 minutes before exiting and returning to the
Avalon Apartments complex.

b. Iwas later told by a Wells Fargo fraud

investigator that SCHEMER#8 and SCHEMER#15 had attempted to
negotiate checks while inside the bank on December 3, 2015.
258. December 7, 2015: On December 7, 2015, SA Ou and I
conducted a surveillance operation at the Avalon Apartment
complex.

a. At approximately 16:30 a.m., we observed
SCHEMER#8 sitting in a white 2014 Lexus ES 350. SA Ou and I
observed SCHEMER#8 exit that vehicle and walk into the Avalon
Apartments complex. After SCHEMER#8 walked into the apartment
complex, I managed to record the Vehicle Identification Number
(“VIN"} from the dashboard of the 2014 Lexus ES 350. SA Ou
researched that VIN and found that the 2014 Lexus ES 350 is
registered to Jacqueline Nalbandyan and Migran Isakulyan, 10947
Huston St. #107, Toluca Lake, California 91602. Based on my
training, experience, and conversations with other senior
investigators, it is common for fraudsters or people who are

committing crimes to drive vehicles not registered in their

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names, in order to avoid being detected by law enforcement while
continuing to engage in fraudulent activity.

b. At approximately 12:26 p.m., I was notified by
Yolian that someone had called the bank, representing to be
“Hrant Abovyan,” and was inquiring about the status of his bank
accounts. Yolian told the caller that Citibank had decided to
close his bank accounts and that he would have to come into the
branch to pick up the remaining balance in his accounts. “Hrant
Abovyan” told Yolian that he would be in later that day to pick
up his money.

Cc. Approximately 15 minutes later, at approximately
12:43 p.m., I saw SCHEMER#8 and SCHEMER#13 exit the Avalon
Apartments complex together. In anticipation that they would be
going to Yolian’s Citibank’s branch, SA Ou and I drove to that
branch to set up surveillance.

d. At approximately 1:23 p.m., SA Ou and I observed
SCHEMER#8 and SCHEMER#13 arrive at the Citibank in SCHEMER#8’s
Lexus. SCHEMER#13 was driving SCHEMER#8’s vehicle and parked in
front of the bank. SCHEMER#8 exited the Lexus and entered the
bank alone,

e. At. approximately 1:24 p.m., Yolian sent me a text
informing me that the individual who had been posing in the
identity of “Hrant Abovyan” had walked into her bank branch.
Yolian told me that SCHEMER#8 again presented a Republic of
Armenia passport in the name of “Hrant Abovyan.” The passport

displayed a photo of SCHEMER#8. Yolian told me that she closed

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the bank accounts in the name of “Hrant Abovyan” and issued
SCHEMER#8 a cashier's check for $4,890.03, which was the
remaining balance in those accounts.

i. At approximately 1:46 p.m., I observed SCHEMER#S8
exit the bank holding a document in his hand and enter
SCHEMER#8’s Lexus in which he had arrived to the bank.
SCHEMER#8 and SCHEMER#13 drove away. SA Ou and I attempted to
follow them, however, we decided to discontinue our surveillance
because we believe SCHEMER#13 was performing counter
surveillance techniques. For example, we noticed SCHEMER#8 and
SCHEMER#13 looking in their rear view mirror immediately after
driving away from the bank. They were also driving down side
streets at a slow speed.

g. At approximately 2:48 p.m., SA Ou and I returned
to the Avalon Apartments complex and saw that SCHEMER#8’s white
2014 Lexus ES 350 was now parked across from the Avalon
Apartments complex.

h. On or about February 22, 2016, I received
surveillance video, photographs, and bank records for an East
West Bank account opening in the name of “Hrant Abovyan.”

a. After reviewing monthly bank statements for that
account, I discovered that the Citibank cashier's check in the
amount of $4,890.03 was deposited on December 7, 2015, the same
day the cashier’s check was given to SCHEMER#8. I also reviewed
the video relating to this deposit, which shows SCHEMER#8

depositing the Citibank cashier's check at approximately 2:07

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p.m. (As the paragraph above shows, SCHEMER#8 had received the
Citibank cashier’s check sometime between 1:24 and 1:46 p.m.)
The deposit was made at the East West Bank Silver Lake branch
located approximately 3 miles from the Citibank where SCHEMER#8
had been handed the cashier’s check.

259, December 9, 2015:

a. On December 9, 2015, I interviewed Yolian. Yolian
told me the following regarding her interactions with the
individual posing as “Hrant Abovyan”. (SCHEMER#8) on December 7,
2015:

i. She described SCHEMER#8 as a Russian
Armenian who appeared to be 34-40 years old.

ii. SCHEMER#8 told Yolian that he intends on
returning to Armenia within the month.

iii. Yolian examined the passport that SCHEMER#8
had provided and noticed that there was only one page that
showed an entry into a country.

iv. Yolian recalls SCHEMER#8 laughing at the
fact that his bank account was closed.

Vv. SCHEMER#8 gave Yolian his Citibank Debit
Card prior to leaving the bank with his cashier’s check.

b. Immediately following my interview with Yolian, I
returned to the Avalon Apartments complex. At approximately
2:35 p.m., I was monitoring the balcony of SUBJECT PREMISES #1

from the Garland Hotel parking lot with my binoculars. During

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this time, I saw SCHEMER#8 standing on the balcony of SUBJECT
PREMISES #1.

260. December 23, 2015: On December 23, 2015, I was

 

monitoring the entrance of building 10987 of the Avalon
Apartments complex, while sitting in the Business Community
Center there. At approximately 1:34 p.m., I observed SCHEMER#15
Grive into the Avalon Apartments complex through the main
entrance off of Vineland Avenue, driving the same black Range
Rover with dealer license plates from “B3 Motors.” SCHEMER#15
stopped in front of building 10987, and SCHEMER#14 exited the
vehicle and ran into building 10987. SCHEMER#14 returned
approximately three minutes later and re-entered the vehicle.
SCHEMER#14’s action of being dropped off, quickly running into
Building 10987, entering SUBJECT PREMISES #1, and shortly
thereafter returning to the vehicle, are consistent with runners
who have been cbserved entering and quickly leaving the
apartment complex where SUBJECT PREMISES #1 is located, to then
proceed to visit banks as part of this fraudulent scheme.

261. January 6, 2016: On January 6, 2016, Citibank Branch
Manager Yolian informed me that SCHEMER#6 and SCHEMER#5 had come
into her branch, and SCHEMER#6 had identified herself as “Anahit
Israyelyan.” SCHEMER#6 had inquired why the funds in her bank
accounts were frozen, and SCHEMER#6 and SCHEMER#5 were told that
the accounts were under review. SCHEMER#6 and SCHEMER#5 implied
that they would return the following day at 1:00 p.m. to speak

with Yolian.

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262. January 7, 2016:
a. On January 7, 2016, SA Ou, SA Leonard, and I

conducted a surveillance operation at the Citibank branch
located at 1900 W. Sunset Blvd., Los Angeles, California (the
same branch at which SCHEMER#8 had previously met with bank
employee Yolian regarding the bank account opened in the name of.
“Hrant Abovyan”).

b. At approximately 12:58 p.m., I saw SCHEMBR#5
drive into the Citibank parking lot in a black 2016 Lexus SUV
with black dealer plates that read “Maya Motors.”

Cc. At approximately 1:00 p.m., Yolian notified me
that SCHEMER#6 and SCHEMER#5 had entered the bank together.
Yolian sat with /SCHEMER#6 and SCHEMER#5 to discuss the bank
account in the name of “Anahit Israyelyan.”

d. At approximately 1:10 p.m., Yolian informed me
that of “Anahit Israyelyan” and a Citibank Debit card in the
name of “Ananit Israyelyan.” The passport displayed a picture
of SCHEMER#6. Yolian photocopied the passport and texted me a
copy. After viewing the passport photo, I confirmed the woman
in bank was in fact the individual I knew as SCHEMER#G.

e. Yolian told me that her conversation with
SCHEMER#6 and SCHEMER#5 were in Armenian. SCHEMER#6 claimed
that she had opened the bank account on behalf of her son. In
fact, SCHEMER#6 stated that Yolian had previously helped her son
on his own account; however, when asked what the name of her son

was, SCHEMER#6 initially could not recall. SCHEMER#6 also

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represented to Yolian that she had several businesses in Armenia
and had lots of money; however, she again could not name even
one of her purported businesses. When asked for her address and
phone number, SCHEMER#6 stated that she did not know. Yolian
told SCHEMER#6 and SCHEMER#5 that Citibank froze the “Anahit
Israyelyan” bank accounts because the checks deposited into her
account were flagged as fraudulent. Yolian told SCHEMER#6 that
her account is under review and that the bank would notify her
once a decision has been made, SCHEMER#6 told Yolian that her
phone number and address information is in the car and that she
would call Yolian to provide this information.

£. At approximately 1:22 p.m., Yolian notified me
that SCHEMER#5 and SCHEMER#6 had exited the bank.

gq. At approximately 1:30 p.m., I drove into the
Citibank parking lot. During this time I saw SCHEMER#5 sitting
in the driver side of the black Lexus SUV talking on her cell
phone and SCHEMER#6 was sitting in the passenger side.

h. At approximately 1:32 p.m., SCHEMER#5 and
SCHEMER#6 departed by vehicle. SA Ou, SA Leonard, and I
followed SCHEMER#S and SCHEMER#6 to the Avalon Apartments
complex. SCHEMER#5 drove down the guest drive way which leads
to the south east entrance/exit of the apartment complex. SA
Leonard was on foot maintaining visual observation. SA Leonard
told me that he saw SCHEMER#5 and SCHEMER#6 waiting in the

vehicle for approximately ten minutes. During this time,

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SCHEMER#5 honked the vehicle’s horn as if she were waiting for
someone.

i. At approximately 1:55 p.m., SA Leonard informed
me that SCHEMER#5 was driving away and proceeding towards
Vineland Ave. SA Ou and I were parked in front of the Avalon
Apartments complex main entrance on Vineland Ave. I saw
SCHEMER#5 drive a few feet passed the Avalon Apartments complex
entrance, where she pulled over and parked. Immediately after
parking, an unknown female adult wearing black clothing exited
the rear passenger side of SCHEMER#5’s vehicle and ran back into
the Avalon Apartments complex. The woman I saw exiting
SCHEMER#5’s vehicle matched the description of the unknown woman
I saw on the balcony of SUBJECT PREMISES #1 on previous dates.

J. SCHEMER#5 continued to drive north on Vineland
Ave. before being pulled over by Los Angeles Police Officers
Godoy and Mitchell. SCHEMER#5 was stopped for not having a
license plate. Officers Godoy later told SA Ou who informed me
that SCHEMER#5 identified herself as the registered owner of the
vehicle. She provided a California driver’s license displaying
her photo, name, and address. Officers Godoy stated that
SCHEMER#5 had on blue contact lenses and was potentially wearing
a black wig. The police officers confirmed that the vehicle was
registered te SCHEMER#5. The police officers released SCHEMER#S
without citing her. As the police officers were walking away,

they heard laughing coming from the vehicle.

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kK. After being questioned by the police, SCHEMER#5
and SCHEMER#6 were followed to the East West Bank located 135 N.
Robles Ave., Pasadena, California. At approximately 2:45 p.m.,
Io saw both SCHEMER#5 and SCHEMER#6 enter the bank together.

1. At approximately 3:00 p.m., SCHEMER#5 and
SCHEMER#6 exited the bank and entered their vehicle. SCHEMER#S
and SCHEMER#6 were then followed to the Wells Fargo Bank located
at 82 3. Lake Ave., Pasadena, California, a few miles from East
West Bank. SA Leonard told me that he saw SCHEMER#5 and
SCHEMER#6 enter the bank and approach a Wells Fargo team member.
At approximately 3:18 p.m., I walked inside the Wells Fargo Bank
and saw SCHEMER#5 and SCHEMER#6 sitting with a Wells Fargo team
member at a private cubicle,

m. About a half hour later, at approximately 3:30
p.m., I observed SCHEMER#5 and SCHEMER#6 drive away from the
Wells Fargo Bank. We followed them from that bank to the city
of Glendale, where SCHEMER#5 dropped off SCHEMER#6 in the Jon's
Supermarket parking lot located on Colorado Bivd. We
discontinued surveillance of SCHEMER#5, because we had confirmed
her identity earlier in the day. SA Ou, SA Leonard, and I
maintained surveillance of SCHEMER#6 in hopes that we would be
able to determine where she resides. SCHEMER#6 was then picked
up by an unknown female who was driving a newer Jeep Cherokee
with dealer license plate. We followed the vehicle to an

apartment complex located at 208 W. Maple Ave., Glendale, |

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California. Because we were unable to identify the apartment in
which SCHEMER#6 entered, her identity remains unknown.
263. January 8, 2016:

a. On January 8, 2016, SA Ou and I interviewed Jessy
Yang (“Yang”) and Clayton Tso (“Tso”), East West Bank team
members who work at the branch located at 135 N. Los Robles
Ave,, Pasadena, California. Yang told me that she recalled
assisting SCHEMER#6 and SCHEMER#5 on the previous day.
SCHEMER#6 claimed that she did not speak English. SCHEMER#S5
then transiated the conversation between SCHEMER#6 and Yang in
English.

b. Yang stated that SCHEMER#6 identified herself as
“Elena Oganesyan” and provided a passport from the country of
Georgia containing her photograph. Yang examined the passport
presented by SCHEMER#6, and recalled that the photograph on the
passport appeared to be simply glued on. The purpose of
SCHEMER#6'S visit was to provide a change of address, a check
book, and a new debit card. However, it was SCHEMER#5 who
provided Yang with SCHEMER#6’s new address. Yang told me that
she believes Jane Doe and SCHEMER#5 were wearing wigs and hair
extensions. I presented Yang with a copy of the Republic of
Armenia passport that SCHEMER#6 had presented to Citibank
Manager Yolian a few hours before, which was in the name of
“Anahit Israyelyan.” Yang reviewed the photograph and confirmed

the person in the “Anahit ‘Israyelyan” passport from the Republic

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of Armenia was the same woman who had identified herself as
“Elena Oganesya” with a passport from the country of Georgia.

Cc. I also showed the same copy of the “Anahit
Israyelyan” passport to Tso. He reviewed the passport
photograph and told me that he recognized the woman in the photo
to be the same woman he had assisted in opening an account in
August 2015. However, Tso recalls that the person in the
passport photograph had identified herself as “Elena Oganesyan.”
Tse stated that SCHEMER#6 opened the “Elena Oganesyan” account
with a country of Georgia passport bearing SCHEMER#6’s
photograph.

d. East West Bank provided me with SCHEMER#6’s
updated address. According to the signature card for “Elena
Oganesyan,” she indicated to Bast West Bank at the time she
opened her bank accounts that she resided at 1107 Fair Oaks
Ave., Pasadena, California 91303. However, she now wished to
change her address to 1107 Fair Oaks Ave., Apt. 859, Pasadena,
California 91303.

e. Immediately following our interview with Yang and
Tso, SA Qu and I drove by the address 1107 Fair Oaks Ave., Apt.
859, Pasadena, California 91303. We discovered that 1107 Fair
Oaks Ave., Apt. 859, Pasadena, California 91303, was actually.
not an apartment, but rather, was a UPS Store. So, SA Ou and If
interviewed the UPS Store owner there. The UPS Store owner
confirmed that a private mailbox was being rented by “Elena

Oganesyan;” however, she was renting mailbox #858 and not #859.

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I was provided with the mailbox Service Agreement, U.S. Postal
Service Application for Delivery of Mail Through Agent (Form
1583), a Time Warner Cable Bill, a Georgian Passport, and Costco
Membership Card in the name of “Elena Oganesyan” that were used
to rent the mailbox. The Georgian passport and Costco card
depicted a phote of SCHEMER#6.

264, January 12, 2016:

a. On January le, 2016, I was monitoring the balcony
of SUBJECT PREMISES #1 live via a pole camera. During this
time, I witnessed SCHEMER#1, SCHEMER#13, UF1, SCHEMER#14,
SCHEMER#15, and an unknown adult male on the balcony of SUBJECT
PREMISES #1.

Db. At approximately 4:45 p.m., I saw SCHEMER#14 show
what appear to be several white colored documents to the unknown
male.

265. January 14, 2016: On January 14, 2016, I was

monitoring the GPS tracker on the white 2014 Lexus ES 350 driven
by SCHEMER#S8.

a. At approximately 12:30 p.m., the GPS tracker
indicated that the vehicle was parked at the Avalon Apartments
complex.

b. At. approximately 3:02 p.m., the GPS tracker
showed that the vehicie was now parked across the street from
Wells Fargo Bank located at 12900 Ventura Blvd., Studio City,

California.

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ce. The GPS tracker indicated that at approximately
3:40 p.m., the vehicle had begun to travel back from the bank
towards the Avalon Apartments complex.

d. According to the GPS tracker, the vehicle was
parked across the street from Avalon Apartments complex at
approximately 3:45 p.m.

266, January 22, 2016:

a. On January 22, 2016, I interviewed Citibank
Manager Yolian after she informed me that SCHEMER#6 and an
unknown male (subsequently identified as SCHEMER#15) who drove a
black Range Rover with yellow dealer plates had been in her bank
inguiring about the account SCHEMER#6 had opened under the name
“Anahit Israyelyan.” Yolian told me that SCHEMER#6 and the
unknown male visited the Citibank branch in Korea Town earlier
in the day asking to have her account unfrozen. Yolian told me
that the unknown male represented himself as a friend of
SCHEMER#6's son. Yolian told me that she explained to SCHEMER#6
and the unknown male that SCHEMER#6’s “Anahit Israyelyan” bank
account was frozen because a review of her account revealed that
she deposited checks from individuals who had received
fraudulent tax refunds. According to Yolian, the unknown male
turned to SCHEMER#6 and said in Armenian, “They screwed you.”
SCHEMER#6 replied to Yolian saying that she could not believe
what was going on because the money in her account was hers.
However, Yolian told me that SCHEMER#6 did not appear to be

surprised when she was told that the funds would not be made

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available to her. Yolian was shown a photograph of SCHEMER#15
standing on the balcony of SUBJECT PREMISES #1 on January 12,
2016. Yolian identified the person in that photograph as the
same person who had accompanied SCHEMER#6 in the bank and who
was driving the black Range Rover.

b. After my interview with Yolian, I drove to the
Avalon Apartments complex to see if I could identify the black
Range Rover. At approximately 4:24 p.m., I arrived at the Avalon
Apartments complex. As I was parking my vehicle, I saw
SCHEMER#1 walk into the Avalon Apartments complex carrying a
dark colored satchel or laptop bag {SUBJECT BAG #1). SCHEMER#1
entered the Avalon Apartments complex with a fob key. I
followed SCHEMER#1 and confirmed that he entered building 10987,
which is the building that houses SUBJECT PREMISES #1.

c. At approximately 4:52 p.m., approximately thirty
minutes later, SA Leonard notified me that he observed SCHEMER#1 .
standing on the balcony of SUBJECT PREMISES #1. At that time, I
was positioned inside the Avaion Apartment Business Center
located across from building 10987. I was also monitoring the
pole camera from my laptop computer.

d. At approximately 5:00 p.m., I observed a black
Range Rover with yellow dealer license plate drive into the
Avalon Apartments complex. The Range Rover drove to the

underground parking structure of building 10987,

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e. At approximately 5:03 p.m., I saw SCHEMER#13 and
SCHEMER#9 talking to each other on the balcony of SUBJECT
PREMISES #1.

f. At approximately 5:04 p.m., I saw SCHEMER#8 exit
building 10987. It appeared that SCHEMER#8 had a white envelope
or document in his rear pants pocket.

g. At approximately 6:55 p.m., I observed SCHEMER#1
and the unknown female exit SUBJECT PREMISES #1 together.
SCHEMER#1 was carrying the same dark colored satchel (SUBJECT
BAG #1) seen earlier in the day, which had also been observed on
many prior occasions. I followed SCHEMER#1 to his vehicle, an
Acura MDX with license plate 7HUW657 (SUBJECT VEHICLE #13. #7
then observed SCHEMER#1 place SUBJECT BAG #1 into SUBJECT
VEHICLE #1 and drive away. I attempted to follow SCHEMER#1;
however, I was unable to maintain surveillance. SCHEMER#1 was
last seen driving northbound on the 101 North Freeway towards
the direction of his residence.

267, January 27, 2016:

a. On January 27, 2016, I followed SCHEMER#8 from
his residence to an apartment complex located on North Adams
Street, in Glendale, California.

b. At approximately 11:49 a.m., I saw SCHEMER#8 and
SCHEMER#9 walk from one of the apartment buildings and enter
SCHEMER#8’s vehicle. |

c. I followed them to a second residence located a

few miles away, where I observed SCHEMER#8, SCHEMER#9, and

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another unknown male adult have a conversation with each other
on the side of the road. After talking for an approximately ten
minutes, all three individuals entered SCHEMER#8’s vehicle and
drove away.

d. i followed the individuals to the Avalon
Apartments complex. SCHEMER#8 parked his vehicle on Bluffside
Drive, across from the Avalon Apartments complex. As I was
walking towards SCHEMER#8’s vehicle, I saw that SCHEMER#I1’s
Acura MDX was also parked on Bluffside Drive.

e. At approximately 12:49 p.m., I walked down to the
underground parking structure of building 10987 and saw
SCHEMER#15’s black Range Rover parked in parking space #25.
Based on my conversations with Avalon Apartments complex
management personnel, I know that space #25 is assigned to
SUBJECT PREMISES #1. The Range Rover had yellow McKenna dealer
plates; however, the vehicle had an E3 Motors sales and leasing
registration sticker on the lower part of the front windshield.
I believe SCHEMER#15 switched his dealer plates to avoid being
detected from law enforcement while driving Tier-2 bank account
holders to and from banks. I researched the VIN of the black
Range Rover and found that it is registered to Ashot Hakverdyan
and Razmik Hakverdyan. California Department of Motor Vehicle
data base also confirmed that the Range Rover has been assigned

license plate number 6FTE706.

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£. At approximately 1:13 p.m., SA Leonard notified
me that he was monitoring the pole camera and saw SCHEMER#8 and
SCHEMER#1 standing on the balcony of SUBJECT PREMISES #1.

q. At approximately 1:30 p.m., Yolian notified me
that a man claiming to be the son of “Anahit Israyelyan” had
just called inquiring about the “Anahit Israyelyan” bank
account.

n. At approximately 1:38 p.m., I saw SCHEMER#i5 and
an unknown male adult, who was wearing a white and black
sweater, waik out of SUBJECT PREMISES #1. Approximately three
minutes later, I saw the black Range Rover with yellow McKenna
deaier plates drive out from the underground parking lot and out
of the apartment complex.

i. | At approximately 1:53 p.m., SA Leonard emailed me
a photograph of SCHEMER#1, SCHEMER#8, and SCHEMER#13 together on
the balcony of SUBJECT PREMISES #1.

4. At approximately 2:02 p.m., I was monitoring the
pole camera from the Avalon Apartments complex Business Center
from my laptop when I saw SCHEMER#9 standing on the balcony of
SUBJECT PREMISES #1 and taiking to SCHEMER#13.

k, At approximateiy 2:55 p.m., I observed SCHEMER#S
walk out of building 10987 towards his vehicle on Bluffside
Drive. As SCHEMER#8 was walking to his vehicle, SCHEMER#12
drove into the Avalon Apartments complex. The two individuals
had a brief conversation with each other. SCHEMER#12, however,

continued on and drove towards the underground parking structure

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of building 10987. At approximately 3:05 p.m., I saw SCHEMER#12.
drive out from the underground parking structure of building
10987 and out of the apartment complex.

i. According to the GPS tracker, at approximately
3:10 p.m., SCHEMER#8 stopped at the Mailbox Plus shipping and
mail center, located at 5404 Whitsett Ave., Valley Village,
California. After interviewing the manager of Mailbox Plus, SA
Ou later confirmed that SCHEMER#8 had picked up mail from a
mailbox there.

™m. At approximately 3:15 p.m., I left the Avalon
Business Center to locate SCHEMER#8. At approximately 3:40
p.m., the GPS tracker showed that SCHEMER#8’s vehicle had parked
in front of Mail Call, a mailbox center located at 5870 Melrose
Ave., Los Angeles, California. The GPS tracker indicated that
the vehicle had departed at approximately 3:45 p.m. I then
interviewed the cwner of Mail Call who told me that SCHEMER#8
had just left. He stated that SCHEMER#8 had wanted to open a
mailbox with only one form of secondary identification - a Time
Warner Cable Bill. The owner said that SCHEMER#8 had a passport
that was burgundy in color, but that he told SCHEMER#8 that he
aiso needed to provide a second form of identification. The
owner said upon hearing that response, SCHEMER#8 walked cut.

n. At approximately 4:05 p.m., I then followed
SCHEMER#8 to Sunset Boulevard Mailboxes located at 7119 La Brea
Bivd., Los Angeles, California. As I was driving into the

parking lot there, I saw SCHEMER#8 pulling out of a parking

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spot. I waited until SCHEMER#8 drove away before interviewing
John Park (“Park”), the owner of Sunset Boulevard Mailboxes. I
showed a photo of SCHEMER#8 to Park who recognized SCHEMER#8 and
stated that he had just been in, asking to rent a mailbox for
three months. Park said that he told SCHEMER#8 that he only
rents mailboxes for a period of one year. Park said SCHEMER#8
left after hearing this information.

oO. After my interview with Park, I located
SCHEMER#8’s vehicle on Ogden Drive, across the street from the
Bank of America located at 7800 W. Sunset Blvd., Los Angeles,
California. At approximately 4:34 p.m., I saw SCHEMER#8 and
SCHEMER#13 walk away from the Bank of America. They then
entered SCHEMER#8’s vehicle and continued west on Sunset Bivd.

Dp. After SCHEMER#8’s vehicle departed that location,
I continued to follow SCHEMER#8 as he drove westbound on Sunset
Blvd. At approximately 4:41 p.m., SCHEMER#8 arrived at Boxes and
More, a mail center located at 8491 Sunset Blivd, West Hollywood,
California.  SCHEMER#8 remained in Boxes and More for
approximately five minutes before leaving and driving back to
the Bank of America. After SCHEMER#8 drove away from Boxes and
More, I interviewed Pablo, who identified himself to me as the
owner of Boxes and More. I showed Pablo a photograph of
SCHEMER#8. After seeing the photograph of SCHEMER#8, Pablo
stated that SCHEMER#8 had just rented a mailbox under the name
of “Edik Nasirov.” Pablo provided me with a photocopy of a

Georgia Passport that had a photo of SCHEMER#8 on it. Pablo

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said that SCHEMER#8 signed a United States Postal Service
Application for Delivery of Mail Through Agent, Form 1583, under
the name “Edik Nasirov.” Pablo provided me with a copy of the
Form 1583 signed by SCHEMER#8 using the name “Edik Nasirov,”
which was dated January 27, 2016.

q. After my interview with the owner of Boxes and
More, I resumed tracking SCHEMER#8. The GPS tracker indicated
that his vehicle was parked across the street from the same Bank
of America located at 7800 Sunset Bivd, Los Angeles, California.
While in route to the Bank of America from Boxes and More, I
called a Bank of America fraud investigator and notified the
investigator of a potential fraud in progress. The bank
investigator told me that the investigator would call the branch
and inquire if someone had recently opened a bank account using
a foreign passport or a passport from the country of Georgia.
The bank investigator returned my call and told me that the
branch manager confirmed that sometime between 4:30 p.m. and
5:30 p.m., a business bank account had been opened under the
name “Lotex.” He said that the account owner opened the account
using a passport from the country of Georgia, and that the
account owner identified himself as “Nugzar Arutinov.” “Nugzar
Arutinov” also presented a Time Warner Cable Bill. The bank
investigator also stated that “Nugzar Arutinov”’ made an initial
deposit of $300 through the branch ATM machine outside.
Accerding to the Bank Manager, “Nugzar Arutinov” claimed to be a

furniture manufacturer.

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Xr. At approximately 5:21 p.m., SCHEMER#8’s vehicle
left Bank of America and drove back to the Avalon Apartments
complex. At approximately 6:17 p.m., I arrived at the Avalon
Apartments complex and continued my surveillance on foot. I
walked down to the underground parking structure of building
10987 and saw SCHEMER#8's vehicle parked in the assigned parking
spot #25, which is the spot for SUBJECT PREMISES #1.

268. As discussed above under the section discussing
SCHEMER#15, I believe SCHEMER#15 and the other fraudsters who
frequent SUBJECT PREMISES #1 are also involved in account
takeover schemes and use SUBJECT PREMISES #1 to safe keep checks
related to those other fraudulent schemes (such as involving

fictitious checks or account takeovers) they are also

orchestrating.
269. January 28, 2016:
a. On January 28, 2016, at approximately 4:49 p.m.,

a bank investigator emailed me a photograph of the individual
posing as “Nugzar Arutinov” making his $300 initial deposit at
the ATM machine. The photograph was date-stamped January 27,
2016, at 5:12 p.m. After reviewing the photograph of “Nugzar
Arutinov,” I recognized the person to be SCHEMER#9. In fact, I
recognized the jacket he was wearing in the photograph as the
samé jacket I had seen him wear earlier that day. The bank
investigator also stated that “Nugzar Arutinov” provided an

address of 5404 Whitsett Ave., Valley Village, California. I

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know based on my surveillance of SCHEMER#8 the previous day that
this address is where Mailbox Plus is located.

b. On January 28, 2016, HSI SA Ou interviewed the
manager at Mailbox Plus lecated at 5404 Whitsett Ave., Valley
Village, California. SA Cu told me the following regarding his
interview and the records that he was provided. SA Ou inguired
if any mailboxes were rented in the name of “Nugzar Arutinov.”
SA Ou was provided with a United States Postal Service
Application for Delivery of Mail Through Agent, Form 1583, for
mailbox #179 leased in the name of “Nugzar Arutinov.” SA Ou was
also provided with a country of Georgia Passport that displayed
a purported photograph of “Nugzar Arutinov” and a Time Warner
Cable Bill that “Nugzar Arutinov” had provided as a second form:
of identification. SA Ou provided these documents to me for my
review. After viewing the photograph displayed on the Georgia
Passport in the name of “Nugzar Arutinov,” I recognized the
person to be the same person in the Bank of America ATM
Surveillance photo and that of John Doe/SCHEMER#9. According to
the Form 1583, SCHEMER#9 opened mailbox #179 on or about January
8, 2016.

270. February 2016: In or around February 2016, SA Ou spoke
with the leasing manager of the Avalon Apartments complex. The
leasing manager told SA Ou that in February 2016, he had
conducted an inspection of SUBJECT PREMISES #1 and other
apartments in building 10987, due to renovation plans. The

leasing manager told SA Ou, who subsequently told me, that he

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Saw a desktop computer inside SUBJECT PREMISES #1 during the
inspection on February 2016.
271. February 3, 2016:

a. On February 3, 2016, I was monitoring the GPS
tracker on SCHEMER#8’s vehicle and the pole camera directed at
the baicony of SUBJECT PREMISES #1. At approximately 2:15 p.m.,
the GPS tracker indicated that SCHEMER#8’s vehicle was parked
across the street from the Avalon Apartments complex. The GPS
tracking history also indicated that SCHEMER#8’s vehicle had
stopped on N. Adams Street, Glendale, California, which is the
location I had seen SCHEMER#8 and SCHEMER#9 come from on January
27, 2016. The tracking history also showed that SCHEMER#8’s
vehicle stopped on the corner of Doran Ave. and Pacific Ave. in
Glendale, California. This is the exact location where I saw
SCHEMER#8, SCHEMER#9, and an unknown male enter SCHEMERS8’s
vehicle and drive to the Avalon Apartments complex.

b. At approximately 3:05 p.m., I saw SCHEMER#1,
SCHEMER#9, and SCHEMER#8, standing on the balcony of SUBJECT
PREMISES #1 talking to each other.

272. February 4, 2016:

a. On February 4, 2016, from my laptop, I was
monitoring SCHEMER#8’s movement from the GPS tracker. At the
time, I was in the Avalon Apartments complex Business Center.

b. At approximately 11:00 a.m., the GPS tracker
showed SCHEMER#8’s vehicle parked on N. Adams St., Glendale,

California. Based on SCHEMER#8’s driving patterns, I believe

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SCHEMER#9 lives somewhere on N. Adams. The GPS tracker history
snows SCHEMER#8 arriving at this location on multiple dates
between 10:00 a.m. and 11:00 a.m. The tracker also shows that
SCHEMER#8’s vehicle then eventually travels to the Avalon
Apartments complex.

c. At approximately 1:18 p.m., I observed SCHEMER#S8
and SCHEMER#9 walk into building 10987 holding what coffee cups.
SCHEMER#9 was wearing a brownish sport jacket while SCHEMER#8
was wearing a white striped long sleeve shirt.

d. At approximately 1:22 p.m., I saw SCHEMER#S8,
SCHEMER#9, and SCHEMER#13 standing on the balcony of SUBJECT
PREMISES #1.

e. At approximately 2:21 p.m., I saw SCHEMER#S and
SCHEMER#9 exit building 10987 together and exit the Avalon
Apartments complex. I continued to monitor the GPS tracker on
SCHEMER#8’s vehicle and followed the vehicle to the Wells Fargo
Bank located at 12900 Ventura Blvd., Studio City, California.
The GPS tracker indicated that the vehicle was parked in the
Ralph's parking lot, located across the street from the Wells
Pargo Bank. I drove into the Ralph’s parking lot and saw
SCHEMER#8 sitting in his vehicle alone. I parked my vehicle
approximately 2-3 rows from him and exited my vehicle. As I was
exiting my vehicle I saw SCHEMER#9 crossing the street coming _
from the Wells Fargo Bank and walking towards SCHEMER#S.

SCHEMER#9 then entered SCHEMER#8’s vehicle and they drove away.

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f. I continued to follow SCHEMER#8 through the GPS
tracker. At approximately 2:56 p.m., I followed SCHEMER#8 to
Mailbox Service Plus located at 14431 Ventura Blivd., Sherman
Oaks, California. On February 11, 2016, SA Leonard interviewed
Arvin Der Mehrabyan and Alex Mazahri, who identified themselves
as clerks for Mailbox Service Plus. SA Leonard told me that he
was provided with the mailbox application and passport photo
used to open box 557. The private mailbox had been rented in
the name of “Mamikon Zaynalyan.” SA Leonard recognized the
person in the passport as SCHEMER#8. Mazahri recognized the
person in the “Mamikon Zaynalyan” passport and said that he
comes in and picks up mail.

g. At approximately 3:25 p.m., the GPS tracker
showed SCHEMER#8 was at Mailbox Plus located at 5404 Whitsett
Ave, Valley Village, California. At approximately 4:10 p.m., I
interviewed Arthur Lai (“Lai”), who identified himself to me as
the manager of Maiibox Plus. Lai told me that “Nugzar Arutinov”
(SCHEMER#9) had just left after picking up mail for the box he
had opened under the name of “Nugzar Arutinov.”

h, At approximately 5:02 p.m., I followed SCHEMER#8
to Boxes and More located at 8491 Sunset Blvd., Los Angeles,
California. I know based on my previous surveillance of
SCHEMER#8 on January 27, 2016, that he had opened a private
mailbox under the name “Edik Nazirov.” I interviewed Pablo, the
owner of Boxes and More, shortly after the GPS tracker indicated

SCHEMER#8's vehicle had left the area. Pablo confirmed that no

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new mailboxes were opened that day, se it may be possible that
SCHEMER#8 checked and potentially picked up mail from a box that
he opened or controlled.

i. I followed SCHEMER#8 from Boxes and More back to
the Avalon Apartments complex. At approximately 5:09 p.m., I
saw SCHEMER#8’s white 2014 Lexus ES 350 and SCHEMER#1's vehicle
(SUBJECT VEHICLE #1) parked on Bluffside Brive.

j. At approximately 5:45 p.m., SA Leonard notified
me that he was monitoring the pole camera when he observed
SCHEMER#1, SCHEMER#8, and SCHEMER#9 on the balcony of SUBJECT
PREMISES #1.

k. At approximately 6:50 p.m., I saw SCHEMER#1 and
an unknown male adult exit SUBJECT PREMISES #1 together. At
that time, I was unable to continue surveillance of SCHEMER#1.

273. February 8, 2016: On February 8, 2016, I was
monitoring the balcony of SUBJECT PREMISES #1 through the use of
the pole camera. From approximately 5:25 p.m. to 5:40 p.m., I
observed SCHEMER#8, SCHEMER#9, and SCHEMER#13 standing on the
balcony of SUBJECT PREMISES #1. I also saw a female adult
there, who matched the description of SCHEMER#5.

274, February 9, 2016:

a. On Pebruary 9, 2016, I was notified by an
official with East West Bank Corporate Security that SCHEMER#S
and SCHEMER#6 had entered the same East West Bank in Pasadena,
California, to again change the address on the bank account

opened in the name of “Elena Oganesyan.” This time, they

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provided the correct private mailbox number of 858. I was
provided with East West Bank surveillance photos of SCHEMER#S5
and SCHEMER#6 from their visit to the bank on February 9, 2016.
After reviewing the bank surveillance photographs, I confirmed
that the women in the photos were SCHEMER#5 and SCHEMER#6. The
bank personnel also provided me photographs of the vehicle in
which both women had arrived and exited. The pictures were of a
newer black Lexus SUV with dealer plates from Maya Motors. I
recognized the venicle to be the same vehicle I had seen
SCHEMER#5 and SCHEMER#6 driving in on January 7, 2016.

bp. On February 8, 2016, which was the day before I
was notified that SCHEMER#5 and SCHEMER#6 were back in the East
West Bank in Pasadena, I observed a woman matching SCHEMER#5’s
description present in SUBJECT PREMISES #1. I was unable to see
the woman’s face; however, the physical features of the woman
were very similar to SCHEMER#5. For example, the woman I saw
had long straight dark hair. Like SCHEMER#5, the woman also had
what appeared to be fair skin and fine facial features such as a
small nose.

Cc. On March 9, 2016, I was provided with Wells Fargo
Bank records for “Elena Oganesyan,” including signature cards,
bank statements, deposits, checks, and video surveillance dated
January 7, 2016. After reviewing the signature card, I
confirmed that SCHEMER#6 had opened an account under the name
“Blena Oganesyan,” using a passport in that name from the

country of Georgia. The bank statements were mailed to 1107

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Fair Oaks Ave., Apt. 859, Pasadena, California, which was the
same address SCHEMER#6 had provided to East West Bank on January
7, 2016. The bank surveillance video shows SCHEMER#5 and
SCHEMER#6 inside the Wells Fargo Bank in Pasadena, California,
on January 7, 2016.

275. February 10, 2016:

 

a. On February 10, 2016, I was monitoring the
balcony of SUBJECT PREMISES #1 through the use of the pole
camera from approximately 12:00 p.m. to 4:45 p.m. During this
time I observed SCHEMER#9, SCHEMER#13, SCHEMER#15, and
SCHEMER#16, and others unknown to the investigation, on the
balcony of SUBJECT PREMISES #1 talking to each other.

b. At approximately 12:01 p.m., I saw SCHEMER#1
carrying what appeared to be his dark colored satchel {SUBJECT
BAG #1) over his left shoulder. As discussed elsewhere in this
Affidavit, SCHEMER#1] has been seen on multiple surveillance
operations carrying SUBJECT BAG #1 in and out of SUBJECT
PREMISES #1.

276. February 12, 2016:

a. On February 12, 2016, I was monitoring the GPS
tracker on SCHEMER#8’s vehicle.

b. At approximately 16:30 a.m., the tracker showed
that SCHEMER#8’s vehicle was parked for approximately 30 minutes

on N. Adams St., Glendale, California.

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Cc. At approximately 11:25 p.m., the GPS tracker
showed SCHEMER#8’s vehicle parked at the Avalon Apartments
complex on Vineland Ave.

ad. At approximately 11:42 p.m., while also
monitoring the pole camera, I observed SCHEMER#8 on the balcony
of SUBJECT PREMISES #1.

e. At approximately 1:20 p.m., the GPS tracker
indicated that SCHEMER#8’s vehicle departed the Avalon
Apartments complex and arrived at Mailbox Plus located at 5404
Whitsett Avenue, Valley Village, California.

i. At approximately 2:45 p.m., SA Ou called
Lai, the manager of Mailbox Plus, and inquired if SCHEMER#8 or
SCHEMER#9 had opened a new mailbox or picked up mail. SA Ou
told me that Lai confirmed that SCHEMER#9 had picked up mail
from box #179, which he had rented under the name “Nugzar
Arutinov.”

f. At approximately 2:56 p.m., the GPS tracker
indicated that SCHEMER#8’s vehicle was in the Citibank parking
lot located at 13003 Victory Blivd., North Hollywood, California.
That address is the same Citibank branch where SCHEMER#17 had
conducted €@ transaction with a Tier-2 bank account on March 19,
2015.

g. At approximately 3:18 p.m., I drove by the Avalon
Apartments complex and saw SCHEMER#16’s Mercedes Benz parked on
Vineland Ave and SCHEMER#1's vehicle (SUBJECT VEHICLE #1) was

parked on Bluffside Drive.

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h. At approximately 3:36 p.m., the GPS tracker
indicated that SCHEMER#8’s vehicle was parked on Vantage Ave.,
near the corner of Vantage Ave. and Ventura Blvd. in Studic
City, California. If conducted an internet search for nearby
banks and found three banks located within walking distance of
SCHEMER#8’s vehicle. The banks included Bank of America,
located at 12223 Ventura Blvd, Studio City, California,
Comerica, located at 12050 Ventura Blvd. Ste. A 105, Studio
City, California; and Union Bank, located at 12185 Ventura
Blvd., Studio City, California. At approximately 3:54 p.m., the
GPS tracker indicated that SCHEMER#8’s departed from its last
known location on Vantage Avenue.

i. At approximately 4:10 p.m., the GPS tracker
showed that SCHEMER#8’s vehicle stopped at Boxes and More
Services located at 8491 Sunset Blvd., Los Angeles, California.

}. At approximately 4:41 p.m., the GPS tracker
indicated that SCHEMER#8’s vehicle returned to the Avalon
Apartments complex and was parked on Bluffside Drive.

k. I was monitoring the pole camera directed at
SUBJECT PREMISES #1's balcony from 4:45 p.m. to 5:30 p.m., when
i saw SCHEMER#1, SCHEMER#8, SCHEMER#9, SCHEMER#13, SCHEMER#15,
SCHEMER#16, and UF] on the balcony of SUBJECT PREMISES #1. All
individuals were seen talking to each other. At approximately
5:22 p.m., SCHEMER#9 was observed holding documents in his

hands. I believe these documents are records related to a bank

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account or private mailbox that SCHEMER#9 had opened in
furtherance of this scheme.

2?7v, March 3, 2016: On March 3, 2016, I was informed by
Tockman, Avalon Apartment Leasing Manager, that “Tsalok
Sozamyan” had approached her and inquired about where to mail
his rent checks. Tockman stated that she recognized “Tsalok
sozamyan” from the time when she moved him in initially in June
2015. Tockman stated that “Tsalok Sozamyan” told her that he
had been away and his friends were making his payments for him.
Tockman described “Tsalok Sozamyan” as a male adult, in his 20s,
and wearing a salmon colored shirt. On this date, I was
monitoring the pole camera and observed a male adult standing on
the balcony of SUBJECT PREMSISES #1 wearing a salmon colored
shirt. SCHEMER#1 and SCHEMER#13 were also observed standing and
talking to this person on the baicony. JI emailed a photograph
of the person on the balcony, and Tockman confirmed that the
person in the photograph was the person whom she knew as “Tsalok
Sozamyan.”
/f
/f
ff

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278. March 29, 2016:

a. On March 29, 2016, at approximately 3:10 p.m., I
was notified by a Bank of America Fraud Investigator that
“Nugzar Arutinov” (SCHEMER#9), had just called the Hollywood
branch, which was the same bank location where he had opened the
bank account on January 27, 2016, and said that he was going to
arrive in 30 minutes to drop off his W-8 form and order new
checks.

i. Prior to being notified of this information,
I was monitoring the pole camera and observed SCHEMER#9 present
on the balcony of SUBJECT PREMISES #1. SA Leonard and I
immediately drove to the bank to cbserve.

b. At approximately 3:43 p.m., the bank investigator
notified me that SCHEMER#9 had just entered the bank. SA
Leonard entered the bank shortly after and observed SCHEMER#9
talking to a bank employee.

a. At approximately 3:48 p.m., SA Leonard cbserved
SCHEMER#9 exit the bank. SA Leonard and I both observed
SCHEMER#9 enter a Kia sedan bearing license plate number
7AUS334. I later learned that this vehicle is registered to
Rafik Martirosyan (“Rafik”). I obtained Rafik’s driver license
pheto and found that the photo displayed does not match
SCHEMER#9.

d. SA Leonard and I followed SCHEMER#9 back to the
Avalon Apartments complex where I observed him walk into the

apartment complex. SA Leonard and I later returned to the IRS

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office in downtown Les Angeles. Upon arriving, I began to
monitor the pole camera to see if SCHEMER#9 could be seen on the
balcony of SUBJECT PREMISES #1.

e. At approximately 6:19 p.m., I observed SCHEMER#9
and SCHEMER#8 standing on the balcony of SUBJECT PREMISES #1.
Approximately one minute later, I then cbserved SCHEMER#9 close
the balcony door blinds at SUBJECT PREMISES #1. No further
activity was observed.

279, April 6, 2016: On April 6, 2016, I was monitoring the
balcony of SUBJECT PREMISES#1 through the use of the pole
camera, and I cbserved SCHEMER#1 talking to SCHEMER#9,
SCHEMER#13, SCHEMER#14, and someone who appeared to be
SCHEMER#12.

280. April 13, 2016: On April 13, 2016, I was monitoring
the balcony of SUBJECT PREMISES#1 through the use of the pole
camera, and I observed SCHEMER#1 talking to SCHEMER#9,
SCHEMER#13, and SCHEMER#15. I also observed SCHEMER#1 and UF
talking on their cell phones at different times while standing
on the balcony of SUBJECT PREMISES #1.

2681. April 15, 2016: As discussed above, on April 15, 2016,
I was monitoring the pole camera directed at the balcony of
SUBJECT PREMISES #1, where I observed SCHEMER#1 on the balcony
with other known schemers of the scheme.

282. Based on my surveillance and the pattern displayed by
the runners on prior surveillance dates, I believe that

SCHEMER#5, SCHEMER#8, SCHEMER#9, SCHEMER#12, SCHEMER#14, and

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SCHEMER#15, and other people unknown to the investigation take
documents to and from SUBJECT PREMISES #1 to banks, mailbox
locations, and other locations to conduct this fraudulent
scheme.

283. Based on the investigation, and my training and
experience, I believe SUBJECT PREMISES #1 is used both as a
central meeting location and to harbor evidence from the scheme
such as altered foreign passports, checks, and cash. I also
believe SCHEMER#1 controls SUBJECT PREMISES #1 and the other
schemers, and dictates to the runners which bank account to
conduct deposits or withdrawals on a daily basis as part of the
scheme.

284. Thus, based on the above facts, and my training and
experience, I believe that evidence of this scheme will be found
at SUBJECT PREMISES #2.

K. There Is Probable Cause To Believe That Evidence of This

Scheme Will be Found at Non Stop Wireless aka “NS Wireless"

(SUBJECT PREMISES #2).

 

285. SUBJECT PREMISES #2 is a retail cell phone business in
North Hollywood, California, located as Suite A in a single
story retail strip mall that has approximately five other retail

establishments.

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286. As discussed above, SUBJECT PREMISES #2 was used by
SCHEMER#i in 2012 to commit money laundering of health care
fraud proceeds.

287. Surveillance operations in this case also show that
SCHEMER#1 and the runners are still meeting at SUBJECT PREMISES
#2 aS part of this scheme to launder the proceeds of tax fraud.

288. Based on the surveillance operations conducted by me
and other agents, I also believe SCHEMER#1 and the runners bring
evidence from SUBJECT PREMISES #1 to SUBJECT PREMISES #2.

1. SUBJECT PREMISES #2 was used by SCHEMER#1 in 2012 to

launder proceeds from health care fraud.

239. As discussed above, SUBJECT PREMISES #2 was used by
SCHEMER#1 in 2012 to commit money laundering.

290. In that money laundering scheme, SCHEMER#1 used
SUBJECT PREMISES #2 to facilitate meetings with CHS1, an FBI
informant, for the purpose of laundering approximately $400,000
of illicit proceeds, which SCHEMER#1 did.

291. A discussed above, Stepan Terakopyan and/or Petros
Terakopyan, the owners/operators of the business at SUBJECT
PREMISES #2, were also involved in that money laundering scheme
with SCHEMER#1] in 2012. Specifically, in that scheme, SCHEMER#1
would direct the FBI CHS1 to drop off the fraudulent proceeds to
be laundered at SUBJECT PREMISES #2, and the Stepan Terakopyan
and/or Petros Terakopyan accepted such dropped-off checks

multiple times at SUBJECT PREMISES #2.

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2. The owners/operators of the business at SUBJECT

PREMISES #2 are also involved in this scheme.

292. IRS-CI SA Leonard’s review of bank records related to
this scheme show that Stepan Terakopyan and/or Petros
Terakopyan, who are owners/operators of the business at SUBJECT
PREMISES #2, also transacted on several Tier-2 bank accounts
during 2011 and 2012, as discussed in depth here:

a. stepan Terakopyan is the manager and an owner of
the business at SUBJECT PREMISES #2,

b. This investigation tied Stepan Terakopyan to the
private mailbox opened in the name of “Ashot Bekejyan,” which
was discussed above as a Tler-2 bank account and received funds
in 2014 from the ITC#127 and ITC#298. As discussed above, the
photograph for “Ashot Bekejyan” provided to the mailbox business
in Montebello is the same person as “Vaghinak Sesyan,” “Rima
Nersisyan,” “Pogos Terakopyan” and “Khachatur Grigoryan,” based
on their Armenian passports used to open their mailboxes in
Montebello, Van Nuys, and Glendale respectively. A bank account
opened in the name of “Rima Nersisyan” received ACH tax refunds
in the ITC#i27 scheme, and the bank account in the name of
“Vaghinak Sosyan” received funds from bank accounts in ITC#127
and ITC#298 that had refunds in them. “Vaghinak Sosyan” had a
box at the same service in Montebello as “Ashot Bekejyan.”
Pogos Teérakopyan is a real person, possibly the uncle of Stepan

Terakopyan, but the photograph on the license used at the

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private mail box is the same person as the others and that
person is SCHEMER#4.

c. The mailbox business in Montebello, California,
also provided the records for the mailbox opened in the name of
“Ashot Bekejyan,” which show that that rental was paid by credit
or debit cards ending in 3012, 4294, 9282 and 6755. Bank
records from Citibank for “Ashot Bekejyan” show that a card
ending in 6755 is a debit card for account Citibank 42003410612.

dd. A subpoena was served on Citibank for the cards
listed and for cards in the name of “Ashot Bekejyan,” and we
received credit card records for cards ending in 1355 and 1581,
which were both in the name of “Ashot Bekejyan.”

e. VISA card ending in 3012 is a debit card linked
to Wells Fargo bank account 9855513157 in the name of “Ashot
Bekejyan” with the address to the private mailbox location in
Montebello, California. Records obtained for bank account
98555123157 show charges on the card include regular Verizon
Wireless payments, and three payments to the private mailbox
service in Montebello in 2011 and 2012. There were also
payments on the card to Chase Epay (Stepan Terakopyan). Welis
Fargo bank account 9855513157 was used as a Tier-2 bank account
for ITC#127 and ITC#298 in 2014 and also had similar activity in
2011, 2012, and 2013. There were also electronic payments te
credit card companies referencing “Stepan Terakopyan” and
“Stepan Ter~Akopyan,” as well as the payments to the Montebello

private mail box service mentioned above.

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f. Citibank issued VISA ending in 1355 on 08/08/2013
in the name of “Ashot Bekejyan” using the address of the private
mailbox in Montebello that was opened in the name of “Ashot
Bekejyan.” The card was reissued under number ending in 1581 on
or about 11/22/2013 after being reported lost or stolen. The
only activity on this card was Verizon charges.

g. MasterCard ending in 6755 is a debit card linked
to Citibank account 42003410612 that was opened in the name of
“Ashot Bekejyan.” This account was a Tier-2 bank account in
2014 in ITC#127 and ITC#298, and there was similar activity in
2013. Electronic payments between 9/29/2012 and 2/19/2014 were
made to Verizon Wireless, and debit card charges appear to be
personal and possibly made by Stepan Terakopyan based on their
proximity to SUBJECT PREMISES #2.

h. As explained above VISA ending in 1355 was opened
on 8/8/2013 in the name of “Ashot Bekejyan” using the address of
the private mailbox opened in that name in Montebello. The
charges on VISA ending in 1355 consist solely of 10 charges to
Verizon Wireless on 8/10/2013 and 08/11/2013, ranging between
$24 and $350, and totaling $1,465.43. A payment of $700 was
made on 09/03/2013, and a payment of $765.43 on 16/03/2013. The
payments were made from Washington Mutual (Chase) account
237532917 and Bank of America account 325009216732, both of
which had been opened in the name of “Ashot Bekejyan” using the
address of the private mailbox in Montebello. Verizon records

show that the charges belonged to 10 different accounts at

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Verizon. Interviews revealed that two of these charges were
made on accounts of individuals who paid their cell phone bills
in cash to an individual at SUBJECT PREMISES #2 believed to be
Terakopyan.

1. Payments of $5,144.53 were made to Verizon
Wireless from Wells Fargo Bank account 9855513157 using a debit
card in the name of “Ashot Bekejyan” ending in 3012. Additional
Verizon records were subpoenaed, but due to how old the payments
were (2013 and cider) very few documents were provided. The
records provided were for payments on behaif of “Goar Pogosyan”
in Sherman Oaks, California, and “Mkhitar Mkrtchyan” in Lake
View Terrace (who is SCHEMER#11). Another record provided by
Verizon was for a payment on behalf of Haik Kivorkian in Sun
Valley from American Express Card in the name of Stepan
Terakopyan ending in 01007.

j. Like Citibank account 42003410612 and Wells Fargo
Bank account 9855513157, Chase account 119187530 was opened in
the name of “Ashot Bekejyan,” using the address of the mailbox
opened in his name in Montebello, California. Like the Citibank
and Welis Fargo accounts discussed above, there are multiple
debit card charges to Verizon. And like the Citibank account,
there are charges at restaurants, grocery stores, and other like
businesses near SUBJECT PREMISES #2.

K. Thus, these debit charges from the three
different bank accounts appear to link Terakopyan to these bank

accounts.

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3. SUBJECT PREMISES #2 is used in this scheme.
293. As discussed elsewhere in this Affidavit, SCHEMER#1
and other schemers have been observed at SUBJECT PREMISES #2,
including after coming directiy from SUBJECT PREMISES #1.
several examples of schemers traveling from SUBJECT PREMISES #1
to SUBJECT PREMISES #2 include:
a. August 3, 2015: On August 3, 2015, HSI SA Ou and
I followed SCHEMER#14 and SCHEMER#16 from SUBJECT PREMISES #1 to
SUBJECT PREMISES #2. I then observed both SCHEMER#14 and
SCHEMER#16 enter SUBJECT PREMISES #2 together and exit
approximately 10 minutes later.
b. January 4, 2016:
i. On December 17, 2015, the Honorable Karen &E.
Scott, United States Magistrate Judge, authorized a tracker
Warrant to be installed on SCHEMER#8’s vehicle.
il. On or about January 4, 2016, at
approximately 3:10 p.m., IRS Special Agent Chris Flacker and I
installed a tracker device on SCHEMER#8’s vehicle, which was at
the time parked across the street from the Avalon Apartments
complex.

Lid. At approximately 3:15 p.m., approximately
five minutes after installing the tracking device on SCHEMER#8’s
vehicle, I drove to the Garland Hotel parking lot, which is
located approximately 100 yards north of SUBJECT PREMISES #1’s
balcony. Using my binoculars, I was able to confirm that

SCHEMER#1, SCHEMER#8, and SCHEMER#13 were standing on the

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balcony cf SUBJECT PREMISES #1. I discontinued surveillance,
and returned to my office located in downtown Los Angeles.

iv. At approximately 4:10 p.m., I began
monitoring the GPS tracker on SCHEMER#8’s vehicle. The tracking
results indicated that SCHEMER#8’s vehicle was now parked at
SUBJECT PREMISES #2.

Vv. On January 6, 2016, FBI SA Matsumura
provided me with still photographs of the parking lot and
entrance of SUBJECT PREMISES #2 taken on January 4, 2016. I
reviewed those photographs, which show a male adult entering and
exiting SUBJECT PREMISES #2. The photographs also depict a
white sedan with black paper plates in front of SUBJECT PREMISES
#2. I reviewed the photographs and believe the person in the
photographs to be SCHEMER#8, based on my recognition of his
clothing on the fact that he appeared to be wearing the same
sweater I had seen him wear earlier in the day.

vi. Based on the time stamp on the photos,
SCHEMER#8 arrived at SUBJECT PREMISES #2 at approximately 4:06
p.m., and exited approximately one minute later.

vil. Thus, it appears that SCHEMER#8 met with
other schemers at SUBJECT PREMISES #1, and within the hour,
drove from SUBJECT PREMISES #1 to SUBJECT PREMISES #2 and go
inside SUBJECT PREMISES #2.

c. February 25, 2016:

 

1. As described above, on February 25, 2016, at

approximately 3:49 p.m., I observed SCHEMER#1 carry SUBJECT BAG

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#1 into SUBJECT PREMISES #2, after travelling directly from
SUBJECT PREMISES #1.

ii. Approximately 20 minutes later, at
approximately 4:11 p.m., I observed SCHEMER#1 exit SUBJECT
PREMISES #2 with SUBJECT BAG #1 and place it into SUBJECT
VEHICLE #1.

iii. SCHEMER#1 then returned into SUBJECT
PREMISES #2 where he proceeded to meet with Petros Terakopyan,
who is one of the owner/operators of SUBJECT PREMISES #2.
Petros Terakopyan and SCHEMER#1 then walked to the corner of
Coldwater Canyon and Sherman Way, where they sat on a bench and
spoke to each other for approximately one hour.

iv. Based on my conversations with FBI SA
Matsumura regarding SCHEMER#1’s prior money Laundering activity
at SUBJECT PREMISES #2, I know that SCHEMER#1 had meetings at
that same location to discuss illegal activity with others and
to pick up proceeds related to an undercover FBI money
laundering sting.

294, Thus, based on the above facts, and my training and
experience, I believe that evidence of the scheme will be found

at SUBJECT PREMISES #2.

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L. There Is Probable Cause To Believe That Evidence of This

Scheme Will Be Found At SUBJECT PREMISES #3.

295. Based on my training and experience, I know that tax
fraudsters and money launderers, as well as individuals who
commit mortgage fraud, often store evidence of the crimes at
their residence, to avoid it being discovered at the main
locations at which the fraud operates, and also to have easy
access to it.

296. SUBJECT PREMISES #3 is a two story, four bedroom,
three bathroom, 3000 square feet single family residence,
located in Woodland Hills, California. SUBJECT PREMISES #3 is
SCHEMER#1’s residence, where he lives with wife, Metaksia
Airapetian, and his son, Aramais Airapetian. SCHEMER#1/’s
California driver’s license lists SUBJECT PREMISES #3 as
SCHEMER#1's address.

297. SUBJECT PREMISES #3 is owned by SCHEMER#1’s son,
Aramais Airapetian, who appears to have committed mortgage fraud
when purchasing SUBJECT PREMISES #3, by both submitting altered
bank records to support his income, and using funds from Tier-3
bank accounts in this scheme for the down payment, as described
herein:

a. According to public property, escrow, and loan
records, Aramais Airapetian purchased SUBJECT PREMISES #3 on
December 4, 2014, for $515,000. Aramais Airapetian purchased
SUBJECT PREMISES #3 from Suzy Seraydaryan (the wife of the owner

of Chic Accessories), who had purchased the property on February

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L7, 2010, for $725,000.

b. To purchase SUBJECT PREMISES #3, Aramais
Airapetian obtained a mortgage of $350,000. By federal Grand
Jury subpoena, I obtained the mortgage documentation. There are
two signed loan applications in the loan file, one dated
September 25, 2014, and the other November 25, 2014. The
information on both is substantially the same.

i. The loan applications lists Aramais
Ailrapetian’s date of birth as July 26, 1992, which made him 22
years old when he had purchased SUBJECT PREMISES #3.

ii. Aramais Airapetian’s employment is listed on
the application as film editing manager at Edgeart Inc., with
four months on the job, and film consulting/owner of Colossal
Productions from April 9, 2013. The monthly income listed is
$6,583.33.

iii. Tax return transcripts in the loan file show
that Aramais Airapetian had total income of $15,600 in 2013 and
there were no records for 2012.

iv. Also contained in the loan records is a gift
letter from “Griger Tsatryan,” purportedly a relative, stating
that he had made a gift of $125,000 to Aramais Airapetian who
used the funds as part of the down payment on the residence.

The letter lists the source of the funds as “Bank of America.”

Cc. I researched the source of the funds that were
wired into the escrow account. Another part of the down payment

was €@ $42,510 wire transfer from Citibank account 40055284042 in

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the name of Aramais Airapetian.

i. I have reviewed records for Citibank account
40055284042 in the name of Aramais Airapetian and Metaksia
Airapetian (mother). On May 8, 2014, the account had a balance
of $1,468.65. On May 9, 20614, there was an incoming wire
transfer of $39,500 from Home2Castle Investments LLC. A public
records search shows that “Grigor Tsatryan” is listed as an
executive of HomezCastle Investments LLC. On May 21, 2014 there
was a deposit of a $20,700 check from “Stepan Terakopyan,” from
Bank of America account 31074-4224. There are no large
transactions in the account between May 21, 2014, and November
26, 2014, except for an $8,200 deposit of a check and an
outgoing wire transfer of $5,000. The wire transfer was on July
9, 2014, to the escrow account for the purchase of SUJBECT
PREMISES #3. On November 26, 2014, there was a wire transfer of
242,510 to the escrow account for the purchase of SUJBECT
PREMISES #3.

ii. I reviewed bank records for Bank of America
account 31074-4224 in the name of Stepan Terakopyan, and on May
9, 2014, the balance in the account was $723.92. On May 13,
2014, there was a deposit of a $20,793.01 check from Gold Depot
payable to Stepan Terakopyan. This is the deposit that preceded
the $20,700 check from Stepan Terakopyan deposited to the
Citibank account of Aramais Airapetian on May 21, 2014.

d. My review of the loan file confirms that bank

statements submitted as part of the loan application to

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substantiate Aramais Airapetian’s reported monthly income of
36,583 were altered from the originals, to make it appear that
Aramais Airapetian received regular income in those amounts,
when in fact he did not:

i. I reviewed 8 pages of bank statements for
Citibank account 40055284042 that were in the loan file covering
the period between August 27, 2014, and October 26, 2014. I
compared them to the copies of statements for the same time
period that I received from Citibank, and I noticed that
although the beginning and ending monthly balances are the same,
the entries are in the same font, and the names and account
numbers are the same on each set of copies, there are
nevertheless substantive differences in the activity described
within each statement.

ii. While some of the differences are small such
as a debit card purchase on September 26, 2014, and debited to
the account on September 30, 2014, is listed as $10.98 on the
Citibank copy, but is listed on the loan file copy as $16.96.
There are numerous small changes like this that involve a few
dcilars, but there a few significant changes involving payments
from Edgeart Inc.

iii. The entry on October 3, 2014, for a $5.98
iTunes charge does not show on the loan file copy, but there is
an entry on October 1, 2014, for a $2,171.75 ACH Electronic
Credit from Edgeart Inc.

iv. The entry on October 15, 2014 for a $5.98

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iTunes charge does not show on the loan file copy, but there is
an entry on October 16, 2014 for a $2,171.75 ACH Electronic
Credit on from Edgeart Inc.

Vv. There are three entries on October 21, 2014
for ITunes charges of $12.97, $12.97 and $9.97, but on the loan
file copy there is $4,300 cash withdrawal, and two ITunes
charges of $12.97 and $9.97 on October 21, 2014.

vi. The loan file statement covering August 27,
2014, through September 28, 2014, differs from the bank provided
bank statement in a similar way. The loan file statement
contains two electronic payments from Edgeart Inc. in the
amount of $2,171.75 that are spaced two weeks apart and a
$3,000 cash withdrawal after the second payment from Edgeart
Inc. None of these three entries is found on legitimate bank
statement provided by the bank.

e. I believe that the Citibank statements for
account 40055284042 were altered in a sophisticated way,
probably by using a scanner and a computer that left the account
name and number as well as the beginning balances the same, yet
were able to be electronically manipulated to insert income from
Edgeart Inc. that did not exist.

£. According to California DMV records, Grigor
Tsatryan was born on May 13, 1987, making him 27 years old when
he made the $125,000 gift and the $39,500 payment to Aramais
Airapetian.

i. I do not yet have bank records for Bank of

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America account 03736-47807 in the name of Grigor Tsatryan.
However, bank records for Citibank account 42014078721 in the
name cf “Vepkhvia Beriandze” show that four checks from Bank of
América account 03736-47807 totaling $79,037 were deposited to
the Citibank account, one of which (check for $27,537) was
returned for non-sufficient funds.
ii. Citibank account 42014078721 operated as a

Tier-2 bank account in this scheme during 2015. The person
whose photograph appears on the Georgian passport in the name of
“Vepkhvia Beriandze” is also found on six other passports used
to open private mailboxes and bank accounts in this scheme.

q. The appraisal for 22745 Macfarlane Dr., Woodland
Hills, California, lists the value as $970,000 and notes that
the property “is being sold to the tenant as a non-arm’s length
transaction at a discount.” I have also reviewed a letter from
Aramais Airapetian in the loan file stating “I currently live at
(SUBJECT PREMISES #3] since 2010 and been living with my family.
My parents have been paying the rent thus; I have been living
rent free.”

h. IT have reviewed bank records for Aramais
Airapetian, the son of SCHEMER#1.

i. Records from Partners Federal Credit Union
show that account 20550362 was opened on May 3, 2012 in the name
of Aramais Airapetian. The address on the signature card and
statements is SUBJECT PREMISES #3.

ii. Records from Partners Federal Credit Union

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also show that on May 3, 2012, Aramais Airapetian obtained a car
loan in the amount of $22,219.38 with monthly payments of
$425.04. On the loan application, Aramais Airapetian’s income
is listed as $2,850 per month from “Midest Touch” and that he
had been employed there since May 3, 2009, making him 16 years
old when he started his employment there. A pay stub included
in the loan records shows that the address for Midest Touch is
12901 Sherman Way, Suite 8, North Hollywood, California. There
is no suite 8 at that address, but SUBJECT PREMISES #2 is
located at 12901 Sherman Way, Suite A, North Hollywood,
California.

iii. Additionally, I have reviewed records from
Wells Fargo Bank for account 1485047722 in the name of “Midas
Touch” located at 12901 Sherman Way, Suite A, North Hollywood,
California. The activity in the account includes deposited
checks from Tier-2 bank accounts as well as business activity
related to SUBJECT PREMISES #2.

i. Based on the above, and my training and
experience, I believe that Aramais Airapetian did not have the
income that he stated on his mortgage application that he had
from Midest Touch or Edgeart Ine.

4. Mortgage payments for this loan were made from a
credit union account in the name of Aramais Airapetian.
However, the majority of funds for that account originated from
schemers or related parties to this scheme, including

SCHEMER#16, Petros Terakopyan, or business Chic Accessories.

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298. As illustrated in the chart in the SUBJECT PREMISES #1
section, I have seen SCHEMER#1 enter and exit SUBJECT PREMISES
#1 approximately 20 times since August 3, 2015. On several
occasions, I have observed SCHEMER#1 physically present inside
SUBJECT PREMISES #1 and on the balcony there with other known
runners in the scheme and known Tier-2 bank account holders.
Specifically, I have seen SCHEMER#1 present in SUBJECT PREMISES
#l oon the same day these runners and/or Tier-2 bank account
holders have visited banks and private mailboxes as part of the
scheme.

299. Generally, the runners and known Tier-2 bank account
holders arrive at SUBJECT PREMISES #1 before SCHEMER#1 arrives.
SCHEMER#1 normally arrives at SUBJECT PREMISES #1 between noon
and 3:00 p.m. He has been observed bringing with him SUBJECT
BAG #1 into SUBJECT PREMISES #1 and exiting with it. In recent
Surveillance operations, while the runners often arrive to
SUBJECT PREMISES #1 before SCHEMER#1 arrives, they do not leave
SUBJECT PREMISES #1 until shortly after SCHEMER#1 arrives,
whereby the runners have been followed to banks and private
mailboxes to open accounts using other individuals’ identities.
SCHEMER#1 is observed waiting at SUBJECT PREMISES #1 until the
runners and Tier-2 bank account holders return. He is then
observed leaving SUBJECT PREMISES #1 carrying SUBJECT BAG #1 and
placing it into his vehicle (SUBJECT VEHICLE #1).

300. Thus, it appears to me that on multiple different

occasions, SCHEMER#1 arrives to SUBJECT PREMISES #1, meets with

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the runners who had arrived first to SUBJECT PREMISES #1,
including SCHEMER#5, SCHEMER#8, SCHEMER#9, SCHEMER#12,
SCHEMER#13, and SCHEMER#15, who then depart SUBJECT PREMISES #1
to deposit checks at different Tier-2 bank accounts as part of
this scheme, while SCHEMER#1 waits at SUBJECT PREMISES #1 for
their return. Then, the schemers return to SUBJECT PREMISES #1
to report to SCHEMER#1 after they finish going to the banks or
maiibox iocations as part of the scheme. Then, everyone departs
SUBJECT PREMISES #1 for the day.

301. Moreover, other agents and I have followed SCHEMER#1
depart SUBJECT PREMISES #1 while carrying SUBJECT BAG #1, and
then travel to Chic Accessories, Non Stop Wireless (SUBJECT
PREMISES #2), and ultimately to his residence (SUBJECT PREMISES
#3).

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302. February 11, 2016:

 

a. On February 11, 2016, at approximately 1:00 p.m.,
IRS-CI SA Flacker notified me that he had cbhserved SCHEMER#I
drive away from SUBJECT PREMISES #3 in SUBJECT VEHICLE #1.
During this time, I was positioned at the Avalon Apartments
complex conducting surveillance of SUBJECT PREMISES #1. At
approximately 1:35 p.m., I observed SCHEMER#1] enter into SUBJECT
PREMISES #1 carrying SUBJECT BAG #1. From 1:00 p.m. to 6:00
p.m., through the use of the pole camera, I cbserved SCHEMER#1,
SCHEMER#8, SCHEMER#9, SCHEMER#12, SCHEMER#14, SCHEMER#15,
SCHEMER#16, and UF1 on the balcony of SUBJECT PREMISES #1.

b. At approximately 6:00 p.m., I observed SCHEMER#1
exit SUBJECT PREMISES #1 carrying SUBJECT BAG #1. I immediately
notified IRS-CI SA Leonard, who was positioned near SUBJECT
VEHICLE #1. SA Leonard told me that he then observed SCHEMER#1
enter SUBJECT VEHICLE #1 with SUBJECT BAG #1 and drive away.
Agents followed SCHEMER#1] to Chic Accessories. Agents did not
observe SCHEMER#1 with SUBJECT BAG #1; therefore, I believe
SCHEMER#1 left SUBJECT BAG #1 inside SUBJECT VEHICLE #1. I and
other agents observed SCHEMER#1 talking to Moses Serarydaryan
and other unknown individuals there.

Cc. At approximately 9:20 p.m., SCHEMER#1 and Moses
Serarydaryan exited Chic Accessories together. I followed
SCHEMER#1 to SUBJECT VEHICLE #1, where I observed him enter

SUBJECT VEHICLE #1 and drive away.

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d. Other agents and I then followed SCHEMER#1 to
SUBJECT PREMISES #3. SA Flacker observed SCHEMER#1 park SUBJECT
VEHICLE #1 into the driveway of SUBJECT PREMISES #3, which is
secured by a gate. Agents were unable to see whether SCHEMER#1
removed SUBJECT BAG #1 from SUBJECT VEHICLE #1 and carried it
into SUBJECT PREMISES #3, or left it inside SUBJECT VEHICLE #1,
because the driveway gate has solid panels that do not allow for
any observations to made from the street.

e. However, because SCHEMER#1 routinely carries
SUBJECT BAG #1 with him whenever he exits SUBJECT VEHICLE #1 at
other locations in the scheme, I believe that he takes SUBJECT
BAG #1 with him intc SUBJECT PREMISES #3 after he parks SUBJECT
VEHICLE #1 there for the night.

303. February 25, 2016:

 

a. On February 25, 2016, IRS Special Agent Gerry
Carmona conducted a drive-by of SCHEMER#1's residence (SUBJECT
PREMISES #3) and informed me that at approximately 9:00 a.m., he
observed SCHEMER#1’s Acura MDX (SUBJECT VEHICLE #1) parked
behind the driveway gate there.

b. At approximately 12:50 p.m., I observed SCHEMER#1
arrive at the Avalon Apartments complex and park on Bluffside
Drive. SCHEMER#1 was driving SUBJECT VEHICLE #1, which SA
Carmona had seen parked earlier in SCHEMER#1’s driveway at
SUBJECT PREMISES #3. I observed SCHEMER#1 exit SUBJECT VEHICLE
#1, remove SUBJECT BAG #1 from SUBJECT VEHICLE #1, and walk into

the Avalon Apartment complex carrying SUBJECT BAG #1.

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c. About 15 minutes later, at approximately 1:05
p.m., i cbserved, through video surveillance, that SCHEMER#1 had
entered SUBJECT PREMISES #1 with SUBJECT BAG #1.

d. At approximately 3:16 p.m., I observed SCHEMER#9
enter SUBJECT PREMISES #1.

é. At approximately 3:29 p.m., I observed SCHEMER#1
exit SUBJECT PREMISES #1 carrying SUBJECT BAG #1. I followed
SCHEMER#1 to SUBJECT VEHICLE #1, where I observed him place
SUBJECT BAG #1 into SUBJECT VEHICLE #1.

£. T then followed SCHEMER#1 to SUBJECT PREMISES #2
(Non Stop Wireless), where I saw him remove SUBJECT BAG #1 from
SUBJECT VEHICLE #1 and take it into SUBJECT PREMISES #2.

g. Approximately 20 minutes later, I observed
SCHEMER#1 exit SUBJECT PREMISES #2 with SUBJECT BAG #1 and place
it back into SUBJECT VEHICLE #1.

h. Agents then followed SCHEMER #1 to a second
location not known or tied to the scheme. Agents then followed
SCHEMER#1 directly from that location to SUBJECT PREMISES #3,
where he drove SUBJECT VEHICLE #1 inside the driveway there.
Because of the layout of SUBJECT PREMISES #3, we were not able
to observe whether SCHEMER#1 left SUBJECT BAG #1 inside SUBJECT
VEHICLE #1 when he parked at SUBJECT PREMISES #3, or if he
carried SUBJECT BAG #1 with him when he went into SUBJECT
PREMISES #3.

i. However, because SCHEMER#1 routinely carries

SUBJECT BAG #1 with him whenever he exits SUBJECT VEHICLE #1 at

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other locations, I believe that he takes SUBJECT BAG #1 with him

into SUBJECT PREMISES #3 after he parks SUBJECT VEHICLE #1 there

for the night.

304. Therefore, based on the above, including because
SCHEMER#1, who is a leader of this fraudulent scheme, has been
observed multiple times traveling between SUBJECT PREMISES #3
and the other two known locations used in the scheme (SUBJECT
PREMISES #1 and SUBJECT PREMISES #2), and moreover, SCHEMER#1
has aiso been observed carrying SUBJECT BAG #1 to and from those
known locations to SUBJECT PREMISES #3, I believe that evidence
o£ the scheme will exist at SUBJECT PREMISES #3.

M. There is Probable Cause to Believe That Evidence of This
Scheme Will Be Found in SUBJECT VEHICLE #1, Which Is
SCHEMER#1's Vehicle.

305. As discussed in detail above, SCHEMER#1 is the
ringleader of this scheme.

306. I obtained the vehicle registration report for SUBJECT
VEHICLE #1 from the California Department of Motor Vehicle
database and confirmed that SCHEMER#1 is the registered owner of
SUBJECT VEHICLE #1. The report also reveals that SUBJECT VEHICLE
#1#is registered to SCHEMER#1’s current address, SUBJECT
PREMISES #3.

307. SCHEMER#1] has been observed using SUBJECT VEHICLE #1
to travel to and from locations used in the scheme:

a. As discussed elsewhere in this Affidavit,

SCHEMER#1 has been observed using SUBJECT VEHICLE #1 to travel

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te and from SUBJECT PREMISES #1 or the Avalon Apartments complex
on at least 5 different occasions.

b. As discussed elsewhere in this Affidavit,
SCHEMER#1 has also been observed using SUBJECT VEHICLE #1 to
travel to SUBJECT PREMISES #2.

308. As discussed elsewhere in this Affidavit, other agents
and I have observed SCHEMER#1 carry SUBJECT BAG #1 in and ont of
SUBJECT PREMISES #1 at least 11 times, and SCHEMER#1 has
transported SUBJECT BAG #1 using SUBJECT VEHICLE #1 to other
known locations used in the scheme, including to SUBJECT
PREMISES #3 and Chic Accessories.

a. For example, on April 15, 2016, I was monitoring
the pole camera that was directed at the balcony of SUBJECT
PREMISES #1, and I observed SCHEMER#1 on the balcony of SUBJECT
PREMISES #1 with other known schemers of the scheme. At
approximately 7:48 p.m., I observed SCHEMER#1 exit SUBJECT
PREMISES #1 while SUBJECT BAG #1 was on his shoulder. HSI SA Ou
followed SCHEMER#1 as he walked departing the Avalon Apartments
complex with SUBJECT BAG #1 on his shoulder. SA Ou told me that
at approximately 8:03 p.m., he saw SCHEMER#1 enter SUBJECT
VEHICLE #1 with SUBJECT BAG #1, and drive away from the Avalon
Apartments complex.

309. Other agents and I have followed SCHEMER#1 while in
SUBJECT VEHICLE #1, witn SUBJECT BAG #1 inside, to his residence
(SUBJECT PREMISES #3). SCHEMER#1 has been observed parking

SUBJECT VEHICLE #1 inside his driveway, which is enclosed by a

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security gate and appears to be monitored by surveillance
cameras. Due to the nature of his driveway, it is unclear
whether SCHEMER#1 enters SUBJECT PREMISES #3 (his residence)
with SUBJECT BAG #1 or leaves SUBJECT BAG #1 in SUBJECT VEHICLE
#1 when he parks at home.

310. I believe SUBJECT BAG #1 is important to SCHEMER#1 and
is used by him to carry out and manage this fraudulent scheme.
i also believe, based on my training and experience, and the
extensive surveillance of SCHEMER#1, that SCHEMER#1 uses SUBJECT
BAG #1 to secure evidence that will implicate him and others in
this fraudulent scheme. In fact, SUBJECT BAG #1 is large enough
to carry in it a laptop computer and several important documents
related to the scheme like checks, cash, and passports

311. I have reviewed evidence that indicates SCHEMER#1 has
been orchestrating this laundering scheme since at least 2011,
and due to this and the fact that the hundreds of bank accounts
have been used, I find it reasonable to believe that a scheme
this large and complex can only be done if bank account
information, addresses, passport information, and tax return
information is kept organized on a spread sheet or categorized
accordingly in a diary, notepad, or some type of ledger.
Therefore, I believe SCHEMER#1 keeps this information with him
at all times or in the security of his residence (SUBJECT

PREMISES #3) or in his vehicle (SUBJECT VEHICLE #1).

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312. Thus, based on the above facts, and my training and
experience, I believe that there is probable cause to believe
that evidence of the scheme will be found in SUBJECT VEHICLE #1.
N. There Is Probable Cause To Believe That Evidence of This

Scheme Will Be Found In SUBJECT BAG #1, Which Is The

Satchel That SCHEMER#1 Routinely Carries With Him in This

Scheme.

313. Based on my training and experience, and discussions
with senior agents, I know that individuals engaged in identity
theft, money laundering, and tax fraud schemes secure documents
related to the schemes on their person or in various types of
bags such as satchels, briefcases, suitcases, backpacks, and
purses. Moreover, based on same, I know that such items include
checks, currency, and other items used or related to the scheme,
such as passports, mail, checkbooks, and other bank or financial
documents.

314. As discussed above, I have observed SCHEMER#1 enter or
exit SUBJECT PREMISES #1 or the building in which that apartment
is located at the Avalon Apartments complex at least 11 times
while carrying SUBJECT BAG #1. The following examples highlight
some incidents where other agents and I have observed SCHEMER #1
carry SUBJECT BAG #1 to and from SUBJECT PREMISES #1 or the
Avalon Apartments complex:

a. February 24, 2016:

 

i. On February 24, 2016, at approximately 2:28

p.m., I observed SCHEMER#1 entering SUBJECT PREMISES #1 carrying

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SUBJECT BAG #1. SCHEMER#1 appeared to have opened the door to
SUBJECT PREMISES #1 using a key, unlike others who seem to have
to knock to be allowed to enter SUBJECT PREMISES #1. Shortly
after SCHEMER#1 arrived, I observed SCHEMER#5, SCHEMER#12, and
SCHEMER#14 also enter SUBJECT PREMISES #1.

ii. At approximately 3:06 p.m., I then observed
SCHEMER#5 and SCHEMER#8 exit SUBJECT PREMISES #1 together, and
when exiting SUBJECT PREMISES #1, SCHEMER#8 was holding a
document. I saw both individuals depart the Avalon Apartments
complex in SCHEMER#5’s vehicle.

Lii. At approximately 4:28 p.m., I observed

SCHEMER#3 enter SUBJECT PREMISES #1 holding what appeared to be
envelopes or documents.

iv. At approximately 6:00 p.m., I observed
SCHEMER#8 return and enter SUBJECT PREMISES #1 alone.

Vv. Shortly thereafter, at approximately 6:07
p.m., I then observed SCHEMER#1 exit SUBJECT PREMISES #1 with
SUBJECT BAG #1 over his shoulder.

vi. Shortly after SCHEMER#1 was observed exiting
SUBJECT PREMISES #1, agents observed SCHEMER#5’s vehicle drive
away from the Avalon Apartments complex. Agents followed
SCHEMER#5 and subsequently learned that SCHEMER#1 was inside
that vehicle. Agents followed SCHEMER#5 and SCHEMER#1 to a
Sushi Restaurant in Studio City, California. SCHEMER#1 and
SCHEMER#5 were observed entering and exiting the restaurant

together. After exiting, they remained in the vehicle for

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approximately 15 minutes before they drove back to the Avalon
Apartments complex. Surveillance of SCHEMER#1L concluded shortly
after, due to the fact that we were unable to determine if
SCHEMER#1 was dropped off at the Avalon Apartments complex, or
departed with SCHEMER#5 from there.

b. February 26, 2016:

 

i. I reviewed video surveillance of SUBJECT
PREMISES #1 and found that on February 26, 2016, at
approximately 2:43 p.m., SCHEMER#1 entered SUBJECT PREMISES #1
carrying SUBJECT BAG #1 over his shoulder. It appeared that
SCHEMER#1] had opened the door to SUBJECT PREMISES #1 with a key.
ii. About a half-hour later, at approximately
3:15 p.m., I observed SCHEMER#9, SCHEMER#14, and SCHEMER#15
enter SUBJECT PREMISES #1. SCHEMER#9 appeared to be holding
documents in his hand.
Lid. At approximately 3:45 p.m., SCHEMER#1,
SCHEMER#14, and SCHEMER#15 exited SUBJECT PREMISES #1 together.
During this time, SCHEMER#1 was carrying SUBJECT BAG #1 over his
shoulder and appeared to be placing something inside it as he
was exiting SUBJECT PREMISES #1.
Cc. April 15, 2016:
iL. As discussed above, on April 15, 2016, I was
monitoring the pole camera directed at the balcony of SUBJECT
PREMISES #1, where I observed SCHEMER#1 on the balcony with

other known schemers of this scheme.

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Li. At approximately 7:48 p.m., I observed
SCHEMER#1 exit SUBJECT PREMISES #1 while SUBJECT BAG #1 was on
his shoulder.

315. Also, as discussed above, in addition to the il
occasions where SCHEMER has carried SUBJECT BAG #1 to SUBJECT
PREMISES #1 or the building in which it is locations, SCHEMER#1
has also been observed transporting SUBJECT BAG #1 to both
SUBJECT PREMISES #2 and SUBJECT PREMISES #3, which are locations
also used in this scheme.

316. Based on the facts mentioned above, and my training
and experience, I believe that SCHEMER#1 is using SUBJECT BAG #1
to transport items used or related to this scheme, to and from
SUBJECT PREMISES #1, SUBJECT PREMISES #2, and SUBJECT PREMISES
#3.

317. Thus, I believe there is probable cause to believe
that there is evidence of the scheme inside SUBJECT BAG #1.

oO. The use of computers and digital devices in the scheme

318. As discussed above in the section entitled “FBI
Investigation,” SCHEMER#1 laundered illicit proceeds for CHS1 in
2012. FBI SA Matsumura told me that CHS1 confirmed that
SCHEMER#] uses several cell phones and often changes his phone
number to facilitate his money laundering scheme. CHS1 also
said that SCHEMER#1 keeps his cell phones in his vehicle.

3193. During almost every surveillance of SUBJECT PREMISES
#1, I have seen SCHEMER#1 talking on a cell phone while at

SUBJECT PREMISES #1.

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320. This investigation has identified the use of computers
in the filing of false tax returns, on-line banking activity,
and the creation cf email addresses that were used as
identification in opening bank accounts. Based on my training
and experience, I know that the perpetrators of these types of
schemes typically do not use static IP addresses or any IP
address which would identify the perpetrator. Therefore a link
between an IP address at Chic accessories, SUBJECT PREMISES #1,
SUBJECT PREMISES #2, or SUBJECT PREMISES #3, and this fraud
scheme would not be expected.

321. On May 18, 2015, U.S. Bank provided me with a
spreadsheet containing ail of the IP addresses that had ever
accessed the bank accounts in the name of “Artur Poghosyan,”
from February 27, 2014, to April 1, 2015. I researched the IP
addresses provided and identified their geological locations and
their IP Providers. In doing so, I discovered the following:

a. Verizon Wireless was the IP Provider for ali of
the IP addresses I researched.

b. The geological locations for the IP addresses
were within Los Angeles County, with the majority of the access
locations being in the city of Los Angeles.

c. The IP addresses that accessed the bank accounts
in 2014 were static locations, meaning the IP address was
assigned to a specific subscriber and location, whereas the IP
addresses that accessed the bank accounts in 2015 were dynamic.

A dynamic IP addressing assigns a different IP address each time

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the customer logs on to their computer. One dynamic IP address
is often assigned to different users, thus making it difficult
to identify a specific user and computer.
d, Multiple Device Identification Numbers {‘“Device

iD”) were used to access the bank accounts on-line. A device ID
is a distinctive number associated with an each computer, hand
heid device, or phone. In addition to financial institutions,
the IRS tracks all device IDs from computers and smartphones
that are used to electronically transmit tax returns. Computers
and digital devices found at the SUBJECT PREMISES could contain
the above mentioned evidence and device IDs. This evidence is
eritical to the investigation in proving knowledge, intent, and
identifying other victims and perpetrators.

32é@. In addition, I believe a computer and/or multiple
computers are being used in this scheme to alter documents used
to open private mail boxes and bank accounts. For example, I
have reviewed 181 private mail box files from several] CMRAs
lecated in Los Angeles and Orange Counties. The private mailbox
files often included an application to rent the private mail
box, contract, Form 1583, foreign passport, utility bills, and
or insurance cards. Utilities bills from Time Warner Cable were
used at least 22 times, AT&T bills were used at least 23 times,
Dish Network bills were used at least 3 times, and T-Mobile
bills were used at least 2 times. Each bill provided displays
the account heolder’s name address, account number, a service

period, and amount due. In some instances the same account

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number was used multiple times. On April 13, 2016, I called
Time Warner Cable representative Christine, who explained to me
that all Time Warner Cable bills for the western part of the
United States, including states like California, Arizona, and
Colorado have account numbers that begin with the numbers
“6448."% Of the 22 Time Warner Cable bills, 11 had account
number that did not begin with “8448.” All of the Time Warner
Cable bilis that I reviewed purport to be servicing addresses in
California. In fact, I also found that the same account number
was used on different Time Warner Cable bills. Based on the
information above, I believe the schemers are using computers in
the scheme, including to scan and alter utility bills and other
documents.

323. As described in this Affidavit, this scheme is a
complicated fraud that would necessitate the use of computers,
smart phones, and other digital devices to keep track of people,
bank accounts, mailing addresses, victim social security numbers
and profiles, tax returns and tax return information, email
addresses, and other information that would assist the
perpetrators to commit their fraud.

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Iv. CONCLUSION

324. For all the reasons described above, there is probable
cause to believe that beginning in or around 2013:

a. SCHEMER#2, SCHEMER#3, SCHEMER#4, SCHEMER#S,
SCHEMER#6, SCHEMER#7, SCHEMER#8, SCHEMER#9, SCHEMER#10, and
SCHEMER#i1 have committed the offenses of making or using false
writing or document knowing the same to contain any materially
false, fictitious, or fraudulent statement or entry, identity
theft, wire fraud, bank fraud, and money laundering, in
violation of Title 18, United States Code, Sections 10061,

L028 (a) (7), 1343, 1344, and 1956, respectively, and that
SCHEMER#1 has aided and abetted those schemers in committing
those offenses; and

b. SCHEMER#1, SCHEMER#2, SCHEMER#3, SCHEMER#4,
SCHEMER#5, SCHEMER#6, SCHEMER#7, SCHEMER#8, SCHEMER#9,
SCHEMER#10, SCHEMER#11, SCHEMER#12, SCHEMER#13, SCHEMER#14,
SCHEMER#15, SCHEMER#16, and SCHEMER#17 are involved in a
conspiracy to defraud the United States with respect to claims,
false claims, and conspiracy to defraud the United States, in
violation of Title 18, United States Code, Sections 286, 287,
371, respectively.

325. For all the reasons described above, there is probable
cause to believe that evidence of violations of Title 18, United
States Code, Sections 286, 287, 371, 1001, 1028{(a)(7), 1343,
1344, and 1956, which criminalize, respectively, conspiracy to

defraud the United States with respect to claims, false claims,

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conspiracy to defraud the United States, making or using false
writing or document knowing the same to contain any materially
false, fictitious, or fraudulent statement or entry, identity
theft, wire fraud, bank fraud, and money laundering, as
described above and in Attachment B of this affidavit, will be
found in a search of SUBJECT PREMISES #1, SUBJECT PREMISES #2,
SUBJECT PREMISES #3, SUBJECT VEHICLE #1, and SUBJECT BAG #1, as
further described above and in Attachments A-1, A-2, A-3, A-4,

and A-5 to this affidavit.

[|

Adrian Yepez, Special Agent
Internal Revenue Service - Criminal
Investigation

Subscribed to and sworn before me
this 19 day of April 2016

KA
a REN E. SCOTT

HONORABLE KAREN E. SCOTT
UNTTED STATES MAGISTRATE JUDGE

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ATTACHMENT A-1

PREMISES TO BE SEARCHED

The SUBJECT PREMISES #1 is Unit 4209, 10987 Bluffside
Drive, Studio City, California 91604, which is an apartment unit
within the apartment complex named the “Avalon Studio City."
SUBJECT PREMISES #1 is a one bedroom, one bath apartment with
approximately 730 square feet, and has a balcony that faces
north. SUBJECT PREMISES #1 is located on the northwest section
of the apartment complex and is on the second floor. SUBJECT
PREMISES #1 is located in apartment building number "10987" of
the apartment complex, which is a three-story building that
houses apartments on each floor. The number “10987” is embossed
on the south side of the apartment building. Apartment building
“10987” is tan in color. SUBJECT PREMISES #1’s front door is
blue in color and faces south. The number "4209" is embossed on
a plaque on the upper middle part of the front door above the

peephole of SUBJECT PREMISES #1.
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ATTACHMENT A-2

PREMISES TO BE SEARCHED

The SUBJECT PREMISES #2 is located at 12901 Sherman Way,
Unit A, North Hollywood, California 91606, which is a single
story business located in a single story retail strip mall. The
SUBJECT PREMISES #2 is a telecommunications business named “Non
Stop Wireless,” which sells cellular telephones and offers
wireless plans. SUBJECT PREMISES #2's front door is a glass
door with the word “Suite A” located above the front door. A
reddish neon light sign that displays the word, “OPEN,” is
located above the front door, The address, “12901-A" is painted
in white is located at the top of the front door. In addition
to the front glass door, the front of the business facing south
consists of all glass windows containing cell phone
advertisements. A triangle emblem with the letters "NS" in
white and the word “Wireless” are located above the front door

and window of SUBJECT PREMISES #2.
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ATTACHMENT A-3

PREMISES TO BE SEARCHED

The SUBJECT PREMISES #3 is a two story, five bedroom, three
bathroom, approximately 3000 square feet, Single family
residence located at 22745 Macfarlane Drive, Woodland Hills,
California 91364. SUBJECT PREMISES #3 as located on the north
Side of Macfarlane Drive. The address, “22745,” is painted in
black over white paint along the curb located in front of
SUBJECT PREMISES #3. SUBJECT PREMISES #3 has beige stucco paint
with light brown roof shingles. SUBJECT PREMISES #3 has an
attached garage door located on the west side of the residence.
The garage door is outlined with a brown border and has frosted
like panels in the middle of the garage door. In addition to
the attached garage, SUBJECT PREMISES #3 has an electric sliding
gate located on the east side of the property. The electric
sliding gate is outlined with a brown border frame with
rectangular frosted panels. SUBJECT PREMISES #3 has a
Surveillance camera fixed on the fascia board located on the
southwest corner of the roof. SUBJECT PREMISES #3 has a dark
brown gate with frosted panels located directly in front of the

front door.
 
 

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ATTACHMENT A-~4

PREMISES TO BE SEARCHED

The SUBJECT VEHICLE #1 is a dark grey four-door 2008 Acura
MDX with Vehicle Identification Number 2HNYD28398H519552 and
California license plate number 7HUW657. SUBJECT VEHICLE #1 is
registered to Gagik Airapetian at 22745 Macfarlane Drive,
Woodland Hills, California 91364. SUBJECT VEHICLE #1 has a
silver license plate frame located at the rear of the vehicle.
The words “Van Nuys” is located on the top of the license plate
frame, and “KEYES” is located on the bottom of the license plate

frame. A rack mount is located on the roof of SUBJECT VEHICLE

#1.
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ATTACHMENT A-5
PREMETSES TO BE SEARCHED
The SUBJECT BAG #1 is a black or dark colored bag possessed
by Gagik Airapetian, which can be described as a Satchel,
computer bag, or messenger bag, with a strap that is attached on
@ach end that is carried over the shoulder. SUBJECT BAG #1 is

large enough to secure documents and/or a laptop computer.
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ATTACHMENT B

rT, ITEMS TO BE SEIZED

1. The items to be seized are evidence, contraband,
fruits, or instrumentalities of violations of Title 18, United
States Code, Sections 286, 287, 371, 1001, 1028{a) (7), 1343,
1344, and 1956, which criminalize, respectively, conspiracy to
defraud the United States with respect to claims, false claims,
conspiracy to defraud the United States, making or using false
writing or document knowing the same to contain any materially
false, fictitious, or fraudulent statement or entry, identity
theft, wire fraud, bank fraud, and money laundering, namely:

a. For the time period 2011 to present, for both
domestic and foreign financial institutions: account opening
documents, applications, signature cards, bank records,
financial account records, time deposit records, bank
statements, brokerage statements, certificates of deposits, wire
transfer records, currency records, mutual fund records,
cancelled checks, check books, withdrawal slips, deposit slips,
cashier checks, negotiable items, travel checks, bearer
instruments, western union information, commercial money
transmitter records, money orders, money order receipts, loan
documents, credit card records, credit cards, debit cards, bank
cards, Pre-paid debit cards, records pertaining to the loading
of pre-paid debit cards, bank correspondence, non-U.S. Citizen
documents generally used to open bank accounts or to facilitate
business transactions, such as Forms W-8, Forms W-8Ben, Forms

WW-8Ben-E;
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b. Tax returns, including originals or copies of
completed federal income tax returns for the tax years 2010,
2011, 2012, 2013, 2014, and 2015, (Forms 1040, 1040A, 1040EZ,
1040 PC, 1040X, and electronically filed versions of the same)
including all schedules, attachments, and forms; worksheets
and/or supporting documentation used in the preparation of tax
returns; and other documents used in the creation and/or
preparation of the above mentioned tax returns, and tax-related
decuments, including:

i. IRS publications, regulations, and/or copies
of IRS forms and documents; extracts from the Internal Revenue
Code; and any correspondence relating to IRS forms, Internal
Revenue Statutes or regulations and tax schedules.

li. Decuments or materials related to training
in tax law and/or the preparation of tax returns, including
training manuals, computer software, sample returns, templates,
and correspondence in electronic, video, and paper formats.

dil. Records relating to federal income tax
refunds, specifically, U.s. Treasury checks, wire transfers,
cashier’s checks, check stubs, check receipts, check inquiries,
invoices, and direct deposit information.

c. Passport-related documents, from the United
States of America, the Republic of Armenia, the Republic of
Uzbekistan, Georgia, Kazakhstan, Russian, and any other country,

including:
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i. Passport Books, Passport Cards, travel
records, visa stamps, visa stickers, arrival stamps and
departure stamps.

ii. Altered or false passport-related documents,
including Passport Books, Passport Cards, photo copies of
passports, blank passports, or any other document that appears
to be issued by a government and used to verify identity or
citizenship.

Lii. Driver's licenses and related documents
including those issued by any state of the United States or any
foreign driver’s license including an international driver's
license, as well as altered or false such documents;

d. Records, lease agreements, registration, and
utility bills for services, including electric, gas, trash
services, water, cable, satellite television, telephone
services, cellular phone services, and internet services, and
any altered or fabricated such documents;

e. Shopping membership cards, including those issued
by Costco, Vons, CVS, or any similar business entity, and any
records regarding same, including membership applications,
billing records, and communications;

f. Post office box rental records and commercial
mail box rental records, including records of payments,
applications, receipts, e-mail messages, and other
communications; |

gq. Accounts receivable ledgers, commission ledgers,
accounts payable ledgers, names and telephone numbers of co-

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conspirators, notes, other ledgers, journals, telephone bills,
bank records, loan documents, day planner records, travel
records, money ledgers, customer lists, currency supplier lists,
correspondence, notations, logs, receipts, financial records,
and other documents noting the source, destination, quantity,
value, and/or purpose of currency obtained, transferred,
deposited, wired, distributed, structured cr concealed.
Telephone and address books and listings, letters, cables,
telegrams, telephone bills, personal notes and other items
reflecting names, addresses, telephone numbers, communications.

h, Cash in excess of $1,000;

i. Gold in any form including gold coins, gold bars,
gold jewelry, and certificates of gold,

j. Financial instruments purchased with large
amounts of currency including traveler's checks, wire transfers,
bonds, stock certificates, cashier's checks and certificates o£
deposit;

k. Receipts and other documents relating to the
purchase cf assets with currency in amounts over $10,000;

lL. Records, receipts, invoices, shipping
instructions, shipping receipts, packaging material, masking
agents, shipping containers and labels, reflecting the use of
either the U.S. mails or commercial delivery services (such as
FedEx, and UPS) to facilitate the shipment of gold, currency,
checks, or bearer instruments;

™. Safe deposit box keys and records of safe deposit _
box rentals, locations and access;

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n. Records and documents relating to Gold Depot,
Newport aka Gold Exchange or Precious metals;

oO. For the time period 2011 to present, records,
deeds, lease agreements, registration, utility bills, and any
other documentation showing ownership or control of: (1) 10987
Bluffside Drive, Apartment #4209, Studio City, California 91604;
(2) Non Stop Wireless, which is a wireless service provider
business located at 12901 Sherman Way, Suite A, North Hollywood,
California 91605; or (3) 22745 Macfarlane Drive, Woodland Hills,
California 91364; and

Pp. Any documents that appear to be written in the
Armenian, Russian, or Georgian languages that the searching

agents believe may be within the scope of items to be seized.

Il. SEARCH PROCEDURE FOR FOREIGN LANGUAGE DOCUMENTS

2. Because it is possible that none of the searching
agents wili have the ability to read records written in foreign
languages listed above, these documents will be reviewed by an
interpreter each respective language as soon as practicable, and
if these documents are outside of the scope of the items to be

sized, they will be returned within 60 days.
